Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 1 of 259




                    EXHIBIT 1
   Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 2 of 259




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO


STATE OF NEW MEXICO, EX REL.                PLAINTIFF’S AMENDED
RAÚL TORREZ, ATTORNEY GENERAL,              COMPLAINT

                         Plaintiff,         Civil Action No. 1:23-cv-01115-
                                            MIS-KK
           - v. -

META PLATFORMS, INC.; INSTAGRAM, LLC;       Removed from First Judicial District
META PAYMENTS, INC.; META PLATFORMS         Court, County of Santa Fe, New
TECHNOLOGIES, LLC; and MARK                 Mexico, Case No. D-101-CV-2023-
ZUCKERBERG,                                 02838

                         Defendants.



PLAINTIFF’S AMENDED COMPLAINT FOR ABATEMENT AND CIVIL PENALTIES
                   AND DEMAND FOR JURY TRIAL


NOTE: THIS COMPLAINT, ESPECIALLY AT PAGES 27-93 CONTAINS REDACTED
IMAGES OF CHILD SEXUAL EXPLOITATION AND OTHER SEXUALLY EXPLICIT
 IMAGES, AS WELL AS IMAGES OF SELF HARM, WHICH MAY BE DISTURBING.
        Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 3 of 259




                                                         TABLE OF CONTENTS

I.                 INTRODUCTION....................................................................................................... 1
II.                PARTIES ..................................................................................................................... 3
III.               JURISDICTION, VENUE, AND JURY DEMAND ................................................ 7
IV.                META ENGAGES IN TRADE OR COMMERCE WITHIN NEW MEXICO.. 10
V.                 META’S DESIGN OF INSTAGRAM AND FACEBOOK................................... 19
VI.                META’S PLATFORMS ENABLED AND FAILED TO PREVENT SEXUAL
                   EXPLOITATION MATERIAL FROM AFFECTING NEW MEXICO
                   RESIDENTS .............................................................................................................. 25
       A.          DEFINITION OF HUMAN TRAFFICKING ........................................................ 25
       B.          META STEERED AND CONNECTED USERS – INCLUDING CHILDREN –
                   TO SEXUALLY EXPLICIT, EXPLOITATIVE AND CHILD SEX ABUSE
                   MATERIALS AND FACILITATED HUMAN TRAFFICKING WITHIN OR
                   AFFECTING NEW MEXICO................................................................................. 27
            i.          Case Study 1: Rosalind Cereceres .................................................................... 43
            ii.         Case Study 2: Issa Bee ....................................................................................... 50
            iii.        Case Study 3: Sunny Paxton ............................................................................. 66
            iv.         Case Study 4: BobbiFun13 ................................................................................. 70
            v.          Case Study 5: Taya Neils .................................................................................... 71
            vi.         Case Study 6: Sophia Keys ................................................................................. 81
VII.               THE HARMFUL CONTENT ON META’S PLATFORMS REMAINS AND IS
                   PROLIFERATED BY META’S ALGORITHMS................................................. 93
VIII.              HISTORIC NATURE OF META’S UPA VIOLATIONS DISCOVERED BY
                   OTHER INVESTIGATIONS .................................................................................. 97
IX.                META HAS LONG BEEN ON NOTICE OF, BUT FAILED TO ADDRESS,
                   COMMERICAL SEXUAL EXPLOITATION AND TRAFFICKING OF
                   CHILDREN THROUGH SOCIAL MEDIA AND ITS PLATFORMS
                   SPECIFICALLY ..................................................................................................... 109
X.                 META PROFITS FROM THE ALL-TOO-COMMON DISTRIBUTION AND
                   SOLICITATION OF CSAM ................................................................................. 117
XI.                CHILDREN IN NEW MEXICO HAVE FALLEN VICTIM TO
                   DISTRIBUTION AND SOLICITATION OF CSAM OR CSEC ON META’S
                   PLATFORMS ......................................................................................................... 124


                                                                         i
        Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 4 of 259




XII.        META WAS, AND IS, AWARE THAT ITS PLATFORMS ARE BEING USED
            TO TARGET, GROOM, SEXUALLY EXPLOIT AND TRAFFIC CHILDREN
            ................................................................................................................................... 128
XIII.       META’S BUSINESS MODEL TARGETS YOUNG USERS SPECIFICALLY
            WITH FEATURES DESIGNED TO ENTICE AND ADDICT YOUTH .......... 147
   A.       ENGAGEMENT-BASED FEEDS AND THE ALGORITHMS......................... 152
   B.       INFINITE SCROLL ............................................................................................... 157
   C.       PUSH NOTIFICATIONS ...................................................................................... 158
   D.       EPHEMERAL CONTENT .................................................................................... 161
   E.       VIDEO CONTENT................................................................................................. 162
   F.       ADDITIONAL DESIGN CHOICES ..................................................................... 164
XIV.        META WAS ACUTELY AWARE OF THE HARM TO YOUTH WELL-
            BEING RESULTING FROM ITS DESIGN CHOICES, BUT FAILED TO
            DEVOTE SUFFICIENT RESOURCES TO ADEQUATELY ADDRESS THE
            HARM TO YOUTH ............................................................................................... 168
XV.         DESPITE KNOWLEDGE OF THE HARMS CAUSED BY ITS PLATFORMS,
            META REPEATEDLY REJECTED EFFORTS TO IMPROVE ITS SYSTEMS
            ................................................................................................................................... 185
XVI.        META’S PLATFORM DESIGN CAUSED MENTAL HEALTH HARM TO
            YOUNG USERS, INCLUDING USERS IN NEW MEXICO............................. 191
XVII.       META MADE MISLEADING AND DECEPTIVE CLAIMS IN PUBLIC
            STATEMENTS THAT ITS PLATFORM WAS SAFE OR THAT IT WAS
            ADDRESSING PROBLEMATIC CONTENT .................................................... 195
XVIII.      META MADE MISLEADING AND DECEPTIVE CLAIMS TO ITS
            ADVERTISERS THAT ITS PLATFORM WAS SAFE OR THAT ITS
            CONTROLS AND PROCEDURES WERE SUFFICIENT TO PREVENT
            THEIR ADS FROM BEING DISPLAYED IN CONNECTION WITH
            PROBLEMATIC CONTENT................................................................................ 205
XIX.        ADDITIONAL ALLEGATIONS RELATING TO MARK ZUCKERBERG .. 212
XX.         CAUSES OF ACTION ........................................................................................... 228
XXI.        PRAYER FOR RELIEF......................................................................................... 252




                                                                     ii
        Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 5 of 259




   I.         INTRODUCTION

         1.     Meta and its CEO tell the public that Meta’s social media platforms are safe and

good for kids. The reality is far different. Meta knowingly exposes children to the twin dangers of

sexual exploitation and mental health harm. Meta’s conduct has turned New Mexico children who

are on its platforms into victims. Meta’s motive for doing so is profit. This action seeks to make

social media safer for New Mexico’s children by holding Meta accountable for conduct that

violates the New Mexico Unfair Practices Act and creates a public nuisance.

         2.     Meta’s platforms Facebook and Instagram are a breeding ground for predators who

target children for human trafficking, the distribution of sexual images, grooming, and solicitation.

Teens and preteens can easily register for unrestricted accounts because of a lack of age

verification. When they do, Meta directs harmful and inappropriate material at them. It allows

unconnected adults to have unfettered access to them, which those adults use for grooming and

solicitation. And Meta’s platforms do this even though Meta has the capability of both determining

that these users are minors and providing warnings or other protections against material that is not

only harmful to minors but poses substantial dangers of solicitation and trafficking. For years,

Meta has been on notice from both external and internal sources of the sexual exploitation dangers

its platforms present for children but has nonetheless failed to stem the tide of damaging sexual

material and sexual propositions delivered to children. In short, Meta has allowed Facebook and

Instagram to become a marketplace for predators in search of children upon whom to prey. Meta’s

conduct is not only unacceptable; it is unlawful. This action seeks to force Meta to institute

protections for children because it refuses to do so voluntarily.
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 6 of 259




       3.      Simultaneously with its knowing failure to curb the sexual exploitation of children

on its platforms, Meta targeted the age-based vulnerabilities of children by adopting algorithms

and platform designs that are addictive to young users. Meta knowingly sought to maximize teen

engagement on its platforms. It chose to implement features such as engagement-based feeds,

infinite scroll, push notifications, ephemeral content, and auto play video designed to increase the

amount of time young users spend on its platforms while inhibiting the ability of those users to

self-regulate. Meta’s platforms are the social media equivalent of an addictive drug from which

young users cannot break free. Meta knew that these design features fostered addiction, anxiety,

depression, self-harm, and suicide among teens and preteens. But Meta and its CEO rejected

repeated internal proposals, and external pressures, to implement protections against youth mental

health harm. Further, Meta selected a metric by which it measures conduct violative of its

Community Standards policies that it knows to grossly underreport harmful material on its

platforms, and Meta uses this metric to make misrepresentations about the safety of its platforms

for young users.

       4.      Meta profits from its exposure of young users to harmful material and its refusal to

implement design features that would protect children from sexual exploitation and mental health

harm. It does so not by charging children for accessing its platforms but instead by monetizing, in

the form of targeted advertising, the data that Meta gathers about its young users and their usage.

Meta’s “targeted” advertising program allows advertisers to direct advertisements to consumers

more precisely than would otherwise be possible using traditional media. This arrangement has

proved particularly lucrative for Meta. The company reported more than $116 billion in revenue

in 2022, and $117 billion the year before. As Meta’s financials confirm, all or substantially all of


                                                 2
        Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 7 of 259




this revenue is attributable to advertising and enhanced by its user-data-driven ability to target

advertising. To protect this revenue, Meta has deceived advertisers both about Meta’s and

advertisers’ ability to ensure that paid advertising does not appear with sexually explicit and

violent content; complaints from prominent companies make clear that Meta’s assurances were

and are plainly false.

            5.     Meta’s platforms must maintain massive user bases in order to generate its target

revenue. Meta must not only attract new users year over year, but it must ensure that existing users

remain on its platforms. If users leave Facebook or Instagram, if new users refuse to join altogether,

or if these users spend less time on its platforms, Meta’s revenues will suffer as it would have less

private data, and fewer users, to sell. As Meta warns investors in its annual SEC filings, “If we fail

to retain existing users or add new users, or if our users decrease their level of engagement with

our products, our revenue, financial results, and business may be significantly harmed.”1

            6.     Meta’s business model of profit over child safety and business practices of

misrepresenting the amount of dangerous material and conduct to which its platforms expose

children violates New Mexico law. Meta should be held accountable for the harms it has inflicted

on New Mexico’s children and be required to make its platforms as safe for children as the law

requires.

      II.        PARTIES

            7.     This action is brought by the State of New Mexico in its sovereign capacity by and

through Raúl Torrez, the Attorney General of the State of New Mexico. The Attorney General acts

pursuant to his authority under, inter alia, NMSA 1978, Sections 8-5-1 to -17 (1933, as amended


1
    Meta 2023 10-K at p. 15.

                                                   3
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 8 of 259




through 1999); the New Mexico Unfair Practices Act, NMSA 1978, Sections 57-12-1 to -26 (1967,

as amended through 2009); and NMSA 1978, Sections 30-8-1, 30-8-8 (1963).

           8.    Defendant Meta Platforms, Inc., d/b/a Meta (“Meta”), and formerly known as

Facebook, Inc. and TheFacebook, Inc., is a multinational technology company incorporated in

Delaware, with a principal place of business in Menlo Park, California. Defendant Meta Platforms,

Inc. is registered to do business in New Mexico as a Foreign Profit Corporation.

           9.    Meta, through itself and/or its subsidiaries, develops, designs, markets, and

operates social media platforms and services including Facebook, Instagram, Messenger, and

WhatsApp (collectively, Meta’s “platforms”). As a result of acquisitions such as Instagram, Meta

has come to dominate the market of social media products and apps, becoming the largest social

media company in the world.2 As of November 2023, Meta has a market capitalization of $864.27

billion.

           10.   For purposes of this Complaint, Meta includes its wholly-owned subsidiaries

Instagram, LLC; Facebook Holdings, LLC; Facebook Operations, LLC; Meta Payments Inc.; Meta

Platforms Technologies, LLC; and Siculus, Inc.

           11.   Defendant Instagram, LLC (“Instagram”), offers an online social media networking

platform that enables users to post and share images and videos with others, as well as interact

with other users. Instagram is a limited liability company incorporated in Delaware with its

principal place of business in Menlo Park, California. Meta purchased Instagram on April 9, 2012

and Instagram, since then, is a wholly-owned subsidiary of Meta. Instagram currently has over two


2
 Andrea Murphy, et al., The Global 2000, FORBES (June 8, 2023), https://www.forbes.com/lists/global2000/; see
also Stacy Jo Dixon, Global Social Networks Ranked by Number of Users 2023, STATISTA (Sept. 22, 2023),
https://www.statista.com/statistics/272014/global-social-networks-ranked-by-number-of-users/.

                                                       4
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 9 of 259




billion monthly active users worldwide,3 and an estimated 62% of U.S. teens are on the platform.4

Although Defendant Instagram, LLC offers services to and conducts business with New Mexico

residents as explained below, Defendant Instagram, LLC is not registered to do business in New

Mexico.

        12.      Defendant Meta Payments Inc. is incorporated in the State of Florida and shares its

principal place of business in Menlo Park, California, with Meta. Meta Payments Inc. processes

payments made through Meta’s social media platforms. Meta directly owns Meta Payments Inc.,

its subsidiary. Defendant Meta Payments Inc. is registered to do business in New Mexico as a

Foreign Profit Corporation.

        13.      Defendant Meta Platforms Technologies, LLC is a Delaware limited liability

company and shares its principal place of business in Menlo Park, California, with Meta.

Previously known as Facebook Technologies, LLC, Meta Platforms Technologies, LLC has

absorbed Meta’s Oculus business segment, which it acquired in 2014. Meta Platforms

Technologies, LLC develops Meta’s virtual reality technology. Defendant Meta is the sole member

or manager of Meta Platforms Technologies, LLC. Defendant Meta Platforms Technologies, LLC

is registered to do business in New Mexico as a Foreign Limited Liability Company.

        14.      At all relevant times, Meta, including through its subsidiaries and executives,

collectively directed, controlled, had the authority to control, or participated in all aspects of the




3
  Meta Platforms, Inc. Third Quarter 2022 Results Conference Call Transcript (Oct. 26, 2022), available at:
https://s21.q4cdn.com/399680738/files/doc_financials/2022/q3/Meta-Q3-2022-Earnings-Call-Transcript.pdf
4
  Emily A. Vogels, Risa Gelles-Watnick & Navid Massarat, Teens, Social Media and Technology 2022, Pew
Research Center (Aug. 10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
technology-2022/

                                                        5
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 10 of 259




strategy, operation, planning, management, policies, design, and development of its social media

platforms, including in the acts and practices set forth in this Complaint.

        15.     As detailed in the allegations below, Meta is engaging, has engaged, and continues

to engage in unfair, deceptive, unconscionable, and unlawful activity in New Mexico. Meta has

conducted this activity on its own and/or through its subsidiaries over which it exercises complete

control and dominion, and over which Meta’s executive officers and directors have direct

oversight. Because Meta and its subsidiaries operate as a common enterprise, each of them is

jointly and severally liable for the acts and practices alleged below. All references to “Meta” in

this Complaint shall refer to and are meant to include both Meta and its above-named subsidiaries

and platforms, including Facebook, Instagram, and WhatsApp.

        16.     According to his official Meta biography, Mark Zuckerberg is the “founder,

chairman and CEO of Meta, which he originally founded as Facebook in 2004. He is responsible

for setting the overall direction and product strategy for the company,” 5 and “has control over key

decision making as a result of his control of a majority of the voting power of our outstanding

capital stock.”6 He has acted as lead spokesperson for Meta, speaking through public statements,

his Facebook account, and through Congressional testimony. Forbes lists Zuckerberg as the eighth

wealthiest individual in the world, with a net worth estimated at $106 billion. He personally owns

13% of Meta, which comprises the majority of his wealth. Zuckerberg is sued in his individual

capacity, for his own actions, inactions, statements and omissions.




5
 https://about.meta.com/media-gallery/executives/mark-zuckerberg/ (last visited Nov. 29, 2023).
6
 https://www.sec.gov/Archives/edgar/data/1326801/000132680123000013/meta-20221231.htm (last visited Nov.
29, 2023).

                                                    6
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 11 of 259




    III.         JURISDICTION, VENUE, AND JURY DEMAND

           17.     The State amends this Complaint pursuant to Federal Rule of Civil Procedure

15(a)(1)(B), but, in doing so, does not waive and expressly reasserts its objections to removal as

stated in its previously-filed Motion to Remand [Dkt. No. 9]. The filing of “an amendment as of

right filed in response to Defendants’ Motion to Dismiss” does not constitute “affirmative federal

court conduct” sufficient to operate as a waiver of those objections. Swanson v. U.S. Bank, NA,

No. 2:10cv01258-DS, 2011 WL 1584836, at *1 (D. Utah Apr. 26, 2011) (collecting cases); see

also Tate v. SNH CO Tenant LLC, Civ. Action No. 22-cv-00827-MEH, 2022 WL 3091375, at *2

(D. Col. July 15, 2022); The Knit With v. Aurora Yarns, Civ. Action No. 09-5981, 2010 WL

844739, *8 (E.D. Pa. Mar. 11, 2010); Newport v. Dell Inc., No. CIV 08-096-TUC-CKJ (JCG),

2008 WL 2705364, at *4 (D. Ariz. July 2, 2008). The State does not consent to federal jurisdiction

over its claims and maintains that Defendants’ removal was improper and meritless.

           18.     Subject matter jurisdiction for this case is conferred upon this Court pursuant to,

inter alia, Article VI, Section 13 of the New Mexico Constitution.

           19.     This Court has personal jurisdiction over Defendants because Defendants do

business in New Mexico and/or have the requisite minimum contacts with New Mexico necessary

to constitutionally permit the Court to exercise jurisdiction with such jurisdiction also within the

contemplation of the New Mexico “long arm” statute, NMSA 1978, Section 38-1-16 (1971).

           20.     Meta has purposefully availed itself of the privilege of conducting activities in New

Mexico. Specifically, Meta has purposefully directed its activities at New Mexico residents and

the suit arises out of or relates to those activities.




                                                     7
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 12 of 259




        21.      Meta designed, built and operates a “Data Center” in Los Lunas, New Mexico (the

“Los Lunas Data Center”), which opened in 2019. Meta claims that “[t]he Los Lunas Data Center

is part of Meta’s global infrastructure that brings our technologies and services to life.”7 Meta’s

data centers, including, on information and belief, the Los Lunas Data Center, house servers and

network infrastructure that permit Meta’s platforms to operate, including the data processed by

Meta’s algorithms, as described below.

        22.      For at least 10 years, Meta has systematically served the New Mexico market by

offering its platforms, including Facebook and Instagram, to New Mexico residents. Meta

advertises its products extensively in New Mexico, through television and Internet advertisements,

as well as other mediums directed to or available to New Mexico residents. Meta also sells

advertising to third parties that is intended to reach customers in New Mexico. Thus, Meta is much

more than a passive internet host with no connection to New Mexico. Rather, by virtue of its

advertising and the actual conduct of its business within New Mexico, Meta intended that its

products would be used and would create effects specifically within New Mexico. The effects and

harms described in this Amended Complaint all arise out of or are related to this conduct, and the

harms described herein occurred within New Mexico.

        23.      Moreover, the Court has personal jurisdiction over Defendant Zuckerberg because

he actively and personally participated in creating, directing, delivering, or approving deceptive,

unfair, and unconscionable conduct that was delivered to and/or affected New Mexico. Zuckerberg

made decisions and directed actions that caused, extended, and failed to mitigate harms that Meta’s



7
 “Meta’s Los Lunas Data Center,” available at: https://datacenters.atmeta.com/wp-content/uploads/2023/12/New-
Mexico-Los-Lunas.pdf (last visited Jan. 3, 2024).

                                                       8
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 13 of 259




social media platforms caused, and continue to cause, children and other users of its products—

and personally and directly benefitted from those decisions and actions. More generally,

Zuckerberg controlled, directed, approved, and/or ratified the harmful and unlawful conduct

described in this Complaint.

       24.     The State brings this action exclusively under the law of the State of New Mexico.

No federal claims are being asserted, and to the extent that any claim or factual assertion set forth

herein may be construed to have stated any claim for relief arising under federal law, such claim

is expressly disavowed and disclaimed by the State. The State’s citation to federal statutes is only

to underscore public policy and standards that inform the State’s claims that Defendants’ conduct

is deceptive, unfair, and unconscionable and constitutes a public nuisance under New Mexico law

and are not alleged as independent claims or causes of action.

       25.     The State does not seek to hold Meta liable as the publisher or speaker of any of

the content described herein. Rather, the State asserts claims against Meta are based upon Meta’s

deceptive, unfair, unconscionable, unreasonable, and unlawful conduct in designing and

maintaining its products (Instagram and Facebook, in particular) in such a manner so as to cause

known harms to its users; and making deceptive statements concerning Meta’s conduct, platforms

and policies that, in fact, constituted misrepresentations or contained material omissions

concerning the content existing on Meta’s platforms and Meta’s dedication and/or efforts to

combat that conduct. Further, to the extent the allegations are construed to hold Meta liable as the

publisher or speaker of content on its platforms, such claims fall within exceptions to such liability.

       26.     The State’s complaint takes aim at the design of Meta’s algorithm, which mines

patterns of consumption by users to recommend content and other users aligned with their interests


                                                  9
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 14 of 259




and operated to match children with adult predators and deliver a string of sexualized content to

children and to predators. The harms laid out in the complaint are tied to Meta’s actions, failures,

and design decisions, including, but not limited to: (i) implementing design features and policy

choices that fail to ascertain or apply the actual age of users; (ii) preventing effective parental

controls and reporting mechanisms; (iii) permitting predators to identify, contact, and groom

children and to develop CSAM through these contacts; (iv) designing algorithms that serve up

child sex exploitation content to children and to predators; (v) failing to warn and affirmatively

misleading parents and children about the presence of young children and about sex trafficking

and sexual exploitation content on the platforms; (vi) failing to identify and report CSAM; and

(vii) creating and sending harmful notifications that encourage addictive use of its platforms.

Correcting these activities does not require Meta to edit or withdraw third-party content, but rather

to design its product differently—namely, safely—and describe it honestly.

         27.     Venue is proper in this Court pursuant to NMSA 1978, Section 38-3-1 (1988),

because the Office of the Attorney General and the seat of the State Government are situated in

the City and County of Santa Fe, State of New Mexico, and the claims for relief asserted herein

arose in large part in the City and County of Santa Fe, New Mexico.

         28.     Pursuant to Rules 1-038 (A) and (B)(1) NMRA, Plaintiff hereby demands trial by

jury of twelve persons. As a State agency, the Attorney General’s office is exempt from paying a

jury demand fee.

   IV.         META ENGAGES IN TRADE OR COMMERCE WITHIN NEW MEXICO

         29.     As required by the UPA, Meta has engaged in trade or commerce within New

Mexico. Meta designed its platforms to monetize its users’ private data as a form of currency that


                                                 10
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 15 of 259




it uses to secure revenue from targeted advertising. Meta allows its platforms to operate in a

manner that cultivates an atmosphere for the creation and proliferation of harmful content

including CSAM and sex trafficking and designed its platforms in a manner that fosters mental

health harm and self-harm among teens and preteens.

          30.      Meta operates at least three online platforms that are relevant to this action:

Facebook, Instagram, and WhatsApp. All three platforms are offered to and used by New Mexico

citizens and/or citizens of other states traveling in or visiting New Mexico in the course of Meta’s

commercial activities. The platforms do not operate on a state-specific basis; nor do they employ

electronic geographical boundaries that restrict usage in New Mexico.

          31.      Meta does not charge users a monetary fee to use its products; instead, it monetizes

consumers’ private data by actively harvesting it and using it to sell lucrative advertising. Meta

generates “substantially all of [its] revenue from selling advertising placements on our family of

apps to marketers.”8 The essential part of Meta’s advertising sales is the data Meta gathers from

its users. Meta discloses in its financial statements that “[t]he size of our user base and our users’

level of engagement across our products are critical to our success. Our financial performance has

been and will continue to be significantly determined by our success in adding, retaining, and

engaging users of our products that deliver ad impressions, particularly for Facebook and

Instagram . . . [D]eclines in the size of our active user base may adversely impact our ability to

deliver ad impressions and, in turn, our financial performance.”9 Retaining users and maintaining




8
    Meta Form 10-K at 7.
9
    Id. at 15.

                                                    11
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 16 of 259




or increasing their level of engagement is thus a key focus for Meta, and Meta’s own securities

filings confirm that a decline in users or user engagement would result in a decline in revenue.

       32.     The phrase “ad impressions” generally refers to the number of “views” a particular

advertisement receives on one of Meta’s platforms. Meta maximizes the number of “ad

impressions” by collecting data from their users and then monetizes that data by using it, in the

aggregate, to target advertisements to demographics or individuals with characteristics that

advertisers find appealing.

       33.     Meta’s Terms of Service for its Facebook and Instagram products make that quid

pro quo explicit: instead of paying with currency, users of Facebook and Instagram provide their

demographic and usage data to Meta, which, in turn, Meta uses on an aggregate basis to entice

advertisers to pay Meta to place advertisements on Meta’s platforms that are targeted to specific

audiences. As Meta advises in its Facebook Terms of Service, “we don’t charge you to use

Facebook or the other products and services covered by these Terms . . . [i]nstead, businesses and

organizations, and other persons pay us to show you ads for their products and services . . . [w]e

use your personal data to help determine which personalized ads to show you.”

       34.     Meta’s Instagram Terms of Use contain a similar disclosure, confirming the same

quid pro quo, noting that “[i]nstead of paying to use Instagram . . . you acknowledge that we can

show you ads that businesses and organizations pay us to promote . . . We use your personal data,

such as information about your activity and interests, to show you ads that are more relevant to

you” and provide data on the ads’ performance to advertisers.

       35.     Meta executives have confirmed the importance of collecting users’ data in order

to deliver targeted advertisements. In a January 30, 2019 earnings call CFO David Wehner stated:


                                                12
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 17 of 259




“In terms of our ability to continue to grow the advertising business, it’s about working to develop

the best – the best products we can to enable advertisers to achieve their end business results.

Targeting obviously is very important in that.”10

        36.      Meta advertises its ability to target advertisements to potential advertisers,

including on its website where it promotes that advertisers are able to reach the people that conform

to the specific “traits . . . interests, gender, or location” of the demographic the advertisers seek.11

        37.      Potential advertisers then are attracted to Meta because of Meta’s ability to target

advertising to selected users/demographics and because of Meta’s ability to provide metrics

regarding advertising performance. In this way, Meta’s advertising platform is unique from

traditional advertising, in which advertisers place their advertisements on billboards, in magazines

or on television with broad distribution that includes both consumers who may be interested in the

product and consumers who may not be interested. Thus, Meta’s ability to collect and aggregate

data and to enable advertisers to incorporate the collected data into an advertising strategy are a

key selling point for Meta.

        38.      However, companies that seek to advertise on Meta “do not have long-term

advertising commitments.”12 They “will not continue to do business with [Meta], or they will

reduce the budgets they are willing to commit to [Meta], if [Meta] do[es] not deliver ads in an

effective manner” or “if they do not believe that their investment in advertising with us will

generate a competitive return relative to other alternatives.”13 Thus, Meta must attract and retain a



10
   https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q4/Q4-2018-earnings-call-transcript.pdf at 17 (edited
for clarity) (last visited Nov. 29, 2023).
11
   https://www.facebook.com/business/ads/ad-targeting (last visited Nov. 29, 2023).
12
   Meta 2023 Form 10-K at 17.
13
   Id.

                                                       13
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 18 of 259




large user base and ensure that they are online to receive advertisements in order to generate

revenue.

        39.     Happily for Meta, this quid pro quo has proved lucrative. The company reported

$34 billion in revenue in the third quarter of 2023.14 As of September 2023, according to Meta, an

average of 3.14 billion people used one of Meta’s products on a daily basis (“Daily Average Users”

or “DAUs”) and 3.96 billion people used one of Meta’s products on a monthly basis (“Monthly

Average Users” or “MAUs”).

        40.     Meta’s platforms engage in other forms of commerce in New Mexico besides

advertising. For example, Facebook includes a feature called “Facebook Marketplace,” which

facilitates the sale of goods and services via the Facebook platform by permitting users to post the

digital equivalent of “classified advertisements” on Facebook. Meta charges and collects a fee

when items are sold on its Marketplace, including in New Mexico. Additionally, Meta offers users,

including users in New Mexico, the opportunity to monetize their account(s) in order to sell

subscriptions or permit advertisements to be placed on their platforms. Indeed, Facebook publishes

a set of “Partner Monetization Policies” and “Content Monetization Policies” that specify the

requirements for such accounts.

        41.     Additionally, Facebook users who meet certain criteria are eligible to participate in

“Facebook Stars,” a program whereby the user receives “stars” or “gifts” that other users purchase

directly from Meta. In order to qualify for this program, a user must have 500 followers for at least

30 consecutive days and be over 18 years old, among other criteria. Meta advertises the opportunity



14
  https://s21.q4cdn.com/399680738/files/doc_earnings/2023/q3/earnings-result/Meta-09-30-2022-Exhibit-99-1-
FINAL.pdf

                                                     14
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 19 of 259




for users to “earn money from Facebook Stars” if they have a “professional” account.

“Professional” accounts, like businesses, have the ability to monetize their content through the

placement of advertisements on Reels that the user posts, through the placement of advertisements

that play directly before or after Reels that the user posts, or by selling subscriptions.

       42.     In addition to this “Professional” mode, Meta offers users the ability to purchase

advertisements in order to promote their own Instagram profile, in addition to traditional

advertisements selling goods and services.

       43.     A significant number of New Mexico residents use Meta’s products. Between

February 2018 and April 2023, Instagram DAUs averaged 609,297, with more than 760,000 New

Mexico DAUs reported in March 2023. Instagram MAUs in New Mexico were even higher,

averaging 958, 801, with a high of 1,195,544 MAUs in January 2023:




                                                  15
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 20 of 259




                                 16
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 21 of 259




       44.    Meta does not appear to have tracked or recorded the ages of its Instagram users

until October 2022 because statistics regarding earlier periods were not produced to the Attorney

General. However, information produced to the Attorney General confirms that significant

numbers of users that Meta classified as “teens” in New Mexico used and continued to use

Instagram. Between October 2022 and April 2023, Instagram DAUs averaged 127,338 and MAUs

averaged 203,715, as shown below:




       45.    Further, significant numbers of users in New Mexico who Meta predicts to be under

the age of 18 use both Facebook and Instagram on a daily or monthly basis, with DAUs for

Instagram averaging 130,284 over a 9-month period from the third quarter 2022 to the second

                                               17
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 22 of 259




quarter 2023, and DAUs for Facebook averaging 38,504 between the third quarter of 2021 and the

second quarter of 2023, as shown below:

       Instagram:




       Facebook:




       46.    Thus, Meta operates in trade and commerce with New Mexico consumers,

including large numbers of children, who knowingly or not “agree” to allow Meta to use and

monetize their data and engagement to increase its revenue.




                                               18
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 23 of 259




   V.         META’S DESIGN OF INSTAGRAM AND FACEBOOK

        47.     Although Meta operates numerous social media platforms, its two primary products

are Facebook and Instagram. Both employ similar features to connect individuals and permit them

to share content. Both Facebook and Instagram are accessible via Internet browser or by a mobile

app installed on a person’s mobile device.

        48.     Facebook is a website that permits users (individuals or entities) to post content

(words, pictures, or video) and connect with other users (whom they may or may not know). Users

can interact with each other in a number of ways. In order to use Facebook, a user must create an

account and provide certain information, including the user’s name and birthdate. Although Meta’s

system will automatically reject accounts for any person with an identified age under 13-years old,

Meta does not employ any age verification system at signup and underage children may obtain a

Facebook account if they lie about their age.

        49.     When a user posts content, other users with whom that user is connected may react

to the content. On Facebook, users may “like” that content, generally by hovering over and/or

clicking on a thumbs-up icon. Users also have the option of selecting another icon when hovering

over/and or clicking the thumb-up icon including: “like,” “love,” “care,” “haha,” “wow,” “sad,”

and “angry.” In Instagram, users may react to content by clicking a heart-shaped icon. As noted

below, Meta algorithms monitor user reactions on its platforms in order to determine what content

will be displayed to individual users. Additionally, the measure also served as a social measuring

stick, by which users could gauge the success of their posts, photographs, and videos. Posts on

Facebook display the number of reactions from other users in a tally format showing a user how

many of each reaction they received.


                                                19
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 24 of 259




        50.      On both platforms, users may also comment on content by adding their own notes,

questions or reactions in written form. As with original posts, other users may react to comments.

The number of reactions a particular comment attracts is displayed publicly.

        51.      Facebook users are also able to “share” content they have seen elsewhere with

individuals they have connected with on the platform—or even publicly to anyone on the Facebook

platform regardless of connection status. Thus, while users may post their own content for

consumption by their online network, they also may post content created by others. Meta’s

algorithms consider content an individual has “shared” as one input when determining what

content to display.

        52.      Facebook users also may join “groups,” which are collections of users who

purportedly share common interests or motivations. The types of groups a user joins and a user’s

level of participation in those groups are another usage factor that Meta’s algorithms consider.

Posts in groups may be shown on a user’s “feed” (as described below), although each group also

has its own feed that shows only content posted to the “group” by its members. Groups may be

public or private, and range in size from a handful of users to thousands of users.

        53.      Facebook delivers content to users via the user’s “feed,” which portrays content

vertically in a list that a user may scroll through. The feed is never-ending–-no matter how long

the user scrolls, new content will appear. Moreover, information in a user’s feed is not listed

chronologically, but rather is provided via Meta’s algorithms, which are artificial intelligence

systems that Meta uses “to decide what content appears, informed by the choices [users] make.”15



15
  Meta, “How AI Influences What You See on Facebook and Instagram,” June 29, 2023, available at:
https://about.fb.com/news/2023/06/how-ai-ranks-content-on-facebook-and-instagram/ (last visited Dec. 2, 2023).

                                                       20
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 25 of 259




These algorithms purportedly seek to “predict how valuable a piece of content might be to” a user,

based upon the user’s online activity, including whether the user “shared” content, “liked” content,

or otherwise engaged with content.

       54.     Meta’s algorithms for identifying and delivering content to users’ feeds is driven

by engagement, or how much the specific content is viewed. That is distinct from Google, for

instance, whose algorithm incorporates quality metrics, such as the author’s expertise in the subject

area and third party validation. Because of this design difference, Meta proliferates content that is

sensational or sought out (like child sexual exploitation content), while Google’s algorithm

operates to drive down traffic for lower quality material.

       55.     One internal Meta email from 2019 examined the dominance of inauthentic

Facebook pages run by “troll farms” out of the Balkans, noting that 75% of “their ability to reach

our users comes from the structure of our platform and our ranking algorithms, rather than user

choice. Instead of users choosing to receive content from these actors, it is our platform that is

choosing to give them enormous reach.” The writer attributes the problem to the fact that Meta’s

algorithms are “all based around engagement” and notes that “pulling the dial back from pure

engagement based features, would likely pay off a ton in both the integrity space, and long term

likely in engagement as well.” In other words, changing Meta’s algorithms would increase both

the quality and safety of Meta’s platforms. The writer closed by noting that “Newsfeed and

specifically ranking is such an integral part of our platform,” playing a “key role” for “almost

everything we want to accomplish,” and that until the company determines how to refocus its

algorithms “we should expect our platform to continue to empower actors who are antithetical to

the company mission.”


                                                 21
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 26 of 259




       56.     A user’s feed includes not only content posted by connections, groups, and others,

but also paid advertisements that Meta’s algorithms select as appropriate for the user. It is this

placement that advertisers covet and that generates Meta’s substantial profits.

       57.     Users on Facebook may also message each other directly via Meta’s Messenger

feature, which functions much like text messages on a cell phone. There are two versions of

Messenger: the “Messenger” app is available to users over the age of 13. Meta launched

“Messenger Kids” in December 2017, and it is intended for users under the age of 13. In contrast

to the sign-up process for regular Messenger, sign up for “Messenger Kids” requires parental

consent.

       58.     Users of Messenger may send text, images, or videos using Messenger to one or

more individuals. Meta does not prevent adult strangers from sending messages via Messenger to

users under the age of 18 with whom they are not connected, although those messages may appear

as “Message Requests.” In contrast, Messenger Kids is not supposed to permit messaging from

another account with whom the under-13 user is not directly connected. An action filed by the

FTC in April 2023 alleges that messages from unconnected adults could nevertheless reach

children with “Messenger Kids” accounts via group texts or group video calls in certain

circumstances. Moreover, children can continue to bypass Messenger Kids by registering their

accounts with a false date of birth, a fact that Meta knows well.

       59.     Additionally, Facebook users may view “Reels,” which are short videos posted by

other users (usually to Instagram, where the feature is also available). Meta presents Reels to users

in a variety of ways, either at the top of the screen (shown as a display of static images), as part of

a user’s feed (displayed under the heading “Reels” with images that autoplay the first second of a


                                                  22
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 27 of 259




video), or, on Instagram, on a separate tab that autoplays the first Reel. When a user clicks on a

“Reel,” videos are presented in an algorithmically generated feed in full-screen format. Like a

user’s “feed,” the scroll of Reels is never-ending; when one Reel concludes (or even before it

concludes), the user need only scroll downwards to view another short, algorithmically-selected

video. When a user is in Reels, the videos begin play automatically, so a user need never press

“play” or “start.” Like posts or other content, users can like or comment on Reels. On information

and belief, Meta’s algorithm tracks various metrics regarding a user’s interaction with Reels,

including what videos the user viewed and how long the user viewed particular videos, and uses

that information to target the delivery of future recommendations. Most, if not all, Reels displayed

to a user are generated by accounts that the user does not follow. Additionally, video

advertisements are interspersed between the user-generated video content.

       60.     Instagram is a platform that operates similarly to Facebook, except that content

largely consists of pictures or videos, instead of text. Instagram allows people or entities who sign

up for accounts to “post” videos, photos, pictures, captions, and similar material to Instagram’s

platform for other users to see and to interact with.

       61.     As with Facebook, a user must create an account in order to use Instagram’s

platform and post content. And, similar to Facebook, Meta does not employ age verification

technology at signup (other than automatically rejecting accounts that register with birthdates

indicating the user is under the age of 13). Thus, underage users may misrepresent their age at

signup and gain access to Instagram—a fact well known both to Meta and its users.

       62.     Users on Instagram and Facebook may “follow” other accounts, which increases

the likelihood that the user will see posts from the followed account.


                                                 23
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 28 of 259




       63.     Like Facebook, Instagram content (other than “Stories” described below) is

presented to users in the form of a never-ending feed. Swiping up or down on the feed will reveal

additional posts. A user need only continue scrolling to view additional posts or content. And,

similar to Facebook, a user’s feed is algorithmically generated based upon the user’s activity on

the site and other inputs. The posts on a user’s feed consist of posts from other users who have

been followed by the user viewing his or her feed, but also “suggested posts” from users whom

that person has not followed but are recommended by Meta’s algorithm. Additionally, as with

Facebook, advertisements appear on a user’s feed.

       64.     Users can like, comment and share posts, similar to Facebook. Users may also

“save” posts, which, on information and belief, the algorithm treats as if the user “liked” the post,

increasing the post’s popularity and visibility on the platform because the post is suggested to more

users. The Instagram platform publicly displays the number of likes a particular post attracts.

       65.     Instagram also has a search feature, called “Explore.” A user who clicks on the

“Explore” button is presented with a screen containing a small search bar at the top and the

majority of the screen is filled with posts (both video and photo) that Instagram’s algorithms

“suggest” for the user based upon the user’s prior activity, accounts that the user follows and the

user’s “connections on Instagram.” All of the images on the “Explore” screen are from accounts

that the Instagram user does not follow.

       66.     As with Facebook, Instagram users may create, share and view video Reels, which

operate in the same manner as described above. Additionally, Instagram permits users to post

“Stories,” which are images or short videos (often set to music) that disappear after 24 hours.




                                                 24
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 29 of 259




Stories do not appear in a user’s feed, but rather are displayed at the top of a user’s main Instagram

screen.

           67.     Both Facebook and Instagram employ “notifications” (as described below) to

advise users of new or additional content. These notifications display not only within a user’s

interface (whether directly through the Internet or on a mobile app), but also appear adjacent to a

user’s mobile app even when the user is not using Facebook or Instagram or even in a user’s email

should they spend too long off the platform.

     VI.         META’S PLATFORMS ENABLED AND FAILED TO PREVENT SEXUAL
                 EXPLOITATION MATERIAL FROM AFFECTING NEW MEXICO
                 RESIDENTS

           A. DEFINITION OF HUMAN TRAFFICKING

           68.     “The fight against human trafficking requires not just passive support, but actual,

active commitment and effort on the part of businesses that unwittingly, but regularly intersect

with traffickers, victims, and survivors.”16 This Complaint concerns a business that regularly

intersects with “traffickers, victims, and survivors,” but, despite its public claims to the contrary,

has never demonstrated an “actual, active commitment.”

           69.     Human trafficking is a crime involving the exploitation of a person for labor,

services, or commercial sex.17 Although human trafficking may exist in many forms, this

Complaint uses the term primarily to refer to sex trafficking, which the U.S. Department of Justice

defines as “the recruitment, harboring, transportation, provision, obtaining, patronizing, or



16
   Polaris, “On-Ramps, Intersections, and Exit Routes: A Roadmap for Systems and Industries to Prevent and
Disrupt Human Trafficking,” July 2018, available at: https://polarisproject.org/on-ramps-intersections-and-exit-
routes/ (last visited Nov. 29, 2023).
17
   U.S. Department of Justice, “Human Trafficking,” available at: https://www.justice.gov/humantrafficking (last
visited Dec. 2, 2023).

                                                        25
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 30 of 259




soliciting of a person for the purpose of a commercial sex act in which a commercial sex act is

induced by force, fraud, or coercion, or in which the person induced to perform such act has not

attained 18 years of age.”18

        70.      New Mexico law also prohibits human trafficking, which is defined to include:

benefiting financially or by receiving anything of value, from the labor, services or commercial

sexual activity of another person with the knowledge that force, fraud or coercion was used to

obtain the labor, services or commercial sexual activity. NMSA 1978, § 30-52-1 (2008).

“Commercial sexual activity" means “any sexual act or sexually explicit exhibition for which

anything of value is given, promised to or received by any person.” Id.

        71.      The acronym CSAM stands for “Child Sexual Abuse Material” and is used to refer

to imagery or videos which show a person who is a child and engaged in or is depicted being

engaged in explicit sexual activity.

        72.      The phrases “human trafficking” and CSAM, as used in this Complaint, are

intended to refer to the “range of crimes and activities involving the sexual abuse or exploitation

of a child for the financial benefit of any person or in exchange for anything of value (including

monetary and non-monetary benefits) given or received by any person,” often referred to as

Commercial Sexual Exploitation of Children (“CSEC”).19 Use of the phrases “human trafficking”

and CSAM should be read to include crimes that fall within the definition of CSEC to the extent

such crimes are occurring on or enabled by Meta’s platforms, as described below.




18
   U.S. Department of Justice, “Human Trafficking,” available at: https://www.justice.gov/humantrafficking (citing
22 U.S.C. § 7102(11)(A)) (last visited Dec. 2, 2023).
19
   U.S. Department of Justice, Office of Juvenile Justice and Delinquency Prevention, “Sexual Exploitation of
Children,” available at: https://ojjdp.ojp.gov/programs/sexual-exploitation-children (last visited Dec. 2, 2023).

                                                        26
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 31 of 259




        73.      At times, the Complaint also refers to “grooming,” which is “a gradual process

whereby an abuser wins the trust and cooperation of a potential victim, starting with interactions

that may seem normal and benign, like paying special attention or offering compliments and

gifts.”20 Grooming occurring on the Internet, including on Meta’s platforms (as described below)

can be carried out by adults in their own capacities or “often involves adults creating fake profiles

and posing as children or teens in order to befriend someone and gain their trust,” and “may be the

first step towards sexual abuse or online stalking or harassment.”21

        B. META STEERED AND CONNECTED USERS – INCLUDING CHILDREN –
           TO SEXUALLY EXPLICIT, EXPLOITATIVE AND CHILD SEX ABUSE
           MATERIALS AND FACILITATED HUMAN TRAFFICKING WITHIN OR
           AFFECTING NEW MEXICO

        74.      Human trafficking and distribution of CSAM or CSEC are morally repugnant and

illegal practices to be prevented and prosecuted whenever possible. Federal law renders any person

who “benefits, financially or by receiving anything of value, from participation in a venture”

engaged in trafficking of children, or by force, fraud or coercion both criminally and civilly liable.

18 U.S.C. § 1591(a)(2); see also NMSA 1978, § 30-52-1 (prohibiting human trafficking); NMSA

1978, § 30-37-3.2 (2007) (prohibiting “soliciting a child under sixteen years of age, by means of

an electronic communication device, to engage in sexual intercourse, sexual contact or in a sexual

or obscene performance . . .”); 18 U.S.C. § 2251 (federal statute barring sexual exploitation of

children); 18 U.S.C. § 2252 (federal CSAM statute).




20
   Anne Barnard, What does ‘grooming’ mean in sexual abuse cases? N.Y. TIMES, Dec. 2, 2021,
https://www.nytimes.com/2021/12/02/nyregion/grooming-sexual-abuse.html (last visited Nov. 29, 2023).
21
   Rape, Abuse & Incest National Network, “Grooming: Know the Warning Signs,” July 10, 2020, available at:
https://www.rainn.org/news/grooming-know-warning-signs (last visited Dec. 2, 2023).

                                                      27
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 32 of 259




        75.      Meta’s own Community Standards recognize the importance of eliminating

material related to human trafficking, CSAM and CSEC, providing that “[w]e do not allow content

or activity that sexually exploits or endangers children.”22 Its executives uniformly proclaim

Meta’s commitment to safety in interviews and posts on Meta’s website.

        76.      Despite these representations that harmful content such as CSAM and CSEC should

not and does not exist on its platforms, such content is pervasive. Meta’s recommendation

algorithms, fueled by likes, comments, and searches, has created a marketplace – bigger, wider,

and more active and open than any that could be fostered in the non-virtual world – to connect

pedophiles, predators, and others engaged in the commerce of sex and allow them to hunt for,

groom, sell, and buy sex with children and sexual images of children at an unprecedented scale.

        77.      An investigation in support of this Complaint has documented the ways in which

Meta, through Facebook, Instagram, and WhatsApp and the designs and decisions of its corporate

leadership, has facilitated human trafficking and the distribution of CSAM throughout its

platforms. Specifically, with accounts clearly belonging to children, Meta has:

                         Proactively served and directed them to a stream of egregious, sexually

              explicit images through recommended users and posts – even where the child has

              expressed no interest in this content;

                         Enabled adults to find, message, and groom minors, soliciting them to sell

              pictures or participate in pornographic videos;

                         Fostered unmoderated user groups devoted to or facilitating CSEC;



22
 https://transparency.fb.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/ (last visited
Nov. 29, 2023).

                                                        28
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 33 of 259




                      Allowed users to search for, like, share, and sell a crushing volume of

             CSAM; and

                      Allowed, and failed to detect, a fictional mother offering her 13-year old for

             trafficking, and solicited the 13-year old to create her own professional page and sell

             advertising.

       78.     Meta’s conduct is not that of a publisher, simply presenting content created by

others. Instead, Meta’s algorithms operate to “search and disseminate” sexually exploitative and

explicit materials and to create its own social network of users looking to buy and sell the images

and the children who are its casualties and its currency.

       79.     A handful of investigators have done what Meta, with its staff of roughly 86,000,

apparently will not: identify vast networks of CSEC on Meta’s platforms and identify some of the

ways in which the functions and failures of Meta’s platforms enable and spread this activity. None

of the content below was removed by Meta, and none of it is consistent with Defendants Meta’s

and Zuckerberg’s representations that Meta maintains an environment that is safe for children or

aggressively and effectively manages CSEC. Investigators, for example, found and were

recommended numerous CSAM or CSEC images and links on Meta’s platforms, including

Threads, Meta’s version of Twitter. For example, this image of CSAM at Figure 1 has been

censored:




                                                 29
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 34 of 259




Figure 1


       80.     Clear views of the girl’s genitalia, sexual pose, and items in the room suggest this

is an image of a child in an abusive setting. The same account posted additional images of children

in sexually suggestive poses like in Figure 2, which were easily discovered by an investigator:




                                                30
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 35 of 259




Figure 2


       81.    Despite investigators making reports to remove harmful, CSAM, and/or CSEC

content, Meta, upon information and belief, has taken no action to remove known harmful content

or remove known violators of Meta’s own purported policies.

       82.    Some specific examples of the sort of harmful, CSAM, or CSEC content on Meta’s

platforms include:


                                              31
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 36 of 259




       83.     Numerous Instagram accounts offering links to purchase or trade CSAM or CSEC,

with directions to connect offline, typically through WhatsApp or Telegram (both platforms that

are entirely encrypted and therefore cannot be monitored), for the transactions. A search for “All

New Kids Links Available” on Instagram, for example, yielded dozens of options for CSAM.

Notably, “cheese pizza,” with its shared initials, is known to be a proxy for child pornography. See

Figure 3.




                                                32
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 37 of 259




Figure 3

       84.     The profile picture at Figure 4 (redacted here) showed two young girls in an image

that suggested they were engaged in sexual activity.




                                               33
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 38 of 259




Figure 4


       85.     One of many other sellers showed a young girl in a bikini with her hand positioned

suggestively. The ad promised the “best price links,” invited users to “dm,” or direct message, and

included an image of $1000.00, suggesting the price of content. See Figure 5.




                                                34
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 39 of 259




       Figure 5


       86.     Other Instagram posts included sexualized images of children in thong underwear

and other lingerie, such as Figure 6, with references to “available CP [child pornography]

gay/teen/rap/boy/girl/kids.”




                                              35
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 40 of 259




       Figure 6


       87.     These Instagram posts regularly included “suggested for you” content, identified

by its algorithm, that directed users to other CSAM sellers or minor accounts. One typical example

showed a “links_here” seller offering “BOY, KIDS GIRLS ALL” associated with a

“piz.zalinkseller” and other CSAM-selling accounts, which the user is invited to follow.

       88.     The Instagram seller below incorporates an image of a young girl serving a cheese

pizza and advertises “small girls, small boys . . .3 years to 12 years girl’s . . .anal sex.” See Figure

7.

                                                  36
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 41 of 259




       Figure 7


       89.    Accounts of CSAM sellers on Instagram also included graphic images of children

along with adult genitalia and of sexual intercourse involving children including, for example, a

                                               37
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 42 of 259




profile with an image of a young boy (appearing to be 5-7 years old) performing oral sex an

apparently adult male.

       90.     Investigators also followed sellers’ links to their accounts. One link, for example,

described itself on Telegram as a “Cp Big Seller,” referencing child pornography. One of the

videos showed a child’s genitalia. Another seller’s Instagram account included a video of children

dancing; one of the children pulled down his pants, exposing an erect penis. Investigators reported

these, and numerous other accounts, to Meta. However, roughly half of a sample of the reported

content was still available when checked days before filing this Complaint. Investigators found

that content that was removed frequently reappeared or that Meta recommended alternative,

equally problematic content to users—demonstrating both that Meta is capable of identifying this

content but incapable of effectively dealing with it. Moreover, Meta’s reliance on user reports to

identify unlawful, dangerous, or inappropriate conduct demonstrates the failure of its own efforts

to detect and remove these materials.

       91.     Facebook and Instagram accounts are also known to advertise and facilitate the

operation of commercial sex enterprises, offering pornography or advertising video call services

like those listed below in Figure 8:




                                                38
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 43 of 259




Figure 8


       92.   Among those services were accounts featuring minors marketed for sex work. See

Figure 9.



                                           39
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 44 of 259




                  Figure 9


       93.        A search for porn on Facebook was blocked and returned no results, but the same

search on Instagram yielded numerous accounts, including one, for example, that remained active

on Instagram but was suspended on “X,” or Twitter, for violating the platform’s rules. The account

had no posts, but included stories that were viewable and showed videos of individuals engaged

in intercourse.

       94.        In fact, contrary to Meta’s public representations, Meta’s platforms contain account

after account with images and associated text depicting pornography, nudity, pedophilia, sexual

assault, incest, and sexual fetishes. These accounts often consisted of immense social networks of

individuals following and commenting on pornographic videos and images posted on the

platforms. Many of the images found on Meta’s platforms were excluded from this Complaint as

too graphic and disturbing.


                                                   40
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 45 of 259




       95.     Meta hosts content in large volumes that even adult content platforms have

removed. For example, OnlyFans has prohibited certain adult sexual content related to dominating

father figures and young girls (“DDLG”) that has the potential to cross over to child sexual

exploitation. Yet, investigators found numerous posts and accounts on Instagram that depicted or

promoted choking, slapping, tying up, engaging in sex with, and otherwise abusing little girls. One

of the least explicit images is of a girl with underwear reading “hurt me harder.”

       96.     Demonstrating not only Meta’s tolerance for the most exploitative content but also

Meta’s ability to limit such material if it so chose, searches for this particular type of content

yielded 30 results on OnlyFans and 646 results on Pornhub, but 19,900 results on Instagram and

15,900 on Facebook.

       97.     Sexually explicit content is equally available to accounts registered to minors, and

adult strangers, by operation of Meta’s algorithms, are able to follow and communicate with those

minors.

       98.     State of New Mexico investigators created numerous accounts for minors,

including tweens as young as 12 years-old, that were not denied access to any pages or users on

Facebook or Instagram, regardless of how explicit the sexual or self-harm content. One account

for a 15-year old, with a date of birth of September 7, 2008, accessed soft-core pornography with

pictures of men and women who were nude, some being spanked or punished, others reportedly

involving incest, and encountered no barriers or warnings. She also freely searched emojis related

to minors and sex work.

       99.     Pictures of minor girls, in particular, produce a stream of comments from accounts

of adult males, often with requests that the girls contact them or send pictures. Investigators found


                                                 41
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 46 of 259




that different accounts with photos of children were followed by the same adult, no doubt the

product of Meta’s algorithms directing the adult to similar posts and accounts. After viewing

accounts that showed sexually suggestive pictures of girls, Instagram’s algorithms directed

investigators to other accounts with images of sexual intercourse and sexualized images of minors.

See Figure 10:




       Figure 10


       100.      Even where Meta’s algorithms attempt to mitigate harmful content and

inappropriate content, those attempts are largely ineffectual. An Instagram search for Lolita, with

literary roots connoting a relationship between an adult male and teenage girl, produced an

Instagram warning flagging content related to potential child sexual abuse. However, the algorithm

also suggested alternative terms like "lolitta girls,” which yielded content without a warning.

                                                42
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 47 of 259




       101.    Below is a sample of the State’s findings, collected in case studies, that further

illustrate Meta’s misstatements, failures of care, and violations of law.


       i.      Case Study 1: Rosalind Cereceres

       102.    In September 2023, State investigators developed a Facebook profile for Rosalind

Cereceres, a 40-year old fictional “bad mother” to a 13 year-old chat persona, Issa Bee. Cereceres

lives in Albuquerque and is described as a Colombian immigrant from Medellin, who primarily

speaks Spanish and Portuguese.

       103.    Based on experience with the symbols, language and earmarks of potential human

trafficking, the profile incorporated signals that Cereceres was interested in trafficking her daughter.

The profile displayed a crown tattoo and a tattoo on the inside of Cereceres’ lip, marking her as

likely “owned” by a street gang pimp. See Figure 11.




       Figure 11


                                                  43
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 48 of 259




       104.    Within three days of establishing the profile, and without any efforts to promote the

account, Cereceres’ account reached its maximum limit of 5,000 Facebook friends and over 3,000

followers.

       105.    As shown below, the pictures Cereceres posted of her daughter showed her to be

visibly under-age and Cereceres referred to her by her age. Commenters on Cereceres’ account

responded with inappropriate expressions of love or interest in the girl. See Figures 12-14.




Figure 12




                                                44
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 49 of 259




                                 45
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 50 of 259




Figure 13




Figure 14


       106.    One response to a picture of young Issa included a heart with crossed thumb and

index finger which signifies "x rated love." See Figure 15.




                                                46
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 51 of 259




       Figure 15


       107.    Issa Bee and her mother share 164 friends. One of those friends recently added Issa

to a chat group that was primarily focused on cultivating "loli girls" (which means young girls)

ages 12-16 and providing pornographic videos and naked photos of underage girls, censored

examples below at Figure 16, for viewing in the chat. Issa reported the group numerous times to

Facebook but it remained active. After Issa’s last report, Facebook merely instructed Issa to leave

the group.




                                                47
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 52 of 259




Figure 16

       108.    During the investigation, Cereceres posted that her daughter was admitted to a

Children’s Hospital in San Antonio, Texas for psychiatric and medical treatment following a

potential sexual assault. Human traffickers often use hospitals to transfer children and other

trafficked victims into and out of custody.

       109.    Cereceres posted a photo of a Children’s Hospital in San Antonio, Texas on her

Facebook profile. See Figure 17.




                                              48
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 53 of 259




          Figure 17


       110.   In response, a Facebook friend and follower of Cereceres posted an image of two

men shaking hands and exchanging a briefcase. This Facebook comment suggested and

acknowledged a business transaction. See Figure 18.




                                              49
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 54 of 259




                                Figure 18

       111.    Not one of these posts was flagged by Meta.

       ii.     Case Study 2: Issa Bee

       112.    Issa Bee, Cereceres’ fictional 13-year old daughter, was introduced in an account

in August 2023. Her full name is Carolina Boerne, and she had just moved to rural New Mexico

from Texas. Her date of birth was listed as July 15, 2002 to avoid having to create a children’s

Facebook profile and Messenger account. Issa’s profile is pictured below in Figure 19.




                                               50
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 55 of 259




Figure 19

         113.   Although she falsely represented her date of birth to open her account, Issa’s profile

made abundantly clear that she is 13-years old. She regularly posted pictures of herself and

commented about school, the cafeteria, and the school bus. Her taste in music aligned with a typical

teenage girl: Olivia Rodrigo and Harry Styles, for instance. One of Issa’s posts lamented that she

lost her last baby tooth, and others marked her first day of 7th grade and sports tryouts. See Figures

20-22.




                                                 51
   Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 56 of 259




Figure 20                   Figure 21




  Figure 22


                                    52
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 57 of 259




       114.    Issa also frequently mentioned her age in messages, as in this response to an adult

male stranger who reached out to her. See Figure 23.




   Figure 23
       115.    Many of the Reels and posts in Issa’s recommended feed purport to be from girls

13-16 years old, suggesting Meta’s algorithm recognized her actual age for advertising purposes,

but was not used for her safety.




                                               53
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 58 of 259




         116.   Issa has alluded, in her posts, to past physical and sexual assault, mental health

issues, and post-traumatic stress disorder (“PTSD”) and posted pictures of herself with signs of

physical abuse. She also has suggested that she has been trafficked by friends and relatives.

Facebook has never alerted the account to authorities, to the Office’s knowledge. However,

Facebook’s algorithm has taken notice of the content as Issa has received ads and notifications for

mental health treatment and for law firms representing victims of human trafficking or lawsuits

related to a New Mexico school teacher who was convicted of sexually assaulting several teenage

girls.

         117.   Issa’s profile has the maximum number of 5,000 friends allowed by Facebook, and

over 6,700 Facebook followers. Recently, given the account’s popularity, Facebook solicited Issa

to set up a professional account, providing marketing outlooks and strategy suggestions from Meta

on growing the account and her followers.

         118.   Most of Issa’s followers are males between the ages of 18- and 40-years old.

Comments posted from friends and followers range from admiring to sexually suggestive and

sometimes outright threatening. There is post after post from adult men, per their profile pictures,

telling Issa they love her and calling her beautiful, sexy, or gorgeous. Facebook has made no

apparent effort to screen these adult men from posting comments to Issa or allowing them to send

messages to her directly. Issa has received numerous message requests on Facebook from adult

men for her WhatsApp contact information or asking her to contact them via Kik, Telegram, or

Paltalk or to meet offline.

         119.   Some commenters appear protective and criticize other messengers for soliciting a

minor. One post noted that Facebook bans users over “petty” things but does nothing with these


                                                54
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 59 of 259




adult pedophiles (see screen shot below at Figure 24). However, these same posters often message

Issa directly with suggestive messages of their own.




Figure 24

       120.    On Facebook Messenger, Issa’s messages and chats are filled with pictures and

videos of genitalia, including exposed penises, which she receives at least 3-4 times per week.

As the messages come in, she has no means of screening or previewing the messages.

       121.    Issa has reported numerous posts and accounts to Facebook, but those accounts

have remained active, sometimes after a 2-3 day absence, after which they continued to post the

same sexually-posed pictures of genitalia.


                                               55
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 60 of 259




       122.    Issa recently received a pornographic video of three individuals engaged in

sexual activity along with a sexually explicit message through Facebook Messenger, which she

also reported. As shown below, Meta, in its first response to Issa’s many reports, advised that it

found no violation of Community Standards by the account. See Figures 25 and 26.




   Figure 25




                                                56
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 61 of 259




   Figure 26
       123.    Issa also received, through Facebook Messenger, offers like this from an adult

user, who openly promised her $5,000 a week to be his “sugar baby” and urging her to “text me

(hi daddy).” See Figure 27.




                                              57
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 62 of 259




Figure 27

       124.    It is apparent, based on a review of Issa’s account activity, that Facebook is not

scanning the text of messages she receives for child safety purposes. Despite overtly sexualized

text messages and chats, Facebook has not removed or reported any message she received.

       125.    Issa’s profile was shared by a user whose account posts images of little girls who

are listed as the user’s 1,276 Facebook friends, often in suggestive poses, with signs that CSAM


                                                58
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 63 of 259




and the girls themselves are for sale. The comments section for the profile photos of the user’s

“friends” typically included links to groups on encrypted platforms like Signal and Telegram or,

in the case below, a paid Facebook group open by subscription only. See Figures 28-30.




Figure 28




                                               59
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 64 of 259




Figure 29                      Figure 30
       126.    One recent photo from the account included a post: “she is selling, she wants to

go ahead,” indicating that the young girl is likely being trafficked. See Figure 31.




                                                 60
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 65 of 259




Figure 31.
       127.    Instead of policing the described activities to protect Issa, Meta sought to further

exploit her by monetizing her as a commodity. As noted above, Issa has been offered a professional

account by Facebook. Issa can allow her “fans” to send her Stars and gifts, purchased from Meta,

and she could, if she becomes eligible, make money by including ads in her Reels or videos, which

Meta frequently prompts her to consider, or receive bonuses from Meta. See Figure 32.




                                                61
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 66 of 259




               Figure 32


       128.    In connection with Reels, Issa also has received recommendations with suggestive

content, also including ads, like this one for Mattress King after a (censored here) image of a girl’s

exposed buttocks. See Figures 33-34.




                                                 62
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 67 of 259




Figure 33




                                 63
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 68 of 259




   Figure 34
       129.    Other Reels that Meta recommended to Issa in her feed include explicit and

sexualized images of teenage girls. See Figures 35-36.




Figure 35                             Figure 36



       130.    Last week, Issa’s Reels delivered a graphic sexual image (excluded here), followed

by an advertisement for a law firm representing “trafficking survivors,” suggesting that Meta had

linked the sexual content and human trafficking, again, for purposes of generating content, but not

compliance. See Figure 37.




                                                64
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 69 of 259




               Figure 37

       131.    Issa, were she real, would know that these ads can be lucrative as other account

users with whom she is friends on Facebook have posted that they are able to make a living from

the revenue from ads run with their content. Moreover, the ability to monetize accounts entices

users to use Meta’s platforms, and thus enhances Meta’s revenue. Several of these accounts appear

to be using Facebook to drive traffic to their OnlyFans adult site, with messages inviting users to

“hit them up” on OnlyFans to obtain pictures, for example.

       132.    Finally, Meta provides Issa, in her professional page dashboard, with detailed

metrics on her audience and engagement. For example, 13-year old Issa from New Mexico had

                                                65
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 70 of 259




1,260 audience members on a peak Wednesday. 95% were male and 40% of her users were 25-34

years of age. The city with the largest cluster of her followers was Lagos, Nigeria, followed by

cities in the Dominican Republic and Ghana. While Meta aggregated and analyzed those statistics

for Issa, it never noted the obvious red flags that she is being solicited and followed by an

international array of men.


       iii.      Case Study 3: Sunny Paxton

       133.      Several weeks ago, the Facebook account for Sonseearay “Sunny” Paxton, a 12-

year old in Mountainair, New Mexico, went live. Sunny was below the minimum age to open an

account. Three attempts to open the account with Sunny’s “actual” date of birth failed. On the

fourth try, using the same device and the same identifying information and only changing the birth

year to 2000, as any minor could do, the account went live.

       134.      Sunny is Facebook friends with 13-year old Issa, who messaged Sunny, “nice to

see you at school.” Sunny’s profile pictures show her to look like a minor, not a 23-year old. See

Figures 38-39.




                                               66
 Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 71 of 259




Figure 38




                                  67
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 72 of 259




          Figure 39

       135.    Within the first forty-eight hours of establishing the account, Sunny amassed 597

Facebook friends, and now has 997 active friend requests. Sunny accepted the requests so quickly

that Facebook warned her that she was “proceeding too quickly” and her ability to accept new

friends was paused. Facebook later notified Sunny that it would prevent additional friend requests

beyond the limit for 1,000 pending requests unless Sunny addressed outstanding requests. At no

time did Facebook otherwise question the account history or pace.

       136.    Before conducting any searches or connecting with any friends, Sunny accessed the

recommended Reels at the bottom of her profile. From the beginning, the content recommended

to her was largely sexual and, likely based on her viewing of those posts, the recommendations of

friends were largely related to masturbation groups, with photos and videos displaying nudity,


                                               68
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 73 of 259




bondage, and fetishism. Examples, including “People You May Know” identified to Sunny by

Facebook, are reflected in Figure 40.




Figure 40

       137.    Facebook not only failed to remove this content but delivered it to minor Sunny

through its proactive recommendations.

       138.    Across these three accounts, State investigators received and were recommended

content identified as CSAM. One Messenger chat alone included thousands of CSAM pictures and

videos contributed by multiple user accounts. While members of the chat group threatened to

report the content to Facebook, the accounts and chat remain active, the content are still available,

and new CSAM continues to be added. One Reels feed, for example, includes numerous videos of

children dancing that include or link to child pornographic videos. These Reels include


                                                 69
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 74 of 259




advertisements from the New York Times and Amazon, as well as Mattress King. In addition,

Facebook’s algorithm recommended to the minor account holders the accounts and posts of adult

strangers every day, and even suggested visiting OnlyFans, an adult platform that allows access to

pornographic content.


       iv.      Case Study 4: BobbiFun13

       139.     After two unsuccessful attempts at opening a Facebook account as a 13-year old, a

fictional user with the account name BobbiFun13 successfully opened an account on Instagram.

She began looking for content on Instagram, and her search for “cute girls” returned sexual images,

like those in Figure 41.




             Figure 41




                                                70
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 75 of 259




       140.     BobbiFun13 was able to follow accounts that signaled connections to child

pornography, with “pizza” seller or links, “little-girls,” or “young_girl_sell” in their names. She

also was promptly followed by a similar set of sexually themed groups, including cpsell2,

trusted_pizza_seller, all_new_kids_link, and i_can_make_women_orgsm.


       v.       Case Study 5: Taya Neils

       141.     Investigators also established a Facebook account for Taya Neils. The information

laid out below are posts that Taya was introduced to or found over two days in November.

       142.     Taya listed her birthday as May 2, 2010, but provided no other biographical

information. See Figure 42.




    Figure 42

       143.     Based on only this information, Meta recommended accounts with sexually

suggestive images. One post Facebook recommended to her was from “Dj Adrie Yan Music


                                                71
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 76 of 259




Remix,” with a sexually explicit photo. As seen below, Dj Adre Yan posted a video to a list titled

“Lovely Girl.” See Figure 43.




Figure 43

       144.      Lovely Girl, with more than 119,000 followers, is a site for selling sexual videos.

See Figure 44.




                                                 72
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 77 of 259




Figure 44

       145.   Following DJ Adrie Yan to his Instagram account, the account promises “1000 girls

& movies every day.” See Figure 45.




                                             73
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 78 of 259




Figure 45

       146.    Following hashtags for 13-year olds (hash tags are search terms begun with “#” or

a hash sign that identify content on a specific topic, like #gymnasts), Taya was introduced to this

profile, with additional explicit photographs. See Figure 46.




                                                74
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 79 of 259




Figure 46

       147.    Another search led 13-year old Taya to a user described as a “Sadi*st” with “Teens”

and “Se*xual fun” in her profile. The post on her profile included explicit photographs and a sign

asking the viewer to “send a video of you c***ing with sound on.” See Figure 47.




                                               75
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 80 of 259




              Figure 47


       148.    Taya also searched “selfharm.” Despite Meta’s representations regarding its efforts

to address self-harm and suicide by teens, described below, this teenager easily reached images

showing self-cutting. Facebook provided a warning with the images, which allowed Taya to click

through to the content, but demonstrated that Facebook recognized what it was delivering to her.

See Figures 48-50.




                                               76
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 81 of 259




Figure 48




Figure 49




                                     77
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 82 of 259




Figure 50


       149.    Taya also conducted a search for “chicken soup,” which is widely understood,

because of its initials, to signify “child sex.” She was pointed to this account, which invites the

user to “Follow if you like little things”—a reference to sexual interest in children—with cheese

pizza emojis for child pornography. The account invites contact “for trade” (or trade in child sexual

images) and then shows pictures of young girls in bra tops. See Figure 51.




Figure 51




                                                 78
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 83 of 259




The caption under the user, “iammela_2010,” also described her as “CP Trade,” or selling child

pornography.

       150.    Among the other users recommended to Taya over her two days on her Facebook

account was “rhymess.tony_6,” whose profile invited the viewer to “*S*E*N*D” [pic], or send

pictures. See Figure 52.




Figure 52

       151.    Like other predators seeking children or selling content, rhymess.tony_6 appeared

to have multiple fake accounts, a red flag of potential trafficking. See Figure 53.




Figure 53


                                                 79
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 84 of 259




       152.    The account posted only infrequently, but was following numerous people,

including accounts that looked to belong to young girls. See Figure 54.




        Figure 54

       153.    At this point, Taya’s account was disabled by Facebook, but she was able to set up

a new account within five minutes, using the same name and date of birth but a different user name

and Google voice number; again, a strategy easily followed by an underage minor or a user

impersonating a child.

       154.    Demonstrating how easy it is for predators to connect with young children,

investigators also followed a post in a public comment board complaining that a Facebook user

had engaged in sextortion (when a sexual image is used to threaten or blackmail a victim into


                                               80
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 85 of 259




providing money or more sexual imagery) and distributed sexually explicit photographs of the

poster. That account was still active, and among its followers was “rbms.coupless.” Numerous

versions of this user name were following the Riverbend Elementary School and asking its

presumably child followers to “SEND PICS.” See Figure 55.




        Figure 55

        155.   Again, none of the posts, contacts or images described above were addressed by

Meta.


        vi.    Case Study 6: Sophia Keys

        156.   The State also established Facebook and Instagram accounts for a 12-year girl, a

12-year old boy, a 14-year old girl, and 14-year old boy, all living in New Mexico. The 14-year

old boy joined multiple teen dating groups on Facebook. Members of these groups were as young

as 11-years old, and Facebook required no verification of his age when he joined the groups,

creating an unchecked opportunity for adults to join, as well. Many of the groups had community

chats that allowed individuals of any age to join and communicate with minors.

        157.   Only a few of the teen dating groups that were joined were administered by actual

teenagers, while the majority were administered by adults. Many of the administrators show signs

of being fake accounts, with limited post histories, no profile pictures, and locations that do not

match the group's geographic area. Explicit content was openly shared in some of these groups.

                                                81
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 86 of 259




       158.    For example, one of the teen dating groups was named “10-18 years old.” Within

the group, adults posted pictures of minors in swimsuits or other revealing clothing. These adult

accounts belong to other Facebook groups, including Teenage Dance and Teen Models Plus. These

groups were tied to Facebook pages, such as Sweet Princess, Mujeres (women), and Bellezas +

(beauties) that push sexually explicit photos of children.

       159.    Within the dating groups, the 14-year old girl, whose account was in the name of

Sophia Keys, posted a picture with the caption “Hi Everyone!!      ,” An adult user responded in

Spanish and invited Sophia to message him privately. See Figure 56.




                                                 82
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 87 of 259




Figure 56

       160.    In the course of their Facebook messaging, Sophia told him that she was 14-years

old. He repeatedly requested photos of her and a phone number to reach her, and said he was 21,

but refused to provide a photo.

       161.    Sophia also joined a Facebook group for individuals seeking jobs in New Mexico.

She again was contacted by a group member who also asked for her phone number. He contacted

Sophia using a WhatsApp business account, introducing himself as the administrator of the group.

As shown in the WhatsApp chat in Figures 57-60, Sophia explained that she was trying to get into

                                              83
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 88 of 259




groups for under 18-year olds to make money. The user ultimately offered her $120,000 to

$180,000 (mask vs. no-mask) if she would have sex in a pornographic video. He explains that

there will be a screening that will involve giving her a lady to f***. When Sophia replied to ask if

she would get a bonus if her 15-year old friend joined her, the user agreed: “That’s what we dealt

for sure 100[%].” He also said that he accepts participants from the age of 10. The user has since

been sending sexually explicit videos to Sophia to show her how the “interview” will go. See

Figures 57-60.




Figure 57                                Figure 58




                                                84
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 89 of 259




 Figure 59                               Figure 60


       162.    Essentially, these Facebook dating groups for teens replicate Backpage, which was

shut down in 2018 after it was seized by federal prosecutors for facilitating prostitution. If the

group gets traction and is active—and providing sexually explicit content is an effective way of

doing that—then Facebook’s algorithm promotes the group to other teenage girls by

recommending its “Explore More Groups.” That is how Sophia ended up with many of her groups.



                                               85
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 90 of 259




These young girls are then easy marks for the adults who Facebook directs to these groups because

they search for, follow, and like the accounts and posts of young girls.

       163.    Sophia also posted a request in one teen dating group for recommendations of

“naughty messenger groups,” again indicating that she is 14-years old and looking to make money.

She then was contacted through Messenger by adult users who negotiated to buy naked pictures

of her or invited her to engage in sexual conduct on a video call. See Figures 61-62.




                                                86
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 91 of 259




                                 87
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 92 of 259




                                           Figure 61




                                           Figure 62


       164.   As with the previous case studies, despite the graphic CSAM and solicitations, not

a single post, account, or message was removed by Meta in the course of these interactions.

       165.   In addition to participating in the dating groups that were not even thinly veiled

grooming salons for CSEC, the investigator’s minor accounts searched for groups of children that

were blocked by Facebook. An example was a search for 12 year old p****, triggering a warning

about child sex abuse that shows that Facebook recognized its potential purpose. The same search

in Spanish triggered no warnings and provided a list of groups explicitly devoted to finding

children as young as 6-years old. See Figures 63-64.


                                               88
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 93 of 259




Figure 63




                                     89
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 94 of 259




Figure 64
       166.    A test was run with Instagram accounts, as well. The accounts for minors were

easily created with false birthdates but openly described their ages, including in hashtags and posts,

such as “#14andhot;” “body of a 14 year old with the soul of a 90 year old;” “#teenmodel;” and

“preteenlife.” The minors then conducted keyword searches for terms such as “young * girl,”

“gymnastics,” “teen,” and “bikini.” As a result of Instagram’s algorithm, these accounts were then

recommended to, followed and liked by, and commented on by a web of other accounts, including

hundreds of accounts, many likely using fake names, that shared and purchased child pornography.

The content Instagram recommended included an image of a naked child who appeared to be under

13-years old. The accounts frequently sent out Telegram links, presumably where transactions

                                                 90
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 95 of 259




could be consummated. Despite also searching for numerous terms associated with child

pornography, the accounts were never suspended or flagged with a warning from Instagram.

       167.    With the exception of Rosalind Cereceres, the fictional “bad mom” trafficking her

daughter, all of the graphic and illegal images shown and described above were available and/or

delivered to accounts of minors.

       168.    To gauge the pervasiveness of the CSAM content, over a one-week test,

investigators also scraped (or harvested and analyzed) the profile details and posts for three dozen

initial Instagram accounts that showed indications of posting or promoting CSAM content, which

mapped to linked seller accounts and additional hashtags. Rather than the retail account-by-

account connection described in the five case studies, scraping allows investigators to crawl across

all of the public sections of the platform to identify unlawful activity. The data analysis revealed

hundreds of accounts that advertise selling links to produced CSAM or that are posting or offering

personal content via private channels like direct messages. This review again confirmed systemic

deficiencies in Meta’s efforts to detect and address CSAM, despite its public representations

regarding its efforts and efficacy to address this illegal content.

       169.    For example, Instagram uses easily-evaded restrictions on hashtags. Even if a

specific term was blocked, Meta’s filters did not prevent a user from tagging their post or profile

with the hashtag to signal the availability of CSAM. In addition, searches for child pornography

that were blocked by Meta could be easily evaded by adding spaces, characters, or emojis to the

search terms. For instance, while Instagram blocked searches for cheese pizza emojis (which

yielded “no results at this time”), adding another emoji--            for “pizza links”--did not restrict




                                                  91
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 96 of 259




results. The phrase “pizza links” is used by a web of accounts that were readily findable through

searches and that offer CSAM.

       170.   Instagram permitted numerous other loopholes that facilitated grooming and the

widespread exchange of CSAM. Certain search terms associated with “aam” (or adult attracted

minors) did not return results on Instagram, but many, such as minorattracted,

minorattractedpeople, minorattraction, minorattractions, paedophiles, paedophiliac, paedophillia,

teensells, and various versions of “loli,” among other examples, returned dozens of results.

Investigators also found numerous hash tags with olderforyounger, pxdowhore, pxdobait, and

pxdomommies, p3dobait, and p3doslut associated with pedophilia.

       171.   In addition, many posts had both restricted and unrestricted hashtags, allowing

buyers and sellers of CSAM to easily find each other in the marketplace Instagram has created.

One Instagram seller provides a demonstration. Her biography explained: “I aam [adult attracted

minor] ‘18’ mDNI!!        She/her content seller [selling girls] Dm [message directly] to buy,

cashapp only [pay in cash] Buyers only.” The post caption text read: “Pls buy from me, my prices

are good and you won't regret it!!    .” And the hashtags listed under her profile included both

blocked and unblocked terms related to pedophilia, providing an easy roadmap for buyers (the

blocked terms are highlighted in yellow):

      #cartotwt #cartographytwt #gaktwt #kagtwt #gak #kag #mnsfwtwiw #mnsfwttwt #irlloli
#pxdobait #maptwt #mapsafe #aamkids #mapfriendly #loliaam #aam #aamtwit #aamseller
#aamslut #aamcommunity #sweettoothtwt #pxdobxit #babybluetwt
       172.   The sale of CSAM is open and brazen. Account after account on Instagram

transparently offered their merchandise. From Pizza_linksellerus: “All kinds available here 🍕;

Dm tg to buy now” (or direct message through Telgram); accepting “Crypto paypl giftcards cashpp
                                               92
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 97 of 259




venmo" for payment. Or another: “I have all categories links available 🧒👶🧑boys ,cp,

girls,mom and son 👍 all payment options available $€£.” Sellers invited potential buyers to reach

out to them for “menus” or teased their inventory in their bios by listing the age of the children in

the CSAM, such as “Lexi 12y run by aunt 🇺🇸🌈           .”

       173.    The State’s investigation was able to quickly identify and map hundreds of

Instagram users currently advertising the sale of CSAM, with roughly 450,000 followers between

them. One of the largest accounts was subsequently removed from Instagram but, in response to a

search for it, Instagram recommended an alternative account, which also sells CSAM.


   VII.    THE HARMFUL CONTENT ON META’S PLATFORMS REMAINS AND IS
           PROLIFERATED BY META’S ALGORITHMS

       174.    Reports have repeatedly identified Meta’s algorithms as the root of the problem. In

particular, news reports and other research have identified the following design or enforcement

flaws which permit human trafficking and CSAM to flourish on Meta’s platforms:

                   a. Meta’s algorithms promote commercial sexual activity and CSAM to its

                       users, including teenagers and children under the age of 13 who are

                       supposedly barred from the platforms but are permitted to gain easy entry

                       because Meta lacks any age verification mechanism;

                   b. Meta not only fails to verify the age of users when they sign up for accounts,

                       which would allow children to appear their age, younger, or even as adults

                       and would also allow adults to pretend to be children, but does not examine

                       even obvious signs that a user is underage;



                                                 93
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 98 of 259




          c. When Meta blocks search terms because they violate its Community

             Standards, Meta’s algorithms recommend alternative terms that predators

             use to circumvent Meta’s enforcement, and Meta does not monitor for these

             alternative terms;

          d. Meta fails to employ consistent safeguards across its platforms, which

             results in prohibited activity on one platform (Facebook, for example)

             flourishing on another platform (Instagram);

          e. Meta does not flag as suspicious interactions that begin on one platform and

             then migrate to another platform, such as conversations between minors and

             unconnected adults that begin on Facebook but then move to Meta’s

             WhatsApp or sexualized content or links that refer the user to WhatsApp,

             Venmo, or Telegram, for instance;

          f. Meta does not notify predators who post CSAM or other sexualized images

             or make inappropriate contacts with or comments to minors that their

             conduct violates community standards because the company does not want

             to run the risk of offending users. As a result, Meta forgoes the opportunity

             to let predators know that it is monitoring their activities, which would deter

             them from abusing the platforms;

          g. Meta does not generally suspend or bar accounts that are searching for

             CSAM or CSEC;

          h. User reports of potentially violative content, including commercial sexual

             activity and CSAM, are discouraged and do not reflect the kinds of abuses


                                       94
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 99 of 259




             children encounter or experience, and are often met with no response,

             delayed response, or, shockingly, a response indicating that material clearly

             violative of Meta’s Community Standards was not, in fact, a violation;

          i. Meta does not permit users or visitors to their platforms to report CSAM,

             CSEC or adult predator accounts without first logging in and viewing the

             material from their own accounts, thereby potentially triggering the

             algorithms to deliver more of the content they are reporting;

          j. Meta relies almost entirely on automated detection of CSAM or other

             violative or illicit content, which is inadequate both because it only

             identifies exact matches of images that have been previously flagged in a

             law enforcement database and because it becomes increasingly ineffective

             over time without new input from investigators or user reports on evolving

             activity and content;

          k. Meta’s limited blocking of CSAM and explicit images only addresses “part

             of the problem. For years, Facebook’s platform has been used to exploit

             children in a variety of ways, including grooming or recruiting children for

             sexual abuse,” which Meta fails to adequately address;

          l. Meta knew about the huge volume of inappropriate content being shared

             between adults and minors they do not know; a 2021 presentation estimated

             100,000 children per day received online sexual harassment, such as

             pictures of adult genitalia;




                                       95
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 100 of 259




                      m. As with images, Meta’s identification and blocking of terms associated with

                           trafficking and CSAM are too narrow and rigid, and easily evaded, and do

                           not adequately screen communications and terms in Spanish or other

                           languages;

                      n. Meta permits users to view violative content, even if it has flagged that

                           content with a warning indicating Meta’s awareness that the content is

                           potentially reflective of CSAM or human trafficking;

                      o. Despite representing that “[w]e do not allow content or activity that sexually

                           exploits or endangers children,”23 such content is rampant on Meta’s

                           platforms and Meta is aware that its “prevalence” metrics do not accurately

                           reflect this fact;

                      p.   Meta removes content that is reported and found to be violative of its

                           Community Standards, but it rarely takes action at the user or device level,

                           thereby permitting predators to continue their illegal activity. This is

                           particularly important as predators will seek to increase their success rate

                           (and carry out their trafficking) by reaching out to multiple children.

        175.     Despite, and contrary to, its representation that it maintained a safe space for

children, Meta failed to use technology that would have effectively identified child pornography

or to disabled accounts reopened by banned predators and CSAM sellers.




23
 https://transparency.fb.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/ (last visited
Nov. 29, 2023).

                                                        96
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 101 of 259




     VIII. HISTORIC NATURE OF META’S UPA VIOLATIONS DISCOVERED BY
           OTHER INVESTIGATIONS

        176.     This proliferation of CSAM and commercial sexual activity on Meta’s platforms

documented by the Attorney General’s Office is appalling and indefensible, but it is not new. Meta

has been investigated on these matters before and, despite this, it has failed to address its algorithms

and instead has maintained a steady course toward advancing its profits. A February 2016

investigation conducted by the British Broadcasting Corporation (“BBC”) found Facebook groups

catering to and collecting users “with a sexual interest in children,” including one being

administered by a convicted pedophile and registered sex offender. According to the BBC, “[t]he

groups have names that give a clear indication of their content and contain pornographic and highly

suggestive images, many purporting to be of children. They also have sexually explicit comments

posted by users. We found pages specialising in pictures of girls in school uniform - accompanied

by obscene posts.” In addition, “[i]n one secret group called "cute teen schoolies", we found a

picture of a girl in a vest, aged 10 or 11, accompanied by the words "yum yum". Facebook

responded that that post did not breach "community standards" and the image stayed up. “In other

secret groups we found pictures of children in highly sexualised poses. . . . They also did not breach

Facebook's community standards.” The BBC reported to the company a Facebook group “we love

schoolgirlz” with obscene content, which also was not removed. The Children's Commissioner for

England Anne Longfield said: "[A]ny parent or indeed child looking at those would know that

they were not acceptable."24




24
  https://www.bbc.com/news/uk-35521068 (last visited Nov. 29, 2023). 25 Jeff Horwitz & Katherine Blunt,
Instagram Connects Vast Pedophile Network, WALL ST. J.,June 7, 2023), https://www.wsj.com/articles/instagram-
vast-pedophile-network-4ab7189 (last visited Nov. 29, 2023).

                                                      97
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 102 of 259




       177.    One year later, the BBC revisited its investigation. It reported that information the

BBC—not Facebook—identified and provided to law enforcement led to one user being sent to

prison for four years. To test Facebook’s claim that it had improved its reporting system since its

original article, “the BBC used the report button to alert the company to 100 images which

appeared to break its guidelines.” They included:

          “pages explicitly for men with a sexual interest in children”
          “images of under-16s in highly sexualised poses, with obscene comments posted beside
           them”
          “groups with names such as ‘hot xxxx schoolgirls’ containing stolen images of real
           children”
          “an image that appeared to be a still from a video of child abuse, with a request below
           it to share ‘child pornography’”.
       178.    One included a post offering “CP” videos, well known as an acronym for child

pornography. And while Facebook’s policies bar providing accounts to convicted sex offenders

(and the Attorney General’s Office again found sex offender accounts on the platform), Facebook

failed to take down five accounts of convicted pedophiles reported by the BBC. Facebook

originally agreed to an interview if the BBC shared examples of the content it reported; when the

BBC provided the materials, Facebook cancelled the interview and only then reported the

content—and the BBC—to law enforcement.

       179.    Seven years after the BBC’s investigation was published, the sexual content and

child pornography observed by the BBC, and Meta’s refusal to address them, remain unchanged.

       2023 Wall Street Journal Investigation

       180.    Jeff Horwitz of the Wall Street Journal reported in June 2023 that “Instagram . . .

helps connect and promote a vast network of accounts openly devoted to the commission and



                                                98
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 103 of 259




purchase of underage-sex content.”25 As the article found, “Instagram doesn’t merely host these

activities. Its algorithms promote them. Instagram connects pedophiles and guides them to content

sellers via recommendation systems that excel at linking those who share niche interests.”26 The

article confirmed that “[e]ven glancing contact with an account in Instagram’s pedophile

community can trigger the platform to begin recommending that users join it.”27 These findings

are all consistent with the Attorney General’s investigation described above, including that

underage users need not even search for content on Facebook or Instagram before Meta’s algorithm

begins suggesting inappropriate content or nefarious Instagram users make unsolicited requests to

“connect.”

        181.     Moreover, the Journal reported that former Meta employees estimated there could

be “millions” of accounts on Meta’s platforms existing for the sole purpose of peddling CSAM or

related content.

        182.     The Journal’s investigation was consistent with the troubling results found by the

Attorney General in other respects, as well. For example, the Journal reported that “[t]est accounts

set up by researchers that viewed a single account in the network were immediately hit with

‘suggested for you’ recommendations of purported child-sex content sellers and buyers, as well as

accounts linking to off-platform content trading sites.”

        183.     As noted, safeguards present on Facebook (such as precluding contact between

minors and unconnected adults) are absent from Instagram. Further, on information and belief,




25
   Jeff Horwitz & Katherine Blunt, Instagram Connects Vast Pedophile Network, WALL ST. J.,June 7, 2023),
https://www.wsj.com/articles/instagram-vast-pedophile-network-4ab7189 (last visited Nov. 29, 2023).
26
   Id.
27
   Id.

                                                      99
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 104 of 259




Meta takes no steps to ascertain the conduct that crosses platforms or is directed to a different

platform by an internet predator. For example, the State observed during its investigation that

directing children to Meta’s WhatsApp messaging platform from Facebook was an indicator of

illicit activity, including solicitation and distribution of CSAM. However, Meta does not appear to

police such activity in the regular course of its business.

            Other Investigations and Reporting

            184.     The Stanford Cyber Policy Center performs research and other initiatives in order

to “address the most pressing cyber policy concerns.”28 One of its projects is an Internet

Observatory, which conducts research regarding Internet trends and usage. In 2023, the Internet

Observatory issued a report related to CSAM generated by users (self-generated or “SG-CSAM”)

found that “Instagram appears to have a particularly severe problem with commercial SG-CSAM

accounts.” According to the Stanford researchers, a prime reason that posting and distribution of

CSAM flourishes on Instagram is due to its “extremely efficient” algorithm, which operates as a

“recommendation system . . . suggesting similar accounts to follow.”

            185.     Likewise, a 2022 article appearing in Wired entitled “Facebook Has a Child

Predation Problem” further illustrates how the Facebook and Instagram algorithm encourages

rather than discourages CSEC. In that article, the author searched “for Facebook groups with

names including 10, 11, or 12,” which, in the author’s view, corresponded to wards in the city of

Pittsburgh. However, the results of the search identified groups overtly soliciting illicit

pornographic material from children. One post read: “Looking for a perverted girlfriend of 11.”




28
     https://cyber.fsi.stanford.edu/sciabout (last visited Nov. 29, 2023).

                                                             100
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 105 of 259




       186.    As the Wired author found, this group was not an outlier, but rather representative

of a vast underbelly of illicit and insidious content throughout Facebook. Searching “11, 12, 13”

on Facebook, the author found that “23 of the first 30 results were groups targeting children of

those ages,” with sexually suggestive words in the groups’ titles.

       187.    Because Facebook purportedly does not allow users younger than 13 to use its

service, these groups should not have flourished. However, the presence and pervasiveness of these

groups indicates that Facebook’s policies are mere pretext and that its platform is regularly used

by purportedly “underage” individuals.

       188.    Moreover, despite Facebook’s claims to be safeguarding its platforms, the author

found “it impossible to get the [pedophilia content] taken down.” The Wired author filed numerous

“user reports” to notify Facebook of the problematic content. Facebook reported to the author that

the group he uncovered did not violate its “community standards.” The author’s experiences are

consistent with the experience of the Attorney General’s investigators and information reported in

the press that groups or messages reported to Facebook are often not removed, either due to

inaction or because Facebook employs narrow and rigid “community standards” that (as described

below) in practice permit scores of illicit material to remain on its platforms.

       189.    To compound the problem, Facebook’s algorithm demonstrated the perniciousness

of the design of Facebook’s system. Even though the author had reported the group he located for

illicit conduct, Facebook’s algorithm began suggesting to the author “new child sexualization

groups . . . as ‘Groups You May Like.’”

       190.    The Wired author’s experience, like that of the Attorney General’s investigators,

demonstrates the flaws in Facebook’s design. Its algorithms can readily detect and recommend to


                                                101
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 106 of 259




users groups or users with attributes similar to those a user already selected, but that same

computing power does not identify illegal material appearing on the website, and, instead,

compounds the problem by directing users to additional illegal material that should have been

removed from the site in the first place.

          191.    Instagram is well aware that users on its site post, distribute and advertise CSAM.

When a user searches using known CSAM keywords, Instagram displays “an interstitial alerting

the user of potential CSAM content in the results.” That warning reads: “These results may

contain images of child sexual abuse. Child sexual abuse or viewing sexual imagery of children

can lead to imprisonment and other severe personal consequences. This abuse causes extreme harm

to children and searching and viewing such materials adds to that harm. To get confidential help

or learn how to report any content as inappropriate, visit our Help Center.”29

          192.    However, even though that warning acknowledges the illegality and harm

stemming from searches and displays of “child sexual abuse” imagery, Instagram nevertheless

permits users to view the material by including a link entitled “See results anyway” at the bottom

of the warning. A user who clicks on “See results anyway” is taken to the very content that

Instagram warns and knows is forbidden and/or harmful, thereby rendering its “warning” largely

ineffective.

          193.    Yet even these warnings are inadequate to address the prevalence of CSAM on

Meta’s platforms. Internal documents from Meta whistleblower Frances Haugen note that

“warning screens currently only cover ~20% of bad content – there is a lot of opportunity to

increase coverage of screens and better protect people on Facebook.”


29
     Stanford SG-CSAM Report.

                                                  102
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 107 of 259




        194.     The Journal investigation also found that “Instagram enabled people to search

explicit hashtags such as #pedowhore and #preteensex and connected them to accounts that used

the terms to advertise child-sex material for sale.” The accounts “often claim to be run by the

children themselves,” but are, in reality, run by adults peddling illicit material.

        195.     Moreover, as noted above, even when Meta does block illicit hashtags on its

platforms, it often does not block readily ascertainable variations on those hashtags. For instance,

while a certain word may be blocked in Instagram’s search function, the system will permit a

search to go through if the user adds an emoji after the blocked search term. Or, instead of

searching for “pedo,” predators may use the term “pxdo,” substituting an “x” for the “e” in the

word. Similarly, the Journal reported that an emoji of a map stood for “minor-attracted person”

and “function[ed] as a kind of code” for pedophilia.

        196.     In fact, Instagram’s algorithm actually suggests these types of alternative spellings

or iterations of illicit hashtags in its autofill feature. When searching for known blocked illicit

hashtags, “the platform’s autofill feature recommended that users try variations on the name with

the words ‘boys’ and ‘CP’ added to the end.”30 Even after alerting Meta to these issues, the

algorithm began suggesting new variations “within a few days.”31

        197.     A more recent story in the Wall Street Journal noted that, with respect to Reels in

particular, it had observed through its own test accounts that searching for and spending time on

sexualized content led to being provided with even more sexualized content. The article quotes

“[e]xperts on algorithmic recommendation systems,” who “said the Journal’s tests showed that


30
   Jeff Horwitz & Katherine Blunt, “Instagram Connects Vast Pedophile Network,” Wall St. J., June 7, 2023,
available at: https://www.wsj.com/articles/instagram-vast-pedophile-network-4ab7189 (last visited Dec. 2, 2023).
31
   Id.

                                                       103
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 108 of 259




while gymnastics might appear to be an innocuous topic, Meta’s behavioral tracking has discerned

that some Instagram users following preteen girls will want to engage with videos sexualizing

children, and then directs such content toward them.” One commenter explained: “‘Niche content

provides a much stronger signal than general interest content,’ said Jonathan Stray, senior scientist

for the Center for Human-Compatible Artificial Intelligence at the University of California,

Berkeley.”32

        198.     The article notes that the problem of algorithm-served, sexual content was known

to Meta. Meta conducted a review in connection with launching its Reels product, and the Journal

reports that Vaishnavi J, Meta’s former head of youth policy, described the safety review’s

recommendation as: “‘Either we ramp up our content detection capabilities, or we don’t

recommend any minor content,’ meaning any videos of children.”33

        199.     The Stanford report similarly found that “Instagram’s user suggestion

recommendation system also readily promotes other CSAM accounts to users viewing an account

in the network, allowing for account discovery without keyword searches.”

        200.     Nor does Meta adequately remove or block CSAM or other illicit content of which

it is aware. The State found that information taken down often reappears in a number of days.

Investigators have seen references to “Facebook jail,” referring to accounts that Meta flagged for

suspicious activity and suspended or blocked for a short period of time. Moreover, predators often

operate multiple accounts and advertise the alternate accounts in their profiles. Once one account

is taken down, the predator merely moves to its replacement and continues operating. The problem


32
   https://www.wsj.com/tech/meta-instagram-video-algorithm-children-adult-sexual-content-72874155 (last visited
Nov. 29, 2023).
33
   https://www.wsj.com/tech/meta-instagram-video-algorithm-children-adult-sexual-content-72874155 (last visited
Dec. 1, 2023).

                                                      104
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 109 of 259




is that Meta blocks only at the account level, and not at the user or device level. Thus, a predator

merely has to open a new account on the same device in the event that Meta actually identifies his

or her activity as illicit and puts in protections to block dissemination of the content.

       201.    Nor does Meta conduct any further search once a user is reported to identify and

suspend or shut down groups or users associated with the reported predator that traffic in CSAM

or facilitate human trafficking. A user reported for CSEC—especially a user who is the subject of

multiple reports—should be a red flag that its network may also be involved in CSAM and human

trafficking. Indeed, if Meta’s algorithms can identify and recommend users who traffic in CSAM

or alternative spellings of blocked hashtags, there would appear to be no reason why that material

could not be shared with Meta’s investigators.

       202.    Meta’s user reports are ill-suited to encouraging reporting of CSEC, especially by

children and on Instagram. Children, especially those who may have lied about their age to open

an account, may not want to risk being flagged themselves, may not recognize that conduct is

inappropriate or dangerous, or may be reluctant to report for fear that they did something wrong

themselves. Instagram has an option to report “nudity and sexuality,” but it is only after choosing

that option that a user is allowed to flag “sexual exploitation or solicitation.” Neither of these terms

would necessarily be familiar to young users, and sexual advances or the solicitation of CSAM is

not naturally suggested by the generic term “sexuality.” Instagram permits reporting an account,

but only a fake account or account of someone who is under 13 or “something else.” This does not

encourage reporting an account that is seeking or selling CSAM or connecting to minors.

       203.    The Canadian Centre for Child Protection (“C3P”) previously evaluated CSAM

reporting mechanisms on various platforms and found that Meta’s reporting vehicles on every


                                                 105
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 110 of 259




platform were inadequate. Facebook and Instagram, for example, did not allow users to report

problematic content within a post as CSAM.34 Facebook only allowed users to submit reports—

meaning that even the subject of CSAM or a parent could not report the content. Instead,

Facebook’s help center directed those without accounts to find someone to file a report. Also

problematic, Instagram did not permit reporting from a post or user’s account – reporters must

navigate to a separate report form and submit it. End-to-end encryption on WhatsApp limits the

platform’s ability to act on user reports and the deletion of reported chats prevents the user from

forwarding the chat to law enforcement.35 In addition, “[t]here is no way to report images or videos

sent within a [direct message] at all.”36 While Facebook Messenger has promised but not yet

moved to end-to-end encryption, Facebook Messenger created similar barriers to monitoring by

allowing users to turn on encryption using its “Secret Conversations” option.37 The report

concluded: “Without the ability to explicitly flag images or videos as CSAM, companies limit their

capacity to remove offending content quickly.”38

        204.     This is particularly problematic in a context in which Meta has repeatedly assured

its users and the public that all is well with regard to CSEC on its platforms. Given that children,

especially vulnerable children most likely to be susceptible to grooming, typically lack the insight

and confidence to identify and report inappropriate activity, telling them that there is no issue,

rather than encouraging them to be vigilant, arming them to recognize misconduct, and assuring




34
   Canadian Centre for Child Protection, Reviewing Child Sexual Abuse Material Reporting Functions on Popular
Platforms (2020), https://content.c3p.ca/pdfs/C3P_ReviewingCSAMMaterialReporting_en.pdf, at 10.
35
   Id. at 12.
36
   Id. at 17.
37
   Id.
38
   Id. at 26.

                                                     106
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 111 of 259




them that Meta wants to hear and will act on their concerns, chills reporting and makes it less likely

that Meta can detect and address unlawful and unwelcome content and conduct.

           205.     Internal Meta documents provided to the Journal indicate that, in order to cut costs,

Meta actually made it more difficult for users to report content in order to discourage such

reports.39 The internal documents reference an effort to “add thoughtful friction that reduces the

number of spurious user reports we receive,” but that same document acknowledges that “we may

have moved the needle too far on adding friction,” thereby preventing useful and important reports

from making their way to individuals tasked with reviewing such content.40

           206.     Meta knew that user reports undercounted harmful content and experiences on its

platforms, but nonetheless made it harder, not easier to report and act on this information. In

September 2021, Meta consultants, including Arturo Bejar (whose experiences are discussed

below), commissioned a study to evaluate user experiences on its platforms, called “BEEF” (an

acronym meaning Bad Experiences and Encounters Framework). The purpose of the study was to

“develop a holistic, consistent picture of user bad experiences on Instagram” and create a metric

that allow Meta to “track our progress” in eliminating those experiences. The BEEF survey

demonstrated that 51% of Instagram users had a bad or harmful experience on Instagram in the

last 7 days. Meta knew that only 1% of users reported the content or communication, and that only

2% of that user reported content is taken down. In other words, for every 10,000 users who have

bad experiences on the platform, 100 report and 2 get help. Consistent with its public statements,

a company that is both driven by data and genuinely committed to a product that is safe and good



39
     https://www.wsj.com/tech/Instagram-facebook-teens-harassment-safety-5d991be1 (last visited Nov. 30, 2023).
40
     https://s.wsj.net/public/resources/documents/metacostscontrols.pdf (last visited Nov. 30, 2023).

                                                        107
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 112 of 259




for children would have ensured that harmful content and interactions were reported and

addressed.

           207.     Meta not only made user reports more difficult but, as described below, also

dramatically cut its human investigators and content moderators, who are vital front lines in

detecting CSAM and trafficking. Also undermining Meta’s efforts to ensure that it would not allow

CSAM on its platforms, Meta’s rules were narrowly written so as to prohibit “only unambiguously

vile material.” Unacceptable, first-step grooming behaviors, including “adults . . . flooding the

comments section on a teenager’s posts with kiss emojis or” sending invites to “see more” in

private Facebook Messenger groups were not prohibited.41

           208.     Hany Farid, who developed PhotoDNA, which is used by Meta and other

technology companies to identify CSAM, was quoted to note that Meta could be taking more steps

to develop tools to “flag suspicious words and phrases . . . – including coded language around

grooming          . . . This is, fundamentally, not a technological problem, but one of corporate

priorities.”42

           209.     Arturo Bejar, who was Meta's Director of Engineering from 2009 to 2015 and then

a consultant from 2019 to 2021 and recently testified before Congress concerning Meta’s

problematic corporate conduct, confirmed that Meta’s internal and external reports touting the

results of their automated enforcement relied on “sleights of hand.” The automated enforcement

systems only captured information that Meta actually removed, not the majority of problematic

content appearing on the platforms. Moreover, user reports and internal investigators are critical



41
     https://www.wsj.com/tech/Instagram-facebook-teens-harassment-safety-5d991be1 (last visited Nov. 30, 2023).
42
     Guardian at 9.

                                                        108
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 113 of 259




to ensure that Meta’s automated detection are effective in incorporating and addressing the current

shape and pattern of problematic activity on its platforms.

             210.   Bejar’s testimony made explicitly clear that Meta’s public representations that

CSAM and illicit content are rarely present on its platforms were unfounded and untruthful.

             211.   The combination of narrow automated detection, which fail to detect and remove a

huge volume of CSAM, and Meta’s algorithms, which amplify and connect users to unaddressed

CSAM, combine to produce the explosion of CSEC found by the Attorney General and reported

by other observers.

       IX.      META HAS LONG BEEN ON NOTICE OF, BUT FAILED TO ADDRESS,
                COMMERICAL SEXUAL EXPLOITATION AND TRAFFICKING OF
                CHILDREN THROUGH SOCIAL MEDIA AND ITS PLATFORMS
                SPECIFICALLY

             212.   Facebook has repeatedly and forcefully–but deceptively–misrepresented that it

does not permit human trafficking, CSAM or CSEC on its platforms. As noted below, Defendant

Zuckerberg personally stated in a Facebook post: “It’s very important to me that everything we

build is safe and good for kids.” Responding to an article in the Guardian, “How Facebook and

Instagram became marketplaces for child sex trafficking,” which was published in 2023, a Meta

spokesperson promised: “The exploitation of children is a horrific crime – we don’t allow it and

we work aggressively to fight it on and off our platforms.”43

             213.   Meta has long been aware of the risk–and fact–of child grooming and trafficking,

CSAM, and other sexual exploitation and exposure of children on its platforms, through the

explosive news articles (and others) described in this Complaint and through publicly available



43
     https://www.facebook.com/zuck/posts/10113961365418581 (last visited Nov. 30, 2023).

                                                       109
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 114 of 259




reports. As laid out below, Meta’s own internal documents reveal that the company recognized

that these issues were neither theoretical nor anecdotal—that trafficking, CSAM, CSEC, and other

illicit activities were serious, ongoing, and systemic problems not adequately addressed by current

measures. But Meta nonetheless chose not to take steps to prevent further harm to its young users

or to honestly disclose to them or the public what it knew what happening to them.

       214.    Facebook was aware, as of at least 2018, that there were millions of predators on

the platform grooming tens of millions of children. Facebook employees presented senior

executives with an analysis based on an internal investigation that revealed that predators were

being introduced to children through Facebook design feature People You May Know (“PYMK”).

Through PYMK, predators searching for a particular kind of children (e.g., gymnasts or children

in their geographic area), Facebook would recommend and then allow them to connect to other

similar children. Because of the way in which Facebook designed PYMK, and knowingly allowed

it to continue to operate, PYMK served as a virtual victim identification service, identifying

children that pedophiles could not have found on their own. Despite evidence of the link, and in

order not to impair growth, Facebook rejected as the recommendation of its Community Integrity

team that Facebook adjust the design of PYMK to avoid recommending minors to adults.

Facebook also rejected the recommendation that it prevent adults from direct messaging minors -

- a key channel for adults connecting with potential child victims -- unless minors initiated the

contact.

       215.    Meta knew that adults soliciting minors was a problem on the platform, and was

willing to treat it as an urgent problem when it had to. One internal document shows Meta

scrambling in 2020 to address an Apple executive whose 12-year old was solicited on the platform,


                                               110
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 115 of 259




noting “this is the kind of thing that pisses Apple off to the extent of threating to remove us from

the App Store,” asking whether there was a timeline for when “we’ll stop adults from messaging

minors on IG Direct,” and noting that if they did not address other accounts with “sugardaddy,”

“they will reply with 100 more accounts if we’re not able to take these down.”

           216.      Meta knew that its claims regarding children’s safety and the prevalence of child

sexual exploitation on its platforms were untrue. In one 2021 exchange, Facebook employees

discussed




           217.      A 2018 Polaris study confirms that human trafficking often originates on social

media “with the trafficker and potential victim building a relationship,” through interactions

unique to social media, such as “commenting on potential victims’ photos and sending direct

messages.” Indeed, 26% of the participants in a survey of trafficking survivors confirmed that

“their trafficker exploited them via their own personal social media accounts.”44

           218.      The 2022 Federal Human Trafficking Report (“FHTR”) identified the internet as

the most common pipeline for recruiting victims of trafficking, which has been the case for 23

years. Focusing on the specific platforms most frequently used to engage in sex trafficking, the


44
     Polaris Report at 22.

                                                    111
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 116 of 259




FHTR reported that Facebook, both on its own and together with Instagram, were the platforms

most frequently used for recruiting victims of human trafficking between 2019 and 2022, nearly

double all of the other platforms put together.45




        219.     Though Facebook says it doesn’t tolerate child exploitation on its platform, another

analysis by the Tech Transparency Project (“TTP”) of federal criminal cases “show[s] pedophiles

have inundated the social network for years.”46 In its review of U.S. Department of Justice press

releases between January 2013 to December 2019, TTP found 366 federal criminal cases that

involved the use of Facebook for child exploitation, “including distributing sexual abuse images,

recruiting children and sex trafficking.”47 Child exploitation cases involving Facebook grew from

10 per quarter in 2013 to 23 per quarter in 2019.48 Nearly half of those cases involved CSAM, and




45
   Human Trafficking Institute 2022, Federal Human Trafficking Report, pp. 4‐33. Available from:
https://traffickinginstitute.org/wp‐content/uploads/2022/09/2021‐Federal‐Human‐Trafficking‐Report‐WEB‐1.pdf.
[13 March 2023].
46
   https://techtransparencyproject.cdn.prismic.io/techtransparencyproject/38e39f6d-001d-466b-b9c0-
b96eb5e57de9_Facebook-Child-Exploitation.pdf at 2.
47
   Id. at 2.
48
   Id.

                                                     112
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 117 of 259




41% communicating with or grooming children.49 These statistics “represent the tip of the iceberg

of a far larger problem” and do not count all federal investigations or violations of state law.50

        220.     But “[o]nly 9% of the cases were initiated because Facebook or the National Center

for Missing and Exploited Children (which receives tips of potential child trafficking or abuse,

including from social media platforms and conveys them to law enforcement) reported them to

authorities, raising questions about the effectiveness of Facebook’s monitoring of criminal activity

targeting children.”51 Rather than cooperation from Meta, “officials said they relied on information

from the public, leads from other investigations or sting operations to identify suspects.”52 A

NCMEC spokesperson also offered that “if social media companies are not reporting child sex

trafficking, it allows this crime to thrive online. Reporting trafficking . . . is crucial for rescuing

victims and punishing offenders.”53

        221.     High profile cases filed in 2018 against Facebook and Instagram in Texas, which

ultimately landed in the state and U.S. supreme courts, described in detail the manner in which

young teenage girls were trafficked on Facebook. One case involved a 15-year old girl friended by

a Facebook user whose profile featured photographs of “‘scantily-clad young women in sexual

positions’ with money stuffed in their mouths, as well as ‘other deeply troubling content.’”54 The

adult user contacted the girl through Facebook’s “messaging system,” telling her that she was

“‘pretty enough to be a model’ and promising to help her pursue a modeling career.”55 The girl



49
   Id. at 7.
50
   Id. at 3.
51
   Id.
52
   Id. at 2.
53
   Guardian at 7-8.
54
   In re Facebook, Inc., 625 S.W.3d 80, 84 (Tex. 2021).
55
   Id.

                                                          113
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 118 of 259




ultimately agreed to meet him and was forced instead into commercial sex, raped, and beaten.56 A

second case consolidated in the same appeal was that of a 14-year old girl who was contacted

through Instagram by an adult male who trafficked her for prostitution on Instagram.57 Even after

she was rescued, the traffickers used the girl’s profile to lure other young girls.58 The girl’s mother

reported the activities to Facebook, which never responded.59 The third matter related to another

14-year old girl, who accurately identified her age on her Instagram account, which was not

required to be linked to a parent account, and was friended by an adult stranger who persuaded her

to meet him.60 She, too, was offered for sale and raped repeatedly by men who responded to online

ads.61 Each of these cases demonstrated systemic failures by Meta that still exist and originated

with conduct like that documented in this Complaint.

         222.      Meta doubled down on its unwillingness to address child sexual exploitation,

announcing within days of the State’s filing that it would now encrypt messages on Facebook

Messenger. Rather than honestly describing the problem of child sexual exploitation on Facebook

or addressing the design features that it knew were facilitating the problem, and despite its

awareness of the problem, Facebook chose instead to cut off its ability to detect grooming,

solicitation, and CSAM exchanges carried out through Facebook messages. Meta took this step

despite awareness from WhatsApp that encryption created a dangerous blind spot in its detection

and reporting of criminal activity.




56
   Id.
57
   Id.
58
   Id.
59
   Id.
60
   Id. at 84-85.
61
   Id.

                                                 114
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 119 of 259




       223.    Other platforms that encrypt messages do not also allow users to identify and

message with strangers, including children. According to a recent article in the Wall Street Journal,

which quoted Vaishnavi J, Meta’s former head of youth policy, Facebook rejected a

recommendation to exclude children’s accounts from encryption “to avoid potential liability for

what happened to teenagers on its platforms and because it would require staff to continue to spend

time and resources dealing with problematic behavior.” She continued: “no other company is

melding recommendations with encrypted messaging. A 2019 internal Facebook post by Guy

Rosen, who now serves as Meta’s Chief Information Security Officer, reported that agreed with

employees’ safety concerns and “voiced them loudly.” Meta’s response, that it had removed

160,000 accounts since 2020, pales in comparison to the size of the problem.

       224.    With encryption, Meta has shifted the burden exclusively to child victims, and those

most vulnerable to sexual exploitation, to proactively identify conduct that they may not recognize

as sexual exploitation or that they may feel ashamed, afraid, or powerless to report. Among other

examples cited in the Wall Street Journal article was a 17-year old who committed suicide after

extortioners threated to reveal a nude photo that they had tricked him into sending unless he paid

$1,000. Through unencrypted messages accessible to Facebook, law enforcement were able to

access messages sent to him and more than 100 other victims and extradite and charge individuals.

Said the young man’s mother, “Encrypting messages on Instagram will create a breeding ground

for people who can have access to our children thinking that ‘I’m never going to get caught.’”

       225.    Forums on the dark web devoted to child sex abuse –which are equally available to

Meta – show open conversations about the role of Instagram’s and Facebook’s algorithms in

delivering children to predators. Predators discuss leveraging Instagram to search, like, and


                                                115
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 120 of 259




comment on images of children in order to get the algorithm to funnel similar images, videos, and

accounts to their feeds, to identify groups of pedophiles and children, and to connect with potential

child victims. Predators also note that they prefer Instagram to identify children not only because

its focus on images and videos allows them to assess targets, but because of the ease of interacting

with children and the prevalence of public accounts for teenagers.

       226.    One participant advised: “So on Instagram if you just search for young Latinas, or

whatever your preference is you will obviously come across videos of young girls. The more you

watch of the young girls and like their videos, your reel algorithm changes and I have been getting

nothing but young girls dancing, lifting their loose fitting clothes and booty shorts or dresses.

Mostly NN [non-nude] but have seen a good amount of SN [semi-nude].” Similarly, one

participant in a dark web forum noted: “Instagram, here it is about algorithm until you find what

you want or they tell you what private account to search for and follow. It’s all about reels as well.

Constantly watch the ones of cute, young teasing NN/SN [non-nude/semi-nude] girls that dance

and shake for viewers. The more you like, the more it shows the same thing. Crazy right? The

more LG [little girl] reels and posts you like, the more appear.” Another remarked: “Instagram

has become a primary outlet for me lately, no question. My feed [of content recommended by the

algorithm] has gotten so bad I can’t look at it in public.” Predators also exchange information on

CSAM links.

       227.    Predators also openly discussed direct messaging children. One participant wrote

for advice: “A girl of about 10 yo [years old] followed me on Instagram. I have followed her

back. She is really nice but lives far away. I’m thinking about sending her a DM to say she is nice

and I like her. Do you think I’m getting in trouble.” Meta’s policy of allowing adults to direct


                                                 116
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 121 of 259




message children who make the mistake of following them would permit just this type of troubling

and dangerous connection. Another offered this guidance: “You need to use Facebook or Twitter

or Instagram is better, you know, put 50 likes and there is already a reason to talk. Besides, you

see how the baby reacts! On Instagram it is very easy to just ask for a couple of intimate photos

and then send your own and if you like each other go to a meeting in a cozy place.” Another user

offered a list of tips on grooming children for nude images or videochat games.

            228.     Comments on the dark web noted Instagram’s laxness on child sexual exploitation

and its financial interest in popular sites. For example: “Instagram isn’t cracking down and let’s

face it. It’s all about money. These girls are bringing in money for themselves, their families, and

Instagram!! Many of them have separate websites, which you can subscribe to. This is not a new

thing.”

       X.       META PROFITS FROM THE ALL-TOO-COMMON DISTRIBUTION AND
                SOLICITATION OF CSAM

            229.     Distribution of CSAM and non-consensual intimate imagery (or “NCII”) is a

known key aspect of human trafficking. Predators insinuate their way into private groups by

“friending” one member with a public profile and then work their way through that person’s friends

looking for new targets to victimize. Predators seek to gain the trust of their newfound “friends”

and convince them to send naked pictures. Children and adolescents are especially vulnerable to

these advances. Human traffickers are known to use threats to distribute such material as a method

of controlling their victims, consistent with cases described above.62




62
     Polaris Report at 25.

                                                   117
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 122 of 259




          230.    Dr. Lisa Strohman is a clinical psychologist and founder of the Digital Citizen

Academy, one of the first organizations to address issues of technology addiction and overuse. She

specializes in treating children who have been victimized by social media, and, in her experience,

illicit material on social media websites is widespread. Dr. Strohman estimates 80-85% of her

teenage patients have been exposed to some form of CSAM, grooming, or sextortion on social

media platforms, with Instagram being the worst of the platforms.

          231.    Absent appropriate vigilance, such material is freely shared among users, including

individuals under the age of 18. A 2023 Stanford report concerning exchange of “self-generated

child sexual abuse material” found that “Instagram is currently the most important platform for

these networks” and that “Instagram’s recommendation algorithms are a key reason for the

platform’s effectiveness in advertising” self-generated child sexual abuse material.63 That same

report noted that, in stark contrast to Instagram, the researchers did not find similar material on

“OnlyFans,” an adult-oriented website featuring sexual content that “has strict age verification and

rules against the use of its platform by minors.”64

          232.    Facebook has known for many years that adults on the platform are masquerading

as children and that children under 13-years old likewise were pretending to be older. Indeed,

Facebook could accurately assess the estimated age of its users yet choose to use their stated age

in implementing its features – knowingly allowing adults to interact as peers with underage

children and underage children to freely access its platforms, despite Facebook’s public promises

that it kept these young children off its platforms.



63
     Stanford SG-CSAM Report.
64
     Stanford SG-CSAM Report.

                                                  118
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 123 of 259




        233.   Unlike OnlyFans, Meta has chosen to employ no age verification technology when

users sign up for accounts. Its platforms lack this basic infrastructure even though Meta has been

aware for years that children, including children under the age of 13, register for its platform by

lying about their real age. A May 2018 presentation to Meta’s Audit Committee confirms this fact:

“[W]hile user-provided data indicates a decline in usage among younger users, this age data is

unavailable because a disproportionate number of our younger users register with an inaccurate

age.”

        234.   Two years later, a January 2020 presentation entitled “Succeeding in US

Messaging” demonstrated both the depth of Meta’s knowledge regarding usage of Messenger by

children and its ambitions to leverage that usage to further entice younger generations to use its

products. One of Meta’s “End Game” goals was to “[b]ecome the primary kid messaging app in

the US by 2022.” The document confirmed that “[i]n the US,” “Messenger is popular . . . with

Kids (13% primacy, US 6-10).” Meta’s knowledge that its platforms were used by and “popular

with” children as young as 6-years old makes its failures to protect minors against CSAM and

solicitation all the more egregious.

        235.   By August 2020, so many potentially underage individuals opened accounts on

Meta’s platforms that Meta established an “Underage Enforcement War Room” in order to keep

up with a growing backlog of more than 1,160,000 accounts requiring review. The backlog existed

because of “lack of monitoring in this space due to it being a lower priority area,” as well as

personnel changes during the COVID lockdown. As noted below, the backlog only increased in

following years.




                                               119
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 124 of 259




       236.    Automated procedures reduced the “enforcement backlog” to “only” 700,000

potentially under-13 users. However, a November 2020 internal presentation cited “poor cross app

enforcement” with respect to identifying underage accounts and noted that Meta’s “Age models”

were “Not very accurate, not globally resilient and not globally operational” and also had

“uniquely poor efficacy on IG:”




       237.    Faced with this backlog, Instagram head Adam Mosseri proposed




                                                                     However, it is notable that

Instagram was not only aware that users under 13 were lying about their age to gain access to the

platform, but that Meta executives believed the answer to this solution was to “upsell” the service

as opposed to instituting stricter registration procedures.

                                                 120
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 125 of 259




       238.      In January 2021, Meta acknowledged (internally) the danger of relying on a user’s

stated age, noting that “[s]tated age only identifies 47% of minors on [Instagram]. The majority of

minors lie when stating their age.” Moreover, “99% of disabled groomers do not state their age .

. . The lack of stated age is strongly correlated to IIC [inappropriate interactions with children]

violators.”

       239.      The “backlog” of enforcement actions against under 13 users only got worse over

the years. By March 2021, internal Meta documents reported that at least 2.5 million accounts

flagged as potential underage users were awaiting review. The backlog existed, in part, due to

Meta’s refusal to appropriate sufficient resources (as well as its failure to institute appropriate age

verification measures at sign up). A presentation entitled “Integrity Update” reported that the group

was awaiting approval to “increase our supply of human reviewers to burn down the backlog.”

That the backlog extended to 2.5 million accounts and approval for more resources was not

forthcoming serves as further proof that Meta valued profits over illegal use of its platform by

underage children.

       240.      The lack of sufficient age verification mechanisms is even more troubling given the

findings of the Stanford Cyber Policy Center that distribution of self-generated CSAM proliferates

on Instagram. The Stanford report found “405 accounts advertising the sale of self-generated

CSAM on Instagram” and numerous “probable content buyers” who operated using their own

names. After these accounts were reported to authorities, “hundreds of new SG-CSAM accounts

were created, recreated or activated on” Instagram, and “linked to the network” by hashtags or

other content.




                                                 121
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 126 of 259




          241.    Indeed, according to the Stanford report, merely “limiting” accounts trafficking in

self-generated CSAM did little to stem the tide of illicit material on social media platforms.

Following such actions, “sellers either switch to a backup (often previously noted on their main

profile) or make a new account, which is then promoted in Instagram Stories . . . by other accounts

in the network to help it regain lost followers.”65

          242.    Dr. Strohman has had similar experiences with reporting illicit activity to social

media operators, including Meta. In her experience, most content is not taken down after being

reported and Dr. Strohman herself has reported numerous users or posts to Meta and never received

any response. She has also reported groups that list “children” who are to be sold. If the sites direct

users to a WhatsApp number, in her experience, that is a clear red flag of illicit activity.

          243.    The State, upon information and belief, understands that Meta profits from the

human trafficking, CSAM and CSEC activity appearing on its platforms. One undated internal

document openly acknowledged that Meta faced “reputational risk” from “accrued ad revenues

associated with HT [Human Trafficking]”:




65
     Stanford SG-CSAM Report at 6.

                                                  122
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 127 of 259




       244.    Another document dated in or about 2020 acknowledged that Meta received profits

attributable to human trafficking: “We know we don’t want to accept/profit from human

exploitation. How do we want to calculate these numbers and what do we want to do with this

money (i.e. from ad spend)?”

       245.    But Meta also profits in other ways from human trafficking content and

distribution/solicitation of CSAM or CSEC on its platforms. The predators who distribute or solicit

this content are users nonetheless, and thus potential targets for advertisers. As Meta warned in its

financial statements, if these users were to leave Meta’s platforms or were to become less engaged,

that could result in reduced revenue for the company from advertising sales. Moreover, users can

purchase “stars” or other “gifts” from Meta that can be awarded to other users. Nothing prevents

such “gifts” from being awarded to or from sexual predators. Thus, while Meta publicly positions

itself as vigilant against this type of content, the findings noted above and discussed herein indicate

that Meta has placed profits before safety in its enforcement efforts.


                                                 123
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 128 of 259




     XI.      CHILDREN IN NEW MEXICO HAVE FALLEN VICTIM TO DISTRIBUTION
              AND SOLICITATION OF CSAM OR CSEC ON META’S PLATFORMS

           246.   New Mexico’s children have been trafficked and sexually exploited through Meta’s

platforms. The New Mexico Human Trafficking Task Force has observed that “[t]raffickers hit

social networks to recruit underage girls to engage in commercial sex” and “searched Facebook

for attractive young girls, and sent them messages telling them that they were pretty and asking if

they would like to make some money.”66

           247.   Cases dating back more than a decade and continuing through this year, involve

children in New Mexico who were contacted, groomed, and lured into sending explicit

photographs or meeting predators through Facebook or Instagram. These include a 17-year old girl

who was contacted after posting a notification on Facebook seeking a job (consistent with conduct

the Attorney General’s investigation again encountered). After false promises, the trafficker

pressed her into commercial sex and tried to sell her as a “sex slave.”67 Police pulled over an adult

male with six children in his car, including a 13-year old girl he met through social media,

communicated with through Snapchat and Instagram, and raped repeatedly.68 Another child

predator recruited young girls by starting conversations via Facebook and then migrating the

conversations to text messages and Snapchat. He reached more than 100 victims, including in New




66
   New Mexico Human Trafficking Task Force, Human Trafficking in New Mexico, Presentation For: Courts and
Corrections Justice Committee,
https://www.nmlegis.gov/handouts/CCJ%20101617%20Item%205%20Human%20Trafficking%20in%20New%20
Mexico.pdf
67
   https://www.koat.com/article/police-man-tried-to-sell-teen-into-sex-slavery/5037710 (last visited Dec. 1, 2023).
68
   Germania Rodriguez Poleo, Shocking moment ‘child rapist’ is found with six children in his car and his pants
unbuttoned after being pulled over while drink driving – before saying the kids are ‘just my friends’, DailyMail.com
(June 28, 2023), https://www.dailymail.co.uk/news/article-12242713/Moment-child-rapist-six-children-car-pulled-
over.html.

                                                        124
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 129 of 259




Mexico, pretending to be an 18- or 19-year old high school student and then meeting them at malls

or picking them up at school.69 Tragically, there are other stories like these.

        248.     A complaint pending in multidistrict litigation against Meta and other social media

platforms, tells the story of one New Mexico teen, L.K, from Rio Rancho, New Mexico.70

According to the complaint, L.K. began using social media, including Instagram, when she was

around 9- or 10-years old. Her use of social media became compulsive, late into the night, and her

performance at school began to suffer. Her parents frequently took away her phone. Over time,

L.K. developed depression, anxiety, eating disorders, and isolation. During high school, L.K. was

induced to send sexually explicit pictures to two individuals through Snapchat. They used threats

of distributing the photographs to force L.K. to engage in sex. Despondent, L.K. died by suicide

at age 17.

        249.     Human trafficking has had a particularly profound impact on Native communities

in New Mexico. Native Americans are estimated to represent nearly one-fourth of trafficking

victims, more than double their share of the state’s population.71 The Coalition to Stop Violence

Against Native Women lists social media as one of the venues through which sex trafficking

occurs, including through Facebook.72 As far back as 2018, a Navajo Nation leader acknowledged

the role played by social media: “Our Navajo children are being picked up through social media

and trafficked at truck stops or other areas across the United States.”73


69
   Anthony Cotton, “Suspect Trolls Facebook for girls,” Denver Post, June 26, 2015.
70
   Youngers v. Meta Platforms Inc., et al., 1:22-cv-00608-KWR-LF, filed 8/15/22.
71
   Stolen and Erased / Navajo Girl Exploited, Sex Trafficked for Years, Rio Grande SUN, 01/02/2020.
72
   https://csvanw.org/wp-content/uploads/2019/03/TLS_STTC_Flyer-F.pdf.
73
   23rd Navajo Nation Council, “Navajo Nation branches stand in solidarity to end human trafficking,” Jan. 26, 2018,
available at: https://www.navajonationcouncil.org/wp-
content/uploads/2020/09/Navajo_Nation_branches_stand_in_solidarity_to_end_human_trafficking.pdf (last visited
Dec. 2, 2023).

                                                       125
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 130 of 259




        250.    One publicly reported case illustrates that trajectory. Eva was given an iPhone for

her 12th birthday to help keep her safe when she was home alone. In 2015, when she was just 13,

a man messaged her on Facebook claiming to know her from school. He complimented her

appearance and eventually persuaded her to send him sexually explicit photographs and then to

meet him. He recorded Eva performing oral sex and having intercourse with him and, as with L.K.,

threatened to publish the photos and videos on Facebook if she said anything. He brought in other

men who forced her to have sex with them, too. Eva ultimately made it to a safe house and broke

free of her trafficker. In 2019, while in the 10th grade, she confided in a reporter: “I want to make

it not real. But I was living there. And sometimes, I’m still living there.”74

        251.    The trauma experienced by children who are subjected to commercial sexual

activity is self-evident and inarguable. Studies have examined the profound, life-long impact that

publication of CSAM and other sexual images alone has on its victims.75

        252.    Victims of CSAM suffer the initial crime, are retraumatized each time the CSAM

is republished, and live in fear that they will be recognized from the images and often in silence

and shame because of threats or fear that reporting will cause images of them to be further

distributed. According to one CSAM survivor: “It’s hard to describe what it feels like to know that

at any given moment someone somewhere is looking at images of me as a child being sexually




74
  https://searchlightnm.org/stolen-and-erased/ (last visited Dec. 1, 2023).
75
  Cites in this paragraph + ECPAT International (2018), Towards a Global Indicator on Unidentified Victims in
Child Sexual Exploitation Material, citing Nyman, A (2008) “Abused Online,” Svedin and Back (1996), “Children
who don’t speak out”; Loof (2005), “Global Issues and Regional Co-operation in Fighting Child Exploitation”);
Brennan and Phippen (2018), “Youth-Involved Sexual Imagery;” Cooper (2012), “The impact on children who have
been victims of child pornography;” Gewirtz-Meydan, Ateret, Yael Lahav, Wendy Walsh, and David Finkelhor.
“Psychopathology among Adult Survivors of Child Pornography.” Child Abuse & Neglect 98 (December 1, 2019):
104189. https://doi.org/10.1016/j.chiabu.2019.104189 (last visited Dec. 1, 2023).

                                                    126
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 131 of 259




abused and getting sick gratification from it. It’s like I’m being abused over and over and over

again.”76 In the words of another:

        I was a victim, but now a survivor of child sexual abuse and sexual abuse imagery that has
traveled the world via the internet. Abuse that began when I was an infant until I was 4 years old.
I was abused by my ex-father and one of his friends. The imagery of me is still being shared on
the internet. To date, I have received over 35,000 notifications from the U.S. DOJ regarding those
who are in receipt of my abusive images. It’s not fair. No child should have to endure the pain, the
hardships, the loss of innocence or a normal life because of the hands of an abuser and those who
take pleasure from the suffering of children.”77

        253.    In other studies, CSAM survivors describe feeling ashamed, guilty, humiliated, and

“haunted,” worried not only about who would see the images but that people would think they

were willing participants.78 A survey of survivors conducted by the Canadian Centre for Child

Protection in 2017 found that “[n]early 70% of respondents indicated that they worry constantly

about being recognized by someone who has seen images of their abuse.” Fifty-six percent of

those who participated in the survey were between the ages of 0 to 4 when the abuse started, and

two-thirds reported being threatened with physical harm if they didn’t comply with abuser’s wishes

or if they told someone about the abuse.79

        254.    A recent Washington Post article chronicled the stories of teenagers subject to

sextortion on social media online, which sounded similar themes. According to the executive

director of the Exploited Children Division at NCMEC, the number of sextortion cases “has

exploded in the past couple of years.” The article reports that the Center received more than 10,000

tips of financial sextortion of minors, primarily boys, in 2022, and received more than 12,500


76
   https://www.protectchildren.ca/en/(last visited Dec. 1, 2023).
77
   https://content.c3p.ca/pdfs/C3P_ReviewingCSAMMaterialReporting_en.pdf, at 26(last visited Dec. 1, 2023).
78
   Gewirtz-Meydan, Ateret, Wendy Walsh, Janis Wolak, and David Finkelhor. “The Complex Experience of Child
Pornography Survivors.” Child Abuse & Neglect 80 (June 1, 2018): 238–48.
79
   Canadian Centre for Child Protection, Survivors’ Survey: Executive Summary 2017 (2017),
https://protectchildren.ca/pdfs/C3P_SurvivorsSurveyExecutiveSummary2017_en.pdf(last visited Dec. 1, 2023).

                                                    127
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 132 of 259




reports through July of this year. Sextortion has devastating effects on its underage victims. The

Washington Post report cited at least a dozen suicides by teenage boys in 2022 due to sextortion.

Each of the victims interviewed in the article met their scammer over the internet on social media

platforms.80

        255.     While Meta promised to safeguard the health and safety of children on its platforms

(and to keep the youngest users offline), at every turn, it made decisions that put its own profits

ahead of their well-being. Too many children in New Mexico, from L.K., to Eva, to the fictional

profiles whose experiences online stood in for the experiences of real New Mexico children, have

been casualties of Meta’s choices. Despite the reports, criminal cases, and news articles described

above, including evidence that Meta’s platforms were and continued to be used to engage in human

trafficking, Meta failed to take adequate measures to address and disclose human trafficking on its

platforms.

     XII.    META WAS, AND IS, AWARE THAT ITS PLATFORMS ARE BEING USED
             TO TARGET, GROOM, SEXUALLY EXPLOIT AND TRAFFIC CHILDREN

        256.     Internal documents demonstrate that Meta has been aware for years that underage

users regularly use its platforms, including Facebook and Instagram, and that both Facebook and

Instagram were being used to target, groom, sexually exploit and traffic children. It further was

aware that certain features of its platforms, including the algorithm, actively encouraged this

conduct and recommended it to children and to users with nefarious motives. Yet despite this

knowledge, Meta failed to take steps to improve the design of its products and illicit activities on

Facebook continue to flourish to this day.


80
  Chris Moody, “‘IDK what to do’: Thousands of teen boys are being extorted in sexting scams,” Washington Post
(Oct. 2, 2023).

                                                     128
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 133 of 259




       257.    That Meta was aware of the presence of this disturbing content is significant.

Testimony by whistleblower Frances Haugen confirmed that Meta was aware that “Facebook’s AI

systems only catch a very tiny minority of offending content” and reliance “on computers and not

humans” means that Meta will “never get more than 10 to 20%” of the illicit content on its

platform.

       258.    One 2019 internal document describes the most frequent forms of human

trafficking on Meta’s “FOAs” or family of applications. Though recognizing that “every Human

Exploitation stage (recruitment, coordination, exploitation) is represented on our platform,” the

company determined that recruiting and exploiting (or advertising) victims for profit were the most

common. Meta noted that it had observed traffickers using romance to build trust and rapport with

potential victims; using lucrative employment opportunities on FB [Facebook] Groups of Ads

from Pages to entice potential victims, “[t]argeting the most vulnerable sector of the population

usually because of their precarious economic situation;” and using Messenger “to coordinate

trafficking activities”—all activities still observed in the State’s investigation.

       259.    In the same document, Meta also recognized that Facebook Dating "will be used

by Human Exploitation actors, particularly around sex trafficking" to “target new potential

victims” and “connect those victims with potential buyers.” In the same vein, Meta also recognized

that its platforms would be used to solicit intimate images from children, starting with

“grooming/seduction” and then often moving to sextortion, forcing victims “to produce sexual

content” on an ongoing basis.

       260.    Meta offered a case study of this form of “content sextortion” in the United States:




                                                 129
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 134 of 259




        261.    Public reports establish a long history of Meta recognizing the existence of harmful

content on its platforms and entrenched, institutional resistance to taking actions to remediate the

problems. As early as 2017, an internal email describes executive opposition to scanning the Meta

Messenger service for “harmful content” because it would place the service “at a competitive

disadvantage vs other apps who might offer more privacy.”

        262.    Meta does not review content before it is uploaded. Rather, as noted above, it relies

on automated detection tools and user reports to identify objectionable material, which is then

reviewed by hired “content moderators,” who are often subcontractors. A 2017 article in The

Guardian confirmed that most of Meta’s “content moderation” (i.e. viewing posts and messages to

determine whether the content is acceptable or illegal) is performed by subcontractors, who “often

fe[lt] overwhelmed by the number of posts they ha[d] to review” and Facebook’s numerous,

confusing policies.81 Content moderation, in and of itself, is a job that has been linked to emotional

trauma, including PTSD, from repeatedly viewing objectionable content and from the strict




81
 https://www.theguardian.com/news/2017/may/21/facebook-moderators-quick-guide-job-challenges (last visited
Dec. 1, 2023).

                                                    130
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 135 of 259




demands placed on them to maintain certain review metrics.82 The Guardian’s reporting indicated

that Meta’s guidance often permitted violent content to remain on the site. One slide provided that

the statement “To snap a bitch’s neck, make sure to apply all your pressure to the middle of her

throat” was acceptable and could remain on the platform.83

        263.    The Guardian also spoke with a half-dozen sub-contracted moderators responsible

for identifying child sex trafficking for Meta. As reported by the Guardian, these moderators

expressed concerns that Meta failed to act on even the plainest indications of trafficking or child

sex exploitation, let alone those in which traffickers made an effort to mask their conversations

with code words or emojis, like those described above. One moderator, who spoke under a

pseudonym reported that “she and her team struggled to keep pace with the huge backlog of cases.

She says that she saw cases of adults grooming children and then making plans to meet them for

sex, as well as discussions about payment in exchange for sex,” which is consistent with the State’s

own findings.84 She said that reports to Meta would linger for months, when she received an email

saying that the case was closed because “nobody’s taken action on it . . . [I]t felt like nobody would

pay attention to these horrible things.”85 Another said, “On one post I reviewed, there was a picture

of this girl that looked about 12, wearing the smallest lingerie you could imagine. . . . It listed

prices for different things explicitly, like, a blowjob is this much. It was obvious that it was




82
   https://www.theguardian.com/technology/2017/may/04/facebook-content-moderators-ptsd-psychological-
dangers.(last visited Dec. 1, 2023).
83
   https://www.theguardian.com/news/2017/may/21/revealed-facebook-internal-rulebook-sex-terrorism-violence
(Dec. 1, 2023).
84
   Guardian at 9.
85
   Id.

                                                    131
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 136 of 259




trafficking.” Yet her supervisor told the moderator that no further action was taken after the content

was escalated.86

        264.     According to documents produced by Meta whistleblower Frances Haugen, Meta’s

review of potentially violating content was also limited based on users’ “expectations of privacy.”

Thus, Messenger groups with less than 32 people were to be “treated with a full expectation of

privacy,” presumably limiting the review of content that violated Meta’s policies and the law

within these groups.

        265.     These documents also demonstrate that Meta knew that

                                                           For example, one highlighted




        266.     Further illustrating both its recognition of a common pattern of conduct and its

unwillingness to set its own lines against grooming, trafficking, and CSAM, Facebook in 2018

asked users how Facebook should handle “a private message in which an adult man asks a 14 year

old girl for sexual pictures.”87




86
  Guardian at 10.
87
  https://www.theguardian.com/technology/2018/mar/05/facebook-men-children-sexual-images (last visited Dec. 1,
2023).

                                                     132
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 137 of 259




       267.    Guy Rosen, Vice President of Integrity at Facebook, put it most plainly in his 2018

response to an email noting that Facebook does not scan direct messages for violating conduct,

such as grooming and solicitation. Rosen offered to provide Mosseri with a “shadowing session”

to demonstrate the “kind of stuff” that investigators find. He described three tiers of inappropriate

interactions with children:




                                                        this is the worst of the worst stuff that gives

                                                133
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 138 of 259




you nightmares, over which children have taken their own lives :(” Rosen advised that “we can’t

do much of anything on Tier 1 & 2 without proactive scanning [of messages]. Also, because

                                                                                                   ”

Elsewhere, Meta acknowledged “                              ” of Tier 2 conduct on Instagram Direct,

describing it as a “key risk facing the success of encryption.” Rosen concluded: “The meta way I

think about it is that both FB & IG are discovery services, not just communication services;



and warned that without action, “otherwise they are basically massive ‘victim discovery services.’”

       268.    Despite this inventory of the grave, life-threatening harms that Meta had observed

on its platforms, all of which the Attorney General’s Office confirmed still occur, Meta still failed

to take vigorous action and still continued to misrepresent the frequency and severity of CSEC on

its platforms. Upon information and belief, Meta still does not proactively scan messages without

the user reports that it acknowledged it rarely receives.

       269.    In June 2019, an executive with the National Center on Sexual Exploitation advised

Meta in correspondence that “Sex trafficking on your platform is a common occurrence” and that

the organization’s “president just raised this issue at the White House.”

       270.    An email from a reporter in October 2019 informed Meta that “Those who are

familiar with sex trafficking of minors claim that they feel Instagram is not doing enough to ensure

men and women cannot sell or buy sex from minors on the app.” The reporter questioned whether

Meta placed restrictions on the hashtags “#sugarbaby” or “#sugardaddy.” Meta responded “There

are no restrictions in place on the hashtags in question.” And, indeed, State investigators

discovered the express use of the phrase “sugar baby” to solicit a minor.


                                                134
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 139 of 259




       271.    In December 2019, Meta employees circulated a Sunday Times article that focused

on Instagram’s algorithm recommending objectionable content. One individual in the article

“specifically calls for [Instagram] to stop recommending children’s accounts to anyone. They have

a case study of a parent who set up an account to showcase her daughter at gymnastics and was

horrified that this was then potentially promoted to other people.” The email further notes the

existence of Instagram users under the age of 13 and “[t]he ease of which a stranger can direct

message a child on Instagram and the lack of proactive protections in place.”

       272.    In July 2020, a document entitled “Child Safety – State of Play (7/20)”

demonstrates further confirmation of the presence of illicit activity on Meta’s platforms, and

Meta’s knowledge of the same. The list of “Immediate Product Vulnerabilities” acknowledges

“livestreaming abuses,” negative impact on the ability to report content that disappears on Stories,

and “interop” presumably referencing cross-platform conduct:




                                                135
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 140 of 259




These vulnerabilities remain today with respect to Facebook, Instagram, and WhatsApp. The

document’s recommendations for “Areas of Improvement” includes topics such as “NCMEC

Reports,” “Minor Sexualization” and “Trafficking,” again demonstrating Meta’s awareness that it

fell short in these critical areas.

        273.    The document further confirmed that safeguards appearing on Facebook were not

present on Instagram, most notably the fact that “work is not planned to prevent FB and IG adults

from initiating messages to IG minors,” even though Meta was working to prevent contact between

adults and unconnected “minors on FB.” Indeed, the document reports that efforts to “Block reach

of unconnected adults to IG minors” was work that “has not been prioritized and more resources

are needed.” The author sharply criticizes the rationale for not “prioritizing” such work (curtailing

the ability of adult relatives to reach minor family members) as “less than compelling” and

                                                136
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 141 of 259




confirms that Meta had sacrificed children’s safety for “a big growth bet.” The full excerpt appears

below:




         274.   Moreover, that same document confirms that Meta affirmatively decided not to take

steps to prevent minors from accessing its platforms and failed to enforce any age restriction


                                                137
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 142 of 259




violations across its platforms. “In March it was decided that we would not build a classifier to

detect minors under 13 years old . . . We need leadership support to push product to act on

knowledge we already have, i.e. clear our backlogs, disable verified u13s, build an u18 checkpoint

to review minors who have been reported on 18+ products.” (emphasis added). As noted above,

Meta’s “enforcement” of safety issues “is not consistent across all apps for a single known person.

In addition, age models perform inconsistently across different markets.” The Meta employee

confirmed these failures placed the company at risk of violating federal statutes concerning the

provision of internet services to minors: “[O]ur basic COPPA compliance is at risk when product

does not prioritize checkpointing and disabling u13s [children under 13].88 We also do not yet

cross-enforce against u13s discovered on IG who have hard-linked FB accounts.”

        275.     Age verification and preventing harm to minors was rendered even more difficult

on Instagram because, as the “Child Safety – State of Play” document confirms, Instagram “only

started to collect age data in December 2019 and we currently only have stated age for ~67% of

IG users.” The document placed the blame directly on Instagram’s leadership, including Adam

Mosseri, the head of Instagram, “We need leadership support to convince IG leadership to collect

age for the remaining users for whom we have no stated age. We also would like leadership sign

off to conduct an audit of special protections for minors and then bring in a trusted expert/group

of experts to review our default settings and protections for minors, identify improvements . . .,

and implement them.” On information and belief, this audit was never performed.




88
  COPPA refers to the Children’s Online Privacy Protection Act, 15 U.S.C. § 6501 et seq., which requires companies
to notify and obtain consent from parents before collecting, using, or disclosing information from children under 13-
years old.

                                                        138
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 143 of 259




       276.    Further, the “Child Safety – State of Play” document confirmed that Instagram’s

large safety holes were attributable to Mosseri’s failure to adopt safety recommendations:




       277.    Internal documents confirm Meta’s failure to prioritize reducing harm to children.

In a July 2020 internal Meta chat, one employee asked “What specifically are we doing for child

grooming (something I just heard about that is happening a lot on TikTok)?” He received a

                                               139
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 144 of 259




response—“somewhere between zero and negligible”—that underscored Meta’s lack of

investment:




       278.    Meta’s employees continued to raise alarms regarding Instagram’s inability to

police inappropriate and illicit sexual activity targeted to children on its platform. A September

2020 internal email reporting results from “a one-off prevalence analysis” advised that “prevalence

of ‘sex talk’ to minors is 38X on IG Direct vs. Facebook Messenger, in US.” The email urged Meta

employees to implement further safeguards on Instagram accounts. Those recommendations were

not implemented for a significant period of time though Meta knew that “inappropriate interactions

with children aka child grooming” was “out of control” on Instagram. More than one-quarter

(28%) of minors received message requests from adults they did not follow on Instagram. A

November 2020 presentation also entitled “Child Safety: State of Play” (but separate from the

chart described above) underscored the abundance of harmful content appearing on Meta’s

platforms. As one slide confirmed, Instagram employed “Minimal child safety protections,”

policies regarding “Minor sexualization” were described as “immature,” and there was a “Minimal

focus” on “Trafficking:”




                                               140
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 145 of 259




       279.    Meta was also well aware that barriers existed to reporting content on Instagram.

In a December 2020 document, one employee noted “[f]indings from a month long diary study.”

The “Key Takeaways” included: “People often see content that shouldn’t be on Instagram, but

they don’t always report it” and that “Instagram needs a unified reporting system.” The summary

further noted that “People lack trust that reporting will be effective . . . This perception may result

from past experiences with Instagram inaction on reports, and their doubt in the fairness of our

content moderation process.” The employee also reported that “[t]he reporting flow can be too

complex to use and understand, particularly for teens.”

       280.    In February 2021, while investigating an account reported by “a national news

outlet” that it had investigated a report for potential child pornography “and immediately

receiv[ing] messaging that it did not violate [Meta’s] Community Standards,” Meta employees

“found a wide network of related accounts engaging in similar behavior, which shows us this is

                                                 141
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 146 of 259




not an isolated incident.” It is unclear what, if any, safeguards were implemented after this finding,

but the State’s findings detailed above demonstrate that Meta’s efforts were unsuccessful.

        281.     Another presentation on Child Safety, this one dated March 2021, provides even

further confirmation of the impacts of Meta’s historical reluctance to institute appropriate

safeguards on Instagram. The presentation confirms that Meta’s “measurement, detection and U18

product safeguards are more mature on FB & MSGR than IG,” thus demonstrating that Meta failed

to apply known protections across its platforms to Instagram. Under the heading “IG-specific

challenges,” the slide confirms that inappropriate interactions with children, which the presentation

refers to as “IIC, a.k.a. ‘grooming’” exists on Meta’s platforms. “Having been historically blocked

from labelling message content (for privacy reasons), our IIC modes aren’t as mature.” The

presentation further notes that Meta is “underinvested in minor sexualization on IG, notable on

sexualized comments on content posted by minors. Not only is this a terrible experience for

creators and bystanders, it’s also a vector for bad actors to identify and connect with one another.”

In other words, Meta recognized that its platforms facilitated grooming, and that steps were

required to address the harms that resulted.

        282.     Another 2021 document reflected Meta’s awareness that its recommendation

algorithm, People You May Know, or PYMK, had a direct link to trafficking: In a string of

comments, under the heading “IIC/Grooming,” a Facebook employee wrote: “in the past, PYMK

contributed up to 75% of all inappropriate adult-minor contact,” prompting another employee to

pose the question: “How on earth have we not just turned off PYMK between adults and children?

. . . It’s really, really upsetting.”




                                                 142
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 147 of 259




       283.    In 2021, Meta employees discussed that TikTok had more safety features for

protecting minor accounts from becoming “victim discovery services.” “TikTok already

announced all U16s [children under 16 years of age] would be defaulted to private and unable to

move to a more public setting” and announced that direct messaging would be defaulted to

preclude direct messages for 16-17-year olds as “U16s cannot access the messaging feature.” In

contrast, Meta allows minors to choose whether to make their account private: “we don’t turn off

messaging by default for u16,” doesn’t offer as extensive education, “we don’t offer family pairing

for teens (both youtube and tiktok are starting to have guardians supervise/monitor teens in various

ways.” and TikTok “doesn’t use location . . . for u18.” Upon information and belief, Meta has still

failed to make important changes, allowing, for example, direct messaging on Facebook by

strangers who any other “friend” of a child user has agreed to accept as a friend and




       284.    In 2021, another Meta employee conveyed her concern following up on reporting

by the Journal re. “preteen’ hashtags,” noting that she was “continuing to find stuff that’s super

concerning, not for publication at the moment, but it makes me really question whether IG is ready

to build an experience for pre-teens.” She explained: “it’s comments on minors’ posts that aren’t

being caught” and “will say that minor sexualization is an issue I think we need to proactively do

more work in . . .” Yet, “minor sexualization” continues to plague Instagram and Meta’s other

platforms.

       285.    As if the collective documents detailed above were not enough, in September 2021,

Meta consultants, including Arturo Bejar, commissioned the BEEF study to evaluate user


                                                143
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 148 of 259




experiences on its platforms, to “develop a holistic, consistent picture of user bad experiences on

Instagram” and create a metric that allows Meta to “track our progress” in eliminating those

experiences. Meta had employed a “prevalence” metric as its preferred measurement that

ostensibly showed low percentages of offensive content appearing on Meta’s platforms. However,

“prevalence” measured only that “percentage of content viewed worldwide that explicitly violates

a Meta rule.” Thus, the measurement undercounted negative content because (1) it relied only on

that material that Meta identified and that violated its narrowly-drawn rules; and (2) it relied on

user reports as a basis for the measurement, thereby assuming that unreported illicit content (which

Meta knew vastly outnumbered reported illicit content) did not violate Meta’s standards and was

not otherwise improper or objectionable.89

           286.    The study collected data from June 27, 2001 through July 8, 2021 and found that

“[y]ounger people report higher rates of every issue, with some issues felt more universally than

others.” More than half of all respondents had experienced 1 of the 22 surveyed “bad experiences”

in the past 7 days, but that number is skewed by older populations having less exposure to those

experiences. In fact, 54.1% of users aged 13-15 and 57.3% of users aged 16-17 had suffered a “bad

experience” on Instagram in the last 7 days. A copy of the study results is attached hereto as

Exhibit 1.

           287.    Moreover, users aged 13-15 had the highest rates of “bad experiences” for 8 of the

22 issues surveyed. 19.2% of survey respondents aged 13-15 stated they had a bad experience with

“nudity” on Instagram in the last 7 days. Also consistent with the State’s investigation, 13% of

survey respondents aged 13-15 stated they experienced “unwanted advances” on Instagram in the


89
     https://www.wsj.com/tech/Instagram-facebook-teens-harassment-safety-5d991be1.

                                                       144
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 149 of 259




past 7 days; without the one-week limitation, that figure increases to 27% of 13-15-year olds).

Results of the survey highlighting findings among 13-15 year old respondents are displayed below:




           288.     These results stood in stark contrast to the rosy picture that Meta’s publicly reported

“prevalence” metrics painted. As the Wall Street Journal reported, “[u]sers were 100 times more

likely to tell Instagram they’d witnessed bullying in the last week than Meta’s bullying prevalence

statistics indicated they should.90

           289.     In response to the survey, Meta deployed an experiment that alerted users if their

comment or post had upset other users who viewed that content. The experiment demonstrated

that many users would delete the post or comment following that notification. However, Meta did

not adopt that experiment or other proposed remediations. Rather, Meta personnel, including




90
     https://www.wsj.com/tech/Instagram-facebook-teens-harassment-safety-5d991be1 (last visited Dec. 1, 2023).

                                                        145
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 150 of 259




managers and even Meta’s leadership (as discussed below) refused to implement changes as a

result of the survey.91

        290.     Frustrated by the response of company officials, Bejar sent an email directly to

Meta leadership, including Zuckerberg and Mosseri, on October 5, 2021, expressing his

frustrations. But, as explained below, that email did not result in further action. 92

        291.     Adding insult to injury, Meta refused to make the BEEF survey available to other

employees. Instead, Bejar was permitted only to post a “sanitized version” of the survey that

omitted all of the data and approached the problem as if it were a hypothetical. 93 Upon information

and belief, this was consistent with a general corporate directive, after Haugen’s disclosures, that

employees not reflect critical opinions, discussions, or analysis in documents.94

        292.     Bejar testified before Congress in November 2023 concerning his experiences in

the 2021 timeframe. He noted that, notwithstanding the alarms that he and his team raised, nothing

has changed. “It is . . . two years after my briefings, and there is still no way, so far as I or teenagers

I know can determine, for a minor to flag a conversation in Instagram to indicate it contains

unwanted sexual advances.”

        293.     In February 2023, Meta Chief Executive Officer Mark Zuckerberg announced the

“year of efficiency,” an effort that included a plan to layoff more than 20,000 Meta employees.

Throughout the winter and spring, Meta enacted its plans, laying off thousands of workers across




91
   https://www.wsj.com/tech/Instagram-facebook-teens-harassment-safety-5d991be1 (last visited Dec. 1, 2023).
92
   Id.
93
   Id.
94
   Id.

                                                      146
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 151 of 259




its workforce. Those layoffs included, and, on information and belief, disproportionately affected,

content moderation and internet safety personnel.95

           294.     A June 2023 Wall Street Journal report following these layoffs detailed continued

troubling problems in Meta’s reporting system. An activist reported an Instagram account

purporting to sell under-age content, including the phrase “This teen is ready for you pervs.” Meta

responded: “Because of the high volume of reports we receive, our team hasn’t been able to review

this post.” Another post “of a scantily clad young girl with a graphically sexual caption” apparently

did not violate Meta’s standards. Meta responded to a post reporting the account by advising the

post did not violate its “Community Guidelines.” After being contacted by the Wall Street Journal,

Meta acknowledged a “software glitch was preventing a substantial portion of user reports from

being processed” and that its existing content moderators were not appropriately enforcing Meta’s

protocols.96

       XIII. META’S BUSINESS MODEL TARGETS YOUNG USERS SPECIFICALLY
             WITH FEATURES DESIGNED TO ENTICE AND ADDICT YOUTH

           295.     Meta’s failures extend beyond the realm of disturbing CSAM, CSEC and human

trafficking content existing on their platforms. At the same time that this abhorrent content

proliferated, Meta was making design choices on its Facebook and Instagram platforms that were

designed to capture and addict young users, including teenagers. For years, internal documents at

Meta chronicled the harm caused by these features, including Meta’s pernicious algorithms. Meta

was well aware that children under the age of 13 were using their platforms by lying about their

age at signup, but never instituted sufficient verification technology. Again and again, Meta


95
     https://www.cnbc.com/2023/05/26/tech-companies-are-laying-off-their-ethics-and-safety-teams-.html.
96
     https://www.wsj.com/articles/instagram-vast-pedophile-network-4ab7189 (last visited Dec. 1, 2023).

                                                        147
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 152 of 259




rejected calls from personnel to invest in its “well-being” efforts or to modify features of its

platforms that were effectively proven to cause harm. Despite Meta’s public comments to the

contrary, Meta and its executives failed to take sufficient action to address these known harms

because such actions would have jeopardized Meta’s profits. In sum, Meta prioritized profits over

safety.

           296.    Children were not merely unintended casualties of adult-oriented platforms that

Meta did not design to keep them safe. Teenagers were, and are, a primary target for Meta, as

demonstrated by an internal document provided to Congress by whistleblower Frances Haugen

entitled “State of Teens, June 2018.” That document reports that Meta did not have “the number-

one product for all use cases in all markets . . . But we do have one of the top social products—

with growing marketshare—almost everywhere. Things are not great yet, but there is a visible path

to greatness.”97 As early as 2016, Mark Zuckerberg sent a lengthy email to his executive team

concerning “Opportunities for Teens and Sharing.” That same year, an internal Meta email to

Adam Mosseri stated “[o]ur overall goal remains total teen time spent . . . with some specific

efforts (Instagram) taking on tighter focused goals like U.S. teen total time spent.” Another 2018

email stated Meta’s focus succinctly: “Short summary is the ‘the young ones are the best ones.’

You want to bring people to your service young and early.”




           297.    Meta’s design decisions were frequently motivated by the fact that it was losing

market share among teens and adolescents to its competitors. A 2016 presentation entitled “Teens”


97
     https://www.documentcloud.org/documents/23571647-tier2_teen_ir_0618 (last visited Dec. 1, 2023).

                                                        148
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 153 of 259




cites concerns that teenaged users (ages 13-19) are spending more time on Snapchat and YouTube

than on Meta’s platforms and proposed a plan to “win over” teenage users. Meta went so far as to

put a “lifetime value” on “a 13 y/o teen” of “roughly $270 per teen . . . Spending above that should

result in much more scrutiny.” Meta thus confirmed that its interests lied in acquiring new teenage

users and keeping them on the platform, but that efforts to address existing teenage users were not

cost-effective and therefore discouraged.

        298.     In September 2019, Instagram tested an effort to make its “messaging tab” more

accessible to users in order to “slow or reverse this trend” of declining teen use. That same

document noted that “Teen and young adults on Instagram are responsible for 30% of US family

sends and 73% of Facebook’s overall US send growth. We cannot win US messaging overall if

we lose this segment.”

        299.     An August 2021 email stated the same concerns, noting that Instagram’s youngest

users, “13 & 14 y/o” constituted “the largest components of the decline” in users, and that this

trend represented “the most concerning problem from a strategic POV: they are suppose[d] to be

the future of IG . . . .”

        300.     Having attracted teens to the platform, Meta intentionally designed its products to

make sure that it maximized their time on the platforms, developing addictive-by-design features

specifically targeted and tailored to exploiting, manipulating, and capitalizing young users. The

net result of these features is to defeat young people’s ability to self-regulate their time spent on

its platform.

        301.     Meta’s efforts included extensive research to understand the brain function of

young people and exploit those functions to increase usage of Meta’s platforms.


                                                 149
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 154 of 259




       302.    A May 2020 presentation prepared by Meta researchers entitled “Teen

Fundamentals,” discussed “adolescent development concepts, neuroscience as well as nearly 80

studies of our own product research” and highlighted vulnerabilities of the teenage brain. The

presentation discussed teen brains’ relative immaturity, and teenagers’ tendency to be driven by

“emotion, the intrigue of novelty and reward.” Further, and troublingly, the researchers assessed

these brain functions to drive “product usage,” noting that “the teenage brain happens to be pretty

easy to stimulate” and that teens’ desire for novelty “manifests itself in three behaviors that

especially lend themselves to social media—exploration, discovery and experiences.”

       303.    In explaining “exploration,” the presentation demonstrated how Meta’s platforms

attract teens’ “novelty seeking mind[s]” by “deliver[ing] [teens] a dopamine hit” every time a teen

“finds something unexpected” on the app, fulfilling their brains’ “insatiable” need for “‘feel good’

dopamine effects,” to which “teen brains are much more sensitive.”

       304.    The presentation noted that teens were especially prone to venturing down “rabbit

holes” of viewing posts on a particular topic because of the “especially ‘plastic’” attributes of their

developing brains. Further, the presentation focused on the premise that “[a]pproval and

acceptance are huge rewards for teens,” and promoted the use of “[direct messages (DMs)],

notifications, comments, follows, likes, etc.,” all of which “encourage teens to continue engaging

and keep coming back to the app.”

       305.    The 2020 presentation findings were not new. A July 2018 internal presentation

entitled “Problematic Facebook use: When people feel like Facebook negatively affects their life”

noted “Problematic use is highest among teens and people in their 20s, consistent with previous

findings that younger people generally have more problems with self-regulation.”


                                                 150
     Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 155 of 259




        306.    These findings back up statements reportedly made by Facebook’s founding

President, Sean Parker, in 2017, who said:

                The thought process that went into building these applications, Facebook
                being the first of them, ... was all about: 'How do we consume as much of
                your time and conscious attention as possible?'" "And that means that we
                need to sort of give you a little dopamine hit every once in a while, because
                someone liked or commented on a photo or a post or whatever. And that's
                going to get you to contribute more content, and that's going to get you ...
                more likes and comments." "It's a social-validation feedback loop ... exactly
                the kind of thing that a hacker like myself would come up with, because
                you're exploiting a vulnerability in human psychology. ""The inventors,
                creators — it's me, it's Mark [Zuckerberg], it's Kevin Systrom on Instagram,
                it's all of these people — understood this consciously. And we did it
                anyway.98

        307.    Similarly, according to internal documents obtained by the Wall Street Journal,

Meta “formed a team to study preteens, set a three-year goal to create more products for them and

commissioned strategy papers about the long-term business opportunities presented by these

potential users.” Preteens were and are prohibited from using Meta’s products, although (as noted

below), Meta’s lax age verification procedures readily permit underage users to sign up for services

by blatantly lying about their age. Yet, Meta commissioned more than a dozen studies to determine

how best to tap the preteen audience and described its efforts as “big bets” on that sector of the

population.

        308.    Meta and its employees knew that they were encouraging social media addiction

among teens and adolescents. In a March 2020 chat, one employee asks for “recent studies”

concerning “time spent tools.” She was directed to research Meta performed in December 2018,

which established: “(1) teens feel addicted to IG and feel a pressure to be present, (2) like addicts,


98
  https://www.axios.com/2017/12/15/sean-parker-unloads-on-facebook-god-only-knows-what-its-doing-to-our-
childrens-brains-1513306792 (last visited Dec. 1, 2023).

                                                    151
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 156 of 259




they feel that they are unable to stop themselves from being on IG, and (3) the tools we currently

have aren’t effective at limiting their time on the app.” An internal chat from September 2020

captured two Meta employees discussing whether Meta was “creating a world of addicted

monsters” in response to a documentary making that claim. Both employees agreed with the

premise, stating “A lot of it is probably true” and “i would say I agree.”

       309.    Whether called “addiction” or another term, the outcomes and the devastating

effects are the same and were the direct result of Meta’s design choices. In order to deliver this

“dopamine hit” and fuel this “addiction,” Meta engineered its platforms to contain numerous

features that prove irresistible to young users and addict them to the services, including: (i)

engagement-based feeds; (ii) infinite scroll; (iii) push notifications; (iv) ephemeral content;

(v) auto play video; and (vi) other features.

       A.      ENGAGEMENT-BASED FEEDS AND THE ALGORITHMS

       310.    When first launched, Facebook and Instagram “feeds” (the main screens where

users consume content) were listed chronologically. The most recent post from an account the user

followed appeared at the top, regardless of the topic or user.

       311.    But Meta shifted that pattern for both Facebook and Instagram. Instead of listing

posts chronologically, Meta employed one or more algorithms to recommend posts and accounts

to users based upon a set of criteria, including what the user had previously engaged in. The

purpose of this change was to engage users for longer periods of time.

       312.    Meta’s algorithms are designed to interpret vast amounts of users’ data and predict

what a particular user will be most interested in, thereby increasing the user’s time spent on Meta’s

platforms. These predictions are presented as “recommended” content or accounts.


                                                152
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 157 of 259




        313.     The algorithms constantly refine their predictions, measuring and analyzing user

activity (including whether a user clicked on a link, or viewed a post, or otherwise interacted with

the content or account) and then using those actions as data points calculated to create new

recommendations. Instagram’s Adam Mosseri explained in a June 2021 blog post:




        99



Although Meta updated this blog post on May 31, 2023, the updates did not substantively affect

the information presented above.

        314.     The algorithm’s power lies in its ability to interpret “behavioral patterns, not by

matching a user’s interests to specific subjects. This approach is efficient in increasing the

relevance of recommendations.”100 The algorithm is, in effect, a never-ending loop of future



99
  https://about.Instagram.com/blog/announcements/shedding-more-light-on-how-Instagram-works
100
   Jeff Horwitz and Katherine Blunt, “Instagram Connects Vast Pedophile Network,” Wall Street Journal (June 7,
2023).

                                                      153
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 158 of 259




recommendations, seeking to improve the efficacy of Meta’s efforts to capture more and more of

a user’s time and attention by delivering the content most likely to be engaging to them.

        315.    A “key psychological characteristic” of the algorithm is that it does not display

content chronologically, but rather in a seemingly random pattern (random to the user at least).

Thus, “even the anticipation of” the “reward” of seeing a new post or new content “can be

psychologically and/or physiologically pleasing.” Indeed, “one of the main reasons why social

medial users repeatedly check their screens” is this technique, which psychologists refer to as a

“variable reinforcement schedule.” “Habitual social media users never know if their next message

or notification will be the one that makes them feel really good. In short, random rewards keep

individuals responding for longer and has been found in other activities such as the playing of slot

machines and video games.”101

        316.    The algorithm effectively keeps “user[s] . . . in a loop” and thereby “exploit[s]” the

mind’s “innate systems.” “The way this comes about is through a term referred to as Variable

Reward Schedules. This works by positive stimuli being provided at random intervals” and

prompts users to “check[] their phones for notifications and updates at periodic intervals for

something that could be intrinsically rewarding.”102

        317.    Meta did not disclose that its algorithms were designed to leverage young users’

dopamine responses and create an addictive cycle of engagement. Nor did it disclose that the

algorithm collects data in order to fuel young users’ compulsive use of Meta’s platforms, by



101
    Mark D. Griffiths, “Adolescent social networking: How do social media operators facilitate habitual use?”,
https://sheu.org.uk/sheux/EH/eh363mdg.pdf (last visited Dec. 1, 2023).
102
    Rasan Burhan & Jalal Moradzadeh, “Neurotransmitter Dopamine (DA) and its Role in the Development of Social
Media Addiction,” https://www.iomcworld.org/open-access/neurotransmitter-dopamine-da-and-its-role-in-the-
development-of-social-media-addiction-59222.html (last visited Dec. 1, 2023).

                                                    154
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 159 of 259




training its algorithms to induce them to keep using Meta’s platforms. Rather, Meta makes benign

claims in documents such as its Instagram Privacy Policy that it uses the data it collects “[t]o

promote safety, security and integrity,” “[t]o research and innovate for social good,” or “[t]o

provide measurement, analytics and business services” for individuals who “rely on our Products

to run or promote their businesses.”103 These claims are intended to assuage users’ fears that their

data will be used for nefarious purposes and attract or retain them as users of the Platforms, rather

than to disclose the full extent of the purposes for which Meta collects data.

            318.     However, the algorithms suffer from a fatal flaw – they do not distinguish between

permissible and impermissible content. Effectively, the algorithm does not know “right from

wrong.” Thus, if a young user clicks on a certain type of content—whether accidentally, out of

curiosity, or intentionally—the algorithm will recommend more of that type of content.

            319.     This phenomenon is commonly referred to within Meta as a “rabbit hole.” Meta

was acutely aware that its algorithms reinforced negative content and recommended such content

to young users. These aspects were described as “deficits” in Meta’s system: “(1) it’s still very

easy to find borderline and sometimes violating content/accounts in search, e.g. try typing ‘drug’

or ‘love’ [and] (2) if you start following borderline accounts or interacting with such content, our

recommendations algorithms will start pushing you down a rabbit hole of more egregious content.”

            320.     Meta employees emailed regularly concerning “rabbit holes on potentially

problematic content.” One employee noted that Meta failed to confront the problem head on.

Instead of addressing the algorithms, “the primary way we combat rabbit holing you into bad stuff

is by trying to detect and filter out bad stuff” but acknowledged that “we should actually be better


103
      Privacy Policy, https://privacycenter.Instagram.com/policy (last visited Dec. 1, 2023).

                                                           155
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 160 of 259




at detecting clusters of recommendations than individual ones.” As made clear above, Meta is not

effective at detecting and filtering out the “bad stuff,” leaving the algorithm to multiply its reach.

           321.    Meta’s algorithms are so strong that even accidental clicks triggered

recommendations for harmful content. A July 2020 email discussion notes that “[w]e’ve seen over

and over that many recs are generated from collaborative filter sources so if a person accidentally

engaged (or baited to engage) with a non-recommendable content/entity they’ll be sucked into a

rabbit hole. IG has gotten some flak for this in the press too.”

           322.    Indeed, even promises made to regulators concerning Meta’s algorithms were not

followed through. An email chat from August 2020 recounts how, in the wake of the suicide of

14-year-old Molly Russell (an event that prompted a belated period of introspection at Meta,

described below), Meta “promised the UK we’d do a bunch of work to improve IG’s impact,”

including by addressing the “vortex” or “flywheel” created by the Instagram algorithms. However,

more than a year after the publicity surrounding the suicide, internal emails confirmed that Meta’s

“SSI [suicide and self-injury, Meta’s term for content depicting or discussing self-harm or suicide]

team in Community Integrity is (slowly) working on” those promised changes.

           323.    Nevertheless, Meta consistently misrepresented this aspect of its algorithms as well.

Antigone Davis told a congressional hearing in September 2021 that Meta unequivocally “do[es]

not direct people towards content that promotes eating disorders.” The June 8, 2021 blog post

entitled “Shedding More Light on How Instagram Works” represented that Instagram employed

“algorithms, classifiers, and processes” in order “to personalize your experience” to prioritize

“what you care about most.”104 But that post did not disclose that those recommendations could,


104
      https://about.Instagram.com/blog/announcements/shedding-more-light-on-how-Instagram-works

                                                      156
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 161 of 259




and often did, include recurring posts containing illegal or harmful content, like that uncovered by

the State’s investigation. Nor did it disclose the existence of “rabbit holes,” “vortices” or

“flywheels,” well-known to Meta, that resulted from the algorithms’ design and operation. Further,

an article in Instagram’s “Help Center” section represents that Instagram “avoid[s] making

recommendations that may be inappropriate for younger viewers.”105 But this statement, too,

ignores reality as the Attorney General’s investigation and reams of internal documents and public

reports prove otherwise.

           B. INFINITE SCROLL

           324.    Infinite scroll refers to the practice of displaying an endless stream of posts and

advertisements to a user’s main feed to other sections of the platform. When a user opens their

feed, they are shown a post (usually selected by the algorithm) and then a portion of the next piece

of content, which the user is thereby enticed to view. This cycle continues “infinitely,” and with

each post viewed, another post appears below.

           325.    Meta designed the “infinite scroll” feature to endlessly “tease” and/or offer new

posts and advertisements for the user to view as the user scrolls down their page feed, removing

any need to hit a “next page” button to view more. As a user scrolls down their feed of posts, the

platform continuously and perpetually selects and shows more posts to the user.

           326.    The “infinite scroll” format intentionally makes it difficult for young users to leave

the platform because there is no natural end point for the display of new posts and a young person

is reliant solely on their undeveloped ability to self-regulate. As identified in Meta’s “Teen




105
      https://help.Instagram.com/313829416281232

                                                    157
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 162 of 259




Fundamentals” research, this design exploits the “especially plastic” nature of teen brains to lead

them down “rabbit holes.”

       327.    The platform does not tell a user when they have seen all the new posts from

accounts they follow. Instead, the platform continues to seamlessly display and suggest additional

posts from other accounts the user does not follow, provoking the young users’ well-known social

“fear of missing out” on something new or interesting (commonly called “FOMO”).

       328.    This perpetual stream is designed to “keep [users] scrolling, and purposely

eliminate any reason for [them] to pause, reconsider or leave.” The user’s experience is turned into

“a bottomless flow that keeps going” and this “flow state” “fully immerse[s]” users, distorts their

perception of time, and “has been shown to be associated with problematic use” of social media

platforms.27

       C. PUSH NOTIFICATIONS

       329.    Facebook and Instagram also leverage “notifications” in order to entice users and

increase their time spent on the platforms. Internal documents confirm that Meta viewed

notifications as an essential “lever for teen growth,” as one presentation noted a key goal was to

“[l]everage teens’ higher tolerance for notifications to push retention and engagement.”

       330.    A “push notification” is an alert displayed on a user’s device to signal that some

activity has occurred on the platform and entice users—especially young users—to return to the

platform and view the activity. Push notifications may be sent for a variety of activity, including

when another user follows them, or likes or comments on their post. Push notifications may also

appear if the user is “tagged” or mentioned in a post or if a message is sent.




                                                158
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 163 of 259




        331.     “Sounds and vibrations are deliberately designed and distracting technologies that

facilitate users’ attention away from the offline world and back to life online – pulling individuals

‘out of the moment.’” Moreover, the repeated nature of these notifications “creates a trigger for a

routine and is exactly what social media operators want you to do.”106

        332.     Meta enables “push notifications” by default when one of its apps is installed on a

smartphone, and notifications may appear on a user’s screen when the phone is not being used

(such as when a young user is doing homework for school) or when the user does not have a Meta

app open. Notifications are not just visual; they will cause the device to vibrate and make a sound

by default unless the user changes the setting. These notifications are calibrated to maximize the

likelihood that a user who is not presently using the product will re-open the platform. Indeed, a

small number at the top of a Meta platform icon on a user’s mobile device will display just how

many notifications the user has “missed.”

        333.     Meta intentionally structures the content of its notifications in order to lure users to

the site. As stated in a December 2020 internal email, “[w]e limit the amount of information in

notifications because we want people to come onto the site.” The email notes that notifications

replaced more fulsome “emails telling you what happened,” which the employee reported was “a

clear value-engagement tradeoff.” And Meta implemented its carefully designed notification

system notwithstanding internal Meta documents published years earlier suggesting that Meta

permit users more flexibility in choosing what notifications they receive and when because it

“could help ‘twitchy’ users who may keep entering the app because of the push notifications they



106
   Mark D. Griffiths, “Adolescent social networking: How do social media operators facilitate habitual use?”,
https://sheu.org.uk/sheux/EH/eh363mdg.pdf (last visited Dec. 1, 2023).

                                                       159
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 164 of 259




receive.” Another internal document suggested that Meta viewed notifications as a lever to

increase growth and engagement on the platform. Meta’s “research priorities” in June 2020

regarding youth on Instagram included studying the question: “[h]ow can notifications re-engage

less active users with Instagram?”

        334.     A recent study performed by Common Sense Media and the C.S. Mott Children’s

Hospital confirms the ubiquity and intensity of notifications in a young person’s life. The research

found that young users “received a median of 237 notifications” in a “typical day,” and that

“[n]otification frequency varied widely, with maximums of over 4,500 delivered and over 1,200

seen.” Nearly a quarter of those notifications arrived during school hours.107

        335.     Meta was acutely aware that sending the correct notifications in the correct volumes

was a key to attracting and retaining young users. A November 2019 presentation entitled “IG

Notification Systems Roadshow” confirmed: “We know notifications has an harmful effect on

teen usage. We’ll spend H1 investigating further . . .” (emphasis in original). Nevertheless, Meta

defaults young users (and all users) into receiving notifications.

        336.     Moreover, Meta was making its decisions with knowledge that notifications were

harmful to young people. The July 2018 “Problematic Facebook use” report stated the situation

bluntly: “In academic experiments, smartphone notifications caused inattention and hyperactivity

among teens, and they reduced productivity and well-being.”




107
   https://www.commonsensemedia.org/sites/default/files/research/report/2023-cs-smartphone-research-
report_final-for-web.pdf

                                                     160
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 165 of 259




        D. EPHEMERAL CONTENT

        337.     Ephemeral content is a form of content that is not permanent and disappears after a

set amount of time, typically 24 hours. As one article notes, “[t]he most exciting thing about this

ephemerality is the disappearance of posts.” Thus, the content “strikes a FOMO (fear of missing

out) effect that creates an exclusivity to watching posts.” Such content “elicits a prompt response”

and “increases user engagement.”108

        338.     FOMO is a “pervasive apprehension that others might be having rewarding

experiences from which one is absent” and “is characterized by the desire to stay continually

connected with what others are doing.” Social media, including Meta’s platforms, “may be

especially attractive” for individuals “who fear missing out.” 109 “Adolescents are particularly

susceptible to development of Fear of Missing Out by using social media.”110

        339.     Meta employs ephemeral content in order to drive user engagement by making

certain content available to users only temporarily. For example, on August 2, 2016, Meta

introduced a feature called “Stories” to Instagram that showed images and narratives for only 24

hours before disappearing from a user’s feed. Meta later added similar functionality to Facebook.

An internal Meta document from 2018 states: “we’ve invested in FB stories—and have seen

engagement more than double[;] teen original sharing [is] up for the first time since 2012.”

        340.     Additionally, users may go “live” on Instagram and broadcast content as it happens.

When a user goes “live,” the platform sends a notification, thereby advising connected users of the

limited availability of the broadcast.


108
    Madiha Jamal, “Ephemeral Content – The Future of Social Media Marketing,” Medium (Mar. 2, 2021), available
at: https://bettermarketing.pub/ephemeral-content-the-future-of-social-media-marketing-996d265916c2.
109
    https://www.sciencedirect.com/science/article/abs/pii/S0747563213000800?via%3Dihub
110
    https://journals.sagepub.com/doi/full/10.1177/2056305120965517#bibr1-2056305120965517

                                                     161
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 166 of 259




       341.    A February 2016 business plan sent to Meta’s executives, including Sheryl

Sandberg, touted that Instagram’s “Live” feature was specifically intended to appeal to teens in

order to maximize young users’ time on its platforms, setting goals “[t]o drive substantial watch

time via Live” by “[finding] partners to appeal to teens.” There can be no question that Meta

implemented “Live” in order to increase engagement among young users.

       342.    Because these features are only displayed for a limited time before disappearing,

young users are motivated to frequently open, return to, and remain on the Instagram platform so

they will not “miss out” on viewing the content before it disappears.

       343.    Meta employs these features even though they are aware the features cause harm to

young users and that young users are unable to self-regulate their use of Meta’s platforms as the

result of Meta’s design choices. An October 2019 presentation entitled “Teen Life Moments:

Mental Health Deep Dive” reported that “FOMO and feeling left out” was a category of harm on

Instagram, and “[y]oung people are acutely aware that Instagram can be bad for their mental health,

yet are compelled to spend time on the app for fear of missing out on cultural and social trends.”

Another internal document entitled “Understanding the Negative Social Comparison Spiral” noted

that “FOMO” was part and parcel of activity “associated with feelings of indulgence or addiction,

a behavior they get ‘sucked into.’”

       E. VIDEO CONTENT

       344.    Displaying and “autoplaying” video content is a key aspect that Meta employs to

attract and keep younger users. Videos are played in the form of “Reels,” which are short videos

created by other users that are displayed in full-screen format and presented in an algorithmically-

driven feed. Like other content, Reels display “likes,” follows, comments and views of a particular


                                                162
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 167 of 259




video. Video represents an important part of Meta’s business strategy and of its strategy to attract

youth. According to Mosseri, “more and more” of Instagram’s content will be video over time, as

opposed to static pictures.111

        345.     Reels plays a key role in Meta’s business scheme to attract and addict young users.

An undated presentation entitled “Teens & Young Adults on IG & FB” confirmed that Meta was

“investing heavily in Reels, Stories & Creators in an effort to generate more value for teens” on a

page that addressed whether teens were “joining” or “engaging” with Instagram.

        346.     Video clips on Facebook Reels and Instagram Reels automatically play as a user

scrolls and automatically restart once they conclude, providing a stream of content without a break

when young users might disengage. The videos are intentionally of a short length in order to ensure

that users do not become bored. As noted above, the Reels that play are selected by Meta’s algorithm.

        347.     Meta launched Reels in order to attract teens who were transitioning to competitors,

like TikTok, that already featured a video service. Internal Meta documents confirm that the launch

of Reels was rushed in order to preserve engagement among Meta’s teen users. One employee

noted in a 2020 message: “The fact that we’re shipping reels without a clear picture of the

ecosystem impact is pretty mind boggling.” Another employee echoed that sentiment: “it is scary

the speed we are moving . . . we either do things WAY TOO FAST without Data. Or do things

WAY TO[O] SLOW because of Design/Principles.” These product designers were aware of the

harm that could result from Reels, with one stating “I am worried that the cumulative effects are

going to be bad.”



111
  https://www.forbes.com/sites/marisadellatto/2022/07/26/Instagram-exec-defends-shift-to-video-despite-
complaints-from-creators-like-kylie-jenner/?sh=73be14515c6e

                                                      163
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 168 of 259




        348.    Advertisements may appear in the midst of the videos, but, often, those

advertisements are shown as videos themselves. These features encourage young users to

continuously remain on the platform because they do not require user intervention to choose to view

and watch the next story.

        349.    Meta further prominently displays its video features throughout the platform

interface in order to maximize viewing time and addictive use.

        F.      ADDITIONAL DESIGN CHOICES

        350.    Additional features of Meta’s platforms are designed to addict teens and

adolescents.

        351.    Meta’s platforms, and Instagram in particular, provide users with image “filters”

that allow users to modify their pictures by altering their appearance in photos and videos. The

filters allow facial structure alteration, body slimming, skin lightening, skin tanning, blemish

cleaning, and other “beauty” features. By clicking “browse effects” when taking a picture, a user

can access hundreds of these “filters,” including ones named “perfect eyes” or “perfect face.”

Numerous filters include the word “skinny” in the title.

        352.    These filters significantly contribute to feelings of diminished self worth or anxiety

among teens and adolescents. One study confirmed that “60% of girls feel upset when their real

appearance doesn’t match the online version of themselves” and professionals have expressed

concerns regarding the effects of promoting “idealized and unrealistic” appearances online.112

These effects are heightened by the fact that Meta’s platforms do not identify “filtered” content to




112
    https://www.forbes.com/sites/annahaines/2021/04/27/from-instagram-face-to-snapchat-dysmorphia-how-beauty-
filters-are-changing-the-way-we-see-ourselves/?sh=36d5c69e4eff

                                                    164
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 169 of 259




other users. Other people viewing the picture or story have no idea whether the picture reflects

untouched reality or is actually digitally enhanced or altered.

       353.    Meta has long been aware of the effects that cosmetic image “filters” have on teen

and adolescent users, especially young female users, but has rejected or frustrated efforts to remove

these filters because of fears that doing so would affect Meta’s bottom line. For example, as

described in further detail below, in November 2019, Meta personnel proposed eliminating

“cosmetic surgery” filters on Instagram that altered images to mimic the effects of cosmetic

surgery. One employee reported that Mark Zuckerberg was skeptical that harm resulted from the

filters. In response, an employee responded forcefully:




       354.    Another piece of documentation confirmed that, although “robust causal evidence”

was not available, “experts from around the world – APAC included – generally agree that these

effects are cause for concern for mental health and wellbeing, especially amongst vulnerable

populations,” including “females and “youth.” Notwithstanding this acknowledgement of harm,

the email reports that Meta chose to keep the filters active on the Instagram platform, but not to



                                                165
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 170 of 259




“recommend” the filters to users. Meta did not choose to permanently ban the filters at the time,

but only instituted a temporary ban.

       355.    Meta’s platforms lack sufficient parental controls and notifications. For example,

the FTC’s COPPA Rule, 16 C.F.R. § 312.1 et seq., requires parental notification and consent

before obtaining personal information from children. The Rule makes clear that this provision

applies when the entity, like Meta, has actual knowledge that its services are used by individuals

under the age of 13. As described above, Meta possesses this knowledge. However, instead of

complying with this attribute of COPPA, Meta ignores its knowledge and does not require any

parental consent from users, thus preventing parents from taking action if their underage child is

using, misusing, or overusing Meta’s platforms. Notably, Meta employs no age verification upon

signup other than a user’s manual input of their date of birth, and Meta is aware that underage

users often use false dates of birth in order to gain access to their systems.

       356.    Additionally, Meta’s platforms lack basic controls that would allow parents to

receive notifications or warnings regarding their child’s activity. Meta does not require children’s

accounts on Facebook and Instagram to be linked to a parent’s account (or accounts). It does not

send reports of a child’s activity to parents, or otherwise alert parents if a child accesses illicit or

concerning content (such as CSEC, CSAM, eating disorder or self-harm content for which Meta

issues warnings). Meta lacks the ability to permit parents to limit a child’s use, including to restrict

the use of its platforms during certain hours; nor does it provide notifications to parents if a child

is interacting with another adult. Meta also does not require parental consent or notification when

a child follows a new account, even if that account has previously been “flagged” for improper

conduct.


                                                 166
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 171 of 259




       357.    These choices are intentionally made by Meta in order to attract and retain teens.

As one internal document stated, “If Mom starts using an app all the time, the app can lose a ‘cool’

factor” and thus Meta needed “to create spaces within the app where teens feel like they have

privacy both from their own parents but also privacy from non-peers (e.g. Aunt Sally, neighbor

down the street, teachers, etc.).” That same document championed making “certain features . . .

more complex (i.e. indirectly made for teens because more challenging for parents or preteens).”

       358.    Along those same lines, Meta made it difficult for users to self-restrict time spent

on the platform. Meta offered a “time spent” tool on both Facebook and Instagram in 2018 that

was described internally as “the flagship launches from IG Well-being at the time.” But the tools

were faulty and ultimately discontinued. The measurements were unreliable and inconsistent

across both platforms. As one Meta employee stated: “Our data as currently shown is incorrect.

It's not just that Apple/Google have better data. Ours is wrong. Far worse. We’re sharing bad

metrics externally . . . We’ve been unable to right it despite several person-months of efforts.”

       359.    And Meta makes it difficult for users to delete their accounts if they wish to

discontinue use. A user seeking to cancel their account must navigate numerous screens and pop-

up messages, all of which are calculated to convince the user to second-guess their decision.

Internal documents confirm that Meta’s anti-deletion messages are “aggressive” and include

leveraging peer pressure to convince impressionable teens and adolescents to stay, such as

“list[ing] some of your friends to remind you that they will no longer be able to contact you through

the site” and requiring the user to provide a reason why he or she is deactivating the account.




                                                167
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 172 of 259




    XIV. META WAS ACUTELY AWARE OF THE HARM TO YOUTH WELL-BEING
         RESULTING FROM ITS DESIGN CHOICES, BUT FAILED TO DEVOTE
         SUFFICIENT RESOURCES TO ADEQUATELY ADDRESS THE HARM TO
         YOUTH

           360.   At the same time that Meta was making these design choices, internal documents

confirm that Meta was aware of the harmful effects that its products were having on the wellbeing

of children and teenagers. Meta performed numerous studies and analyses concerning teen usage

and the effects resulting therefrom, but systematically ignored internal red flags in favor of chasing

profits.

           361.   Documents produced to Congress by whistleblower Frances Haugen confirm the

tenor and pervasiveness of this internal conversation. Haugen disclosed the contents of an online,

internal discussion among Meta employees in November 2016 that included messages echoing

themes heard years later:

              “our ranking algorithms prevent us from truly being a blind medium . . . we are far
               more likely to show people only content they will agree with (in pursuit of metrics),
               creating an echo chamber. We are incredibly biased in what we present to people – not
               partisan bias, but biased towards metrics . . .”

              “[W]e only cared about things like time spent, open links, etc. That’s what we
               optimized for. That’s what we used to define success and failure. And that’s the
               problem.”

           362.   An internally distributed post dated August 3, 2017 is entitled “Have we made

people addicted to Facebook?” The article recounts literature noting “that using apps like ours in

some cases leads a user from having a habit of using the app to being addicted.” The article

recommended implementing “new tools to help people not obsessively check their account,” which

either were never adopted or adopted years later.




                                                  168
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 173 of 259




       363.     An undated presentation entitled “Expression & Authenticity” reported market

research acknowledging the devastating social comparison aspects of Instagram: “To a great

extent, social pressure is something built-in to the Instagram experience.” It notes that young

people felt “[f]ears of scrutiny and judgment” when posting to their Instagram feed and “feel a

pressure to be perfect on Instagram.” The presentation references “social competition” and

“anxiety” among young Instagram users, as well as “fear of gossip and judgment.”

       364.     An internal 2018 Meta study reinforces this point, confirming that Meta has been

aware for years that Instagram makes social comparison issues worse amongst teens, especially

female teens:




       365.     A July 31, 2018 internal post reporting on a survey of 20,000 Facebook users is

titled: “Problematic Facebook use: When people feel like Facebook negatively affects their life.”

The article addresses “stories about ‘Facebook addiction,’” and identifies “activities that are most

strongly associated with problematic use.” According to the findings, “teens or people in their 20s”

are more likely to “feel like they have a problem” (as shown in the graph below), a finding that is

                                                169
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 174 of 259




“consistent with previous findings that younger people generally have more problems with self-

regulation:”




       366.    A June 2018 internal Meta study entitled “Facebook ‘Addiction’” confirmed that,

even if there was not yet evidence to support a clinical “addiction” diagnosis, Facebook could

nevertheless be harmful to vulnerable users, like teens and adolescents: “Facebook may be

rewarding and habit-forming,” causing “some people [to] experience genuine problems related to

their Facebook use.” That presentation offered recommendations that Meta refused to implement,

including limiting the number of notifications, ending the infinite scroll and reducing the

availability of “Like counts:”




                                             170
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 175 of 259




       367.     One particularly dangerous form of content that many teens sought out, had

delivered to them by Meta’s algorithm, and could not stop watching related to self-harm and

suicide. Meta knew this but failed to take adequate steps to prevent young users from accessing

this content.

       368.     Internal research in January 2019 underscored the presence of harmful content and

the steps that teen users took to “keep one step ahead of IG’s community guidelines against self-

injury by changing hashtags as they are shut down,” citing literature published three years earlier

with titles like “Teens are using a Secret Language on Instagram to talk about Self-Harm.” Indeed,

under the heading “WHAT WE KNOW,” the document proclaims that “Instagram is a popular

platform for communicating about suicide and self-injury, and then provides shocking statistics

regarding user posts in a one-month period:




                                               171
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 176 of 259




       369.    Tragically, despite that research, Meta continued to allow and connect young users

to content that proved deadly. A 14-year-old in London named Molly Russell killed herself in

November 2017 after viewing posts on Instagram and Pinterest concerning anxiety, depression,

self-harm, and suicide. Her father described the content as the “ghetto of the online world,” but,

shockingly, stated in a 2022 Guardian interview that much of the content his daughter viewed

before taking her own life remained accessible on Instagram even after her death and its causes

became widely known.

       370.    The coroner’s inquest into Molly Russell’s death, published in 2022, concluded that

Instagram’s algorithm contributed to her death, because the algorithm “result[ed] . . . in binge

periods of images, video-clips and text, some of which were selected and provided without Molly

requesting them.” The “content romanticized acts of self-harm by young people on themselves”

and “sought to isolate and discourage discussion with those who may have been able to help . . .

In some cases, the content was particularly graphic, tending to portray self-harm and suicide as an

                                               172
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 177 of 259




inevitable consequence of a condition that could not be recovered from.” Instagram was the last

social media app Molly accessed before her death, and language from Instagram posts matched

notes she had left in her bedroom.113 The coroner concluded that the sites Ms. Russell accessed,

including Instagram, “were not safe as they allowed access to adult content that should not have

been available for a 14-year-old child to see.”

           371.    The coroner concluded that Molly died from “an act of self-harm whilst suffering

from depression and the negative effects of online content.” Among the product design features

that were noted during the inquest, in addition to the role of Instagram‘s algorithm in providing

Molly with a stream of SSI content: (1) no separation between the adult and child portions of the

platforms, and content was not controlled to be age-appropriate; (2) no age verification upon

opening an account; and (3) parents and guardians did not have access to the material being viewed

or any control of the materials being seen by their children.

           372.    Although the coroner’s inquest took several years, Meta employees were acutely

aware of the lack of safeguards built into Instagram and expressed their concerns in emails

following the Guardian’s outreach to Meta for comments on Ms. Russell’s death. In a January 26,

2019 email thread addressing Meta’s response to a forthcoming media story profiling “30 families

of suicide victims accusing Instagram of killing their children,” one Meta employee wrote: “We

are defending the status quo when the status quo is clearly unacceptable to media, many impacted

families, and when revealed in press, will be unacceptable to the wider public.” Recipients of the

thread included Zuckerberg, Sandberg, and Mosseri. Another Meta employee responded to echo

the theme that Instagram protocols were insufficient: “our present policies and public stance on


113
      Guardian, 9/21/2022

                                                  173
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 178 of 259




teenage self harm and suicide are so difficult to explain publicly that our current response looks

convoluted and evasive . . . The fact that we have age limits which are unenforced (unenforceable?)

and that there are, as I understand it, important differences in the stringency of our policies on IG

vs Blue App [Facebook] makes it difficult to claim we are doing all we can.” Sandberg eventually

chimed in, asking whether Meta could improve its policies or whether it was a question of

enforcement and confirmed “We can definitely say that we need to improve our enforcement of

our policies.”

       373.      The news report concerning Molly’s suicide appeared to prompt increased research

into Instagram’s effects on young users and surfaced internal awareness of Meta’s failures with

regard to SSI content. Several weeks later, an internal email to Instagram employees confirmed

that “Instagram suicide and self-injury (SSI) issues reveal we are behind where we need to be.”

The document outlined proposed changes to Instagram’s framework but noted that “because

content outside of promotion did not violate our policies, we had no detection or enforcement in

place at all for any other content, and most worryingly the content was easy to discovery through

search, hashtags, IG Explore, etc.” The email further noted that Instagram had not devoted

sufficient resources to SSI in recent years and questioned: “Why was SSI in this state?”

       374.      In early March 2019, Meta employees held a “Well Being Discussion” that included

Sandberg, among other attendees. Employees prepared a discussion document that confirmed that

“the average net effect of FB on people’s well-being is slightly negative” and noted that 58% of

Facebook users experience problematic use and 45% social comparison:




                                                174
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 179 of 259




       375.




       376.    Meta’s October 2019 “Teen Mental Health Deep Dive” presentation reports that

“[o]ne in five teens say that Instagram makes them feel worse about themselves.” A particularly

telling slide is entitled “Teens blame Instagram for increases in the rates of anxiety and depression

among teens.” The response was “unprompted, and cited “[s]ocial comparison” among the factors

that made Instagram “worse than other platforms for mental health:”




                                                175
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 180 of 259




       377.    The very next slide references “fear of missing out” and includes a laundry list of

“ways that Instagram harms their mental health,” including “inappropriate advertisements targeted

to vulnerable groups,” and “over-sexualization of girls:”




                                               176
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 181 of 259




       378.   Teens further relayed that harm resulting from Instagram use “falls into three

categories” and leads to devastating conditions, such as “anxiety,” “insecurity,” “isolation,”

loneliness,” and “depression:”




                                             177
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 182 of 259




       379.    Yet Meta employees did not disclose these, or similar metrics, to the public. For

example, Meta refused to provide statistics to the media that would disclose to the public the true

extent (or lack thereof) of their wellbeing enforcement efforts. In June 2019, a reporter for Time

sent an email with follow-up questions that included inquiries regarding the number of employees

“working on the issue of bullying.” A Meta employee did not want to answer the question, likely

because the personnel count was paltry. The employee confirmed that “[t]he Well-being Bullying

team is ~15 people [at Instagram]. The Facebook Bullying and Harassment team is about that

again.” The entire Well-being team included 150 employees, but they were responsible for “all the

account and content problems and elections etc, well beyond Bullying.” Meta responded to Time

by identifying “30,000” individuals, a number that was comprised almost entirely of outsourced

content reviewers who did not have specific responsibility for bullying issues. Meta’s Annual




                                               178
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 183 of 259




Report filed with the SEC for the year ending December 31, 2019 claimed that “[a]s of December

31, 2019, we had 44, 942 employees.”114

           380.     An internal post disclosed by Frances Haugen dated November 5, 2019 entitled

“Hard Life Moments – Mental health deep dive” confirmed that “~30% of teen girls . . . felt that

Instagram made dissatisfaction with their body worse.” Additional slides contained titles such as

“Social Comparison has High Reach, Moderate Intensity and We are Making It Worse For 1 In 4

People” and “Body Image (A Related Issue) Also Stands Out For Teens.” The latter slide reports

that “1 in 3 teen girls blame Instagram for making their body image issues and problematic social

media use worse. Social Comparison is a high reach, high intensity issue that 1 in 5 teens thought

we made worse.”

           381.     That same message was distributed to Meta employees—but not publicly—in a

February 2020 “Community RYSK (Research You Should Know)” post: “Teenage girls are 8x

more likely to engage with negative social comparison (NSC) than adult men on IG. 1 in 3 teen

girls report IG makes their body image issues worse. NSC can cause or is correlated with other

issues around: body image, self-esteem, loneliness, and depression.” An internal Meta “literature

review” dated March 13, 2020 similarly reported that “33% of Instagram users and 11% of

Facebook users think the platform makes their own body image issues worse.”

           382.     Internal posts and research acknowledged (but not publicly) bullying on Instagram,

as well. An undated presentation that likely was prepared before or in 2020 states “We knew that

people experience unwanted interactions involving random strangers and people they are relatively

unconnected with” and that “7% of teens report experiencing bullying on Instagram each week.”


114
      https://s21.q4cdn.com/399680738/files/doc_financials/2019/ar/2019-Annual-Report.pdf at p. 9.

                                                         179
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 184 of 259




(emphasis added). The presentation noted that “B&H [bullying and harassment] prevalence in

DM’s is very high (10%)” and “Severe violations targeted to those under 18 are known as a high

prevalence problem in DMs.” Yet, Meta CSERs reported a prevalence number for bullying and

harassment in only 8 of 10,000 views, or .08%.

       383.    Internal documents make clear that, despite all of these internal studies

demonstrating harm from its platforms, Meta refused to devote sufficient resources in order to

address the problems, despite its public statements to the contrary. An August 2020 email cited a

“severe lack of capacity for restricted content,” including “nudity, graphic violence, child safety

and SSI content review:”




       384.    Meta employees internally questioned lax enforcement with respect to policing

content related to eating disorders. In September 2020, a Meta employee reported disturbing

deficiencies in detection and removal of information related to eating disorders. The employee

reported that Meta blocked content when a user searched using known “inherently violating

hashtags,” but that the search still returned results for accounts—the same problems noted with

respect to CSAM and other sexually explicit content. “[W]hen you search for these terms, there

are no results under the ‘hashtag’ tab, but there are endless results under the ‘Top Accounts’ and

‘Accounts” tab, and almost all are violating.” Moreover, the same employee reported “No ED

proactive detection at the moment: We don’t currently have classifiers to catch eating disorder


                                               180
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 185 of 259




proactively – which means it’s easy to find on Instagram, and is showing up in Explore and

accounts ‘suggested for you.’” Nevertheless, a Product Manager in Instagram Wellbeing

confirmed the volume of improper and harmful content related to eating disorders: “[I]t’s hard to

defend why we’d block certain terms in hashtag search and not in account search, and it’s easy to

find violating ED accounts in a couple of taps. When I search for ‘thinspo’ [referencing

“thinspiration”] or ‘proana’ [pro-anorexia] the accounts shown are overwhelmingly violating.”

(emphasis added). Yet, Meta never disclosed these results to the public, instead relying on its

misleading statements proclaiming its platforms as “safe” and claiming that it prioritized safety.

       385.    Moreover, on information and belief, Meta has the ability to track how much time

teens and adolescents are spending on content associated with eating disorders. Meta has the

technological acumen to send teens and adolescents notifications if they are spending inordinate

time periods browsing this content, or to notify parents of such behavior. Meta has chosen not to

take any of these steps.

       386.    Further discussion in the same September 2020 email thread suggested that “ED

content is too narrowly defined by our policies so we under-enforce on what the broader public

might consider to be ED content” -- the same deficiencies observed by the State with respect to

CSEC. Emails from November 2021—more than a year later—confirm the issue had not been

resolved. A journalist reported an account of a man “contacting teenagers affected by eating

disorder.” The account “has only shared 2 posts but they both show extremely thin bodies, one of

which has a caption #thighgap #skinny #weightloss” and “[t]he profile picture is also zoomed

image of a rib cage and the ‘bio’ says ‘coaching.’” Moreover, “many of the accounts he is

following and that are following him are ED-related accounts.” Despite having access to the


                                               181
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 186 of 259




account and its posts, Meta’s “safety team” concluded the account “had no violations.” Following

that determination, the reporter explained to Meta that the “account is one of many ‘coaches’ –

often with paedophile interests or a skinny fetish – who contact girls on IG and other messaging

apps and offer to ‘coach’ them in their anorexia and extreme weight loss, often soliciting photos

from them at the same time.” Only after receiving that “additional context,” the account was “re-

review[ed]” and Meta deleted only one of two posts for violating its Community Standards. The

email shows no indication that the account was suspended or that Meta took any other action

concerning these troubling reports.

       387.    An undated document entitled “Eating Disorders PRI Analysis Document” further

documented issues regarding eating disorder content on Instagram. As with the Attorney General’s

investigation of CSEC, the author created a “test account” who followed content related to eating

disorders and found “[m]y test user was served violating content and accounts through IG explore

surface and Accounts Suggested For You after following other ed [eating disorder]-related

accounts.” The author reported that “Violating accounts and content for eating disorders were

recommended through Suggestions For You and IG Explore” and explained the reasons for these

recommendations included: “We rely on ED strikes from user reports within a 90 day timeframe

to be classified as not recommendable” and violative “content is not being deleted” because “[w]e

don’t have proactive detection for eating disorder violations in all markets.” The document further

notes that “Auto Detection doesn’t exist” for eating disorder content and that “[u]sers can create

and maintain IG Story Highlights that are named violating terms,” which “would not be removed

off the platform.”




                                               182
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 187 of 259




       388.    Another email in April 2021 noted multiple areas of deficiency, stating “[b]eyond

teen safety defaults and reporting flow for under 13, we need solid solutions for detecting,

measuring, and enforcing against children/teen safety and Well-being issues across Messenger

Kids, IG, and IG Youth.” The email noted “key risks/issues” that mirrored many of the topics

addressed above, including “bullying & harassment” and “age verification,” and noted the “biggest

issue” remained “lack of capacity,” i.e. Meta’s refusal to invest in personnel and resources to

address these problems:




       389.    Internal Meta research from March 2021 confirmed that a shocking 33% of material

viewed by teen girls on Instagram is “likely” to make them “feel worse about their bodies” and

that the majority of that content was attributable to influencers and “content from non-friends:”




                                               183
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 188 of 259




       390.    None of these internal emails prompted Meta to address its internal deficiencies,

despite its public statements to the contrary. Meta’s efforts to address youth well-being and prevent

harm remained under-resourced through at least August 2021. In an internal email, one Meta

employee wrote: “We are not on track to succeed for our core well-being topics (problematic use,

bullying & harassment, connections, and SSI, and are at increased regulatory risk and external

criticism.” That employee noted that “Problematic Use on FB/IG” was “the topic where we have

the largest gap relative to competitors and external expectations as well as minimal current

staffing” and “recommend[ed] at a minimum staffing these up for 2022.”


                                                184
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 189 of 259




       391.    None of the reports and information cited above prompted Meta to make substantial

changes in its platform to address these issues. Nor did Meta disclose any of the harm it had

identified internally to the public, which would have corrected the misleading and deceptive nature

of its public statements proclaiming its platforms “safe.” Rather, Meta continued to pursue profits

over safety even when its own employees were identifying the harms resulting from Meta’s own

design choices. As one Meta employee put it following publication of leaked internal research,

“our own research confirmed what everyone has long suspected.”

   XV.     DESPITE KNOWLEDGE OF THE HARMS CAUSED BY ITS PLATFORMS,
           META REPEATEDLY REJECTED EFFORTS TO IMPROVE ITS SYSTEMS

       392.    Notwithstanding the abundant internal research demonstrating harms to young

users of its platforms and its public commitments to make Meta safe and good for children, Meta

callously rejected numerous proposals to implement changes that would have improved users’

well-being.

       393.    In 2019, a discussion was held concerning “what it would take to 10x well-being,

which resulted in a plan that was reviewed with Chris Cox, Meta’s Chief Product Officer, and

Sheryl Sandberg and then was submitted to Mark” Zuckerberg, who refused additional funding for

the request. As a result, the effort “ended up punted given other ambiguities.”

       394.    These decisions were referenced in an August 25, 2020 internal message in which

Meta employee                             announced her departure from Meta and voiced her

frustrations regarding executive decisions.               ’s email referenced “many hard integrity

battles fought,” and made clear that, despite its claims, Meta did not value safety and children’s

well-being, and instead subordinated, rejected, or rolled back efforts to address those concerns for

monetary or other reasons.                    ’s email confirms that “Integrity teams are facing

                                                185
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 190 of 259




increasing barriers to building safeguards” because safety efforts were “prematurely stifled or

severely constrained by key decision makers,” and that Meta was “roll[ing] back” “functioning

safeguards” because of “fears of public and policy stakeholder responses:”




       395.   She further confirmed that Meta was “knowingly exposing users to risks of integrity

harms” because of “potential” media responses. She confirmed that cross-platform enforcement of

Meta’s rules and policies was non-existent because “there is no dedicated team or central body

tasked with monitoring” Meta’s “complex system . . . with cross-surface interactions for safety




                                              186
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 191 of 259




risks as a whole.” And she noted that Meta lacked “consistent resources or incentives provided to

help teams check for potential user harms or de-risk products at the outset.”

       396.    Recent congressional testimony from Arturo Bejar confirms Hunzaker’s

experience. Bejar initially worked in “Facebook’s Protect & Care group” until 2015, and when he

left Facebook, he “felt good that we had built numerous systems that made using our products

easier and safer.”

       397.    Bejar returned as a consultant to Meta in 2019 to address the “distressing

experiences” faced by many teens he knew of. He discovered that his prior work from just four

years earlier had been largely dismantled:

               It was not a good experience. Almost all of the work that I and my
               colleagues had done during my earlier stint at Facebook through 2015 was
               gone. The tools we had built for teenagers to get support when they were
               getting bullied or harassed were no longer available to them. People at the
               company had little or no memory of the lessons we had learned earlier.

       398.    Meta had effectively abandoned his prior work for the sake of pursuing greater

teenage audiences, which in turn led to greater profit. As Bejar noted in his written Congressional

testimony, “Meta’s current approach to these issues only addresses a fraction of a percent of the

harm people experience on the platform. In recent years, repeated examples of harm that has been

enabled by Meta and other companies has come to light, through whistleblowing, outside research

studies, and many stories of distressing experiences people have there . . . [T]here is a material gap

between their narrow definition of prevalence and the actual distressing experiences that are

enabled by Meta’s products.”

       399.    Bejar laid the blame squarely on Meta and its decision-makers, including

Zuckerberg: “[M]anagers including CEO Mark Zuckerberg do not seem to seek to understand or


                                                 187
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 192 of 259




actually address the harms being discussed. Instead, they minimize or downplay published

findings, and even sometimes the results of their own research. They also try to obfuscate the

situation by quoting statistics that are irrelevant to the issues at hand.”

        400.     As another example of its unwillingness to favor young users’ mental health over

its advertising revenue, Meta rejected a program intended to hide the public display of “likes”

despite knowledge that publicizing the counts of likes on users’ posts caused harmful negative

social comparison in teens.

        401.     “Likes” are another aspect of Meta’s platforms that provide “[s]ocial affirmation

and validation.” As one research report noted, “such a simple characteristic has reaped huge

rewards in terms of adolescents repeatedly coming back to check their social media platforms, and

what some have described as a ‘craving for validation.’”115 By default, Meta reports the total

number of likes every post receives.

        402.     Meta’s internal research confirmed that this public display of likes was inextricably

linked with negative social comparison among young users. An email dated October 1, 2019

reported that hiding “likes” was discussed at Meta as early as December 2017 because a public

roundtable “revealed how big of [a] negative impact like counts were having, especially on young

creators” and noted “a broader sense that Instagram has created a #FOMO culture and a need to

be perfect,” resulting in “an apparent corresponding impact on mental health/anxiety levels.”

Citing “past research,” an October 2020 internal document entitled “Likes and Social Comparison

on Instagram” confirmed that “Like and comment counts have been cited as a potential trigger of



115
   Mark D. Griffiths, “Adolescent social networking: How do social media operators facilitate habitual use?”,
https://sheu.org.uk/sheux/EH/eh363mdg.pdf

                                                       188
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 193 of 259




social comparison. In particular, a ‘Like paradox’ (i.e. that people’s friends tend to receive more

Likes than they do) may lead people to overestimate their friends’ popularity and thus feel worse.”

That research paper confirmed: “Seeing more posts with high Like counts (1k+) was associated

with feeling worse: more negative social comparison and less positive social comparison.”

       403.    To address this harmful impact, Meta implemented a test program called “Project

Daisy,” which would have hidden the public like count on posts. There are two versions of “Project

Daisy:” (1) “Pure Daisy” (like counts on all posts except one’s own were hidden), and (2) “Popular

Daisy” (like counts on posts from certain highly followed accounts were visible, but the like counts

on average users’ posts were hidden). Both projects were well-received among young users, and

Meta’s researchers recommended implementing Project Daisy in October 2020.

       404.    Even though “Pure Daisy reduced negative social comparison in teen girls, . . . the

impact of negative social comparison was not evaluated in the original launch decision.” Instead,

Meta employees, including, on information and belief, top leadership (Zuckerberg and Mosseri),

rejected rollout of “Project Daisy” because “it was not impactful from the lens that IG was

evaluating previously (reduce creation flow abandonment and reducing deletion of posts with low

like counts) and was pretty negative to FB metrics.”

       405.    However, in public statements, Meta misrepresented its reasons for refusing to

implement Project Daisy. Its prepared talking points regarding Project Daisy stated that Meta was

implementing Daisy as an opt-in feature because “[f]or some people, hiding public like counts

helped people focus less on the number and more on the content, [but] for others it didn’t really

matter much.” Mosseri falsely stated in a public interview that implementing the project didn’t

have “a big impact on how much people use the product” and that the impact was “neutral.”


                                                189
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 194 of 259




       406.    Despite Meta’s outward-facing public message that it prioritized safety and the

well-being of its users, the rejection of “Project Daisy” demonstrates that, in practice, user safety

and well-being was subordinated to business concerns, including profits. One employee called the

approval process “awful, with leads disagreeing about whether social comparison survey results

counted as ‘wellbeing’ and generally discounting” the Integrity team’s “expertise.” The employee

noted that Project Daisy was rejected even though “there were small but probably non-trivial

revenue impacts” and despite, one employee’s words, “one of the clearest things (supported by

research) that we can do to positively impact social comparison and well-being on [Instagram].”

       407.    In October 2020, Adam Mosseri emailed Instagram’s “Wellbeing” personnel to

advise them that he believed “social comparison [is] the existential question Instagram faces within

the broader question of whether or not social media is good or bad for people,” but he recognized

in that same email that it would “be impossible” for the team to devote sufficient resources

“without divesting from somewhere else.”

       408.    Yet, nearly a year later, the “Wellbeing” team remained under-resourced and

subordinated to other priorities. An internal chat from September 2021 underscored the features

that were lacking on Instagram compared to its competitors. Pavni Diwanji, a Meta Vice President,

advised Mosseri that the “state of mental wellbeing on IG needs work.” In particular, Diwanji

criticized Instagram’s “one size fit all users when it comes to mental wellbeing” and Instagram’s

lack of “user visible features” available on its competitors’ products, specifically noting features

that Meta rejected/refused to implement, such as “take a break, screen time management, [and]

restricted mode where they allow parents to pair with teens and tweens.” Diwanji further noted

that TikTok was “more proactive on content takedowns.” Diwanji, who, on information and belief,


                                                190
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 195 of 259




was responsible for youth initiatives at the time, complained about “challenges inside” Meta that

made her job harder and warned: “this is not a good way to operate.”

         409.     Meta proclaimed to the public that safety was a “top priority” that it “cared deeply”

about and “aggressively” worked to promote. Yet its business decisions told a different story. Time

after time, Meta’s executives rejected safety and refused to invest in programs or personnel

sufficient to address Meta’s significant “well-being” flaws, because doing so would have

compromised Meta’s revenues.

      XVI. META’S PLATFORM DESIGN CAUSED MENTAL HEALTH HARM TO
           YOUNG USERS, INCLUDING USERS IN NEW MEXICO

         410.     The design of Meta’s platform and its decisions to implement (or not to implement)

features in order to maximize teen engagement and profits caused real and lasting harm to young

users, including young users in New Mexico.

         411.     In May 2023, the Surgeon General of the United States issued an advisory entitled

“Social Media and Youth Mental Health” that summarized findings concerning the devastating

impacts of social media use and noting “increasing concerns among researchers, parents and

caregivers, young people, healthcare experts, and others about the impact of social media on youth

mental health.”116 While noting benefits from social media use, the advisory warned “that

adolescents who spent more than 3 hours per day on social media faced double the risk of

experiencing poor mental health outcomes including symptoms of depression and anxiety.”117 The

Surgeon General further explained that studies on “college-aged youth” had shown “sizable

effects,” including stark increases in depression and anxiety, and “raise serious concerns about the

116
    Advisory, https://www.hhs.gov/sites/default/files/sg-youth-mental-health-social-media-advisory.pdf at 4(last
visited Dec. 1, 2023).
117
    Id. at 6.

                                                        191
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 196 of 259




risk of harm from social media exposure for children and adolescents who are at a more vulnerable

stage of brain development.”118

          412.   The Surgeon General’s concerns were not limited merely to time spent on social

media platforms. The advisory warned that “[e]xtreme, inappropriate, and harmful content

continues to be easily and widely accessible by children and adolescents,” and noted studies

finding that “discussing or showing this content can normalize such behaviors, including through

the formation of suicide pacts and posting of self-harm models for others to show.”119 The Surgeon

General further cited studies “demonstrat[ing] a significant relationship between social media use

and body image concerns and eating disorders, with social comparison as a potential contributing

factor.”120

          413.   The Surgeon General confirmed that “[e]xcessive and problematic use of social

media can harm children and adolescents by disrupting important healthy behaviors” and warned

that product features, like those implemented by Meta, “designed to maximize user engagement .

. . [have] the potential to encourage excessive use and behavioral dysregulation [typically referring

to anxiety, depression, suicidal thoughts, self-harm, and other self-damaging behaviors].”121 The

Surgeon General also relayed statistics indicating that “one-third or more” of the youngest users

(girls aged 11 to 15) “say they feel ‘addicted’ to a social media platform.”122

          414.   A systematic study of research papers printed in 2020 validated much of the

Surgeon General’s analysis, concluding that “[s]ocial media are responsible for aggravating mental



118
    Id. at 7.
119
    Id. at 8.
120
    Id.
121
    Id. at 9.
122
    Id.

                                                192
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 197 of 259




health problems” and finding “a general association between social media use and mental health

issues.”123 The review noted links between increased usage of social media and “anxiety and

depression,” including among teens, who “experience anxiety from social media related to fear of

loss, which causes teens to try to respond and check all their friends’ messages . . . on a regular

basis.”124

        415.     Another study found that “engagement with photo-based social media sites, such

as Instagram, is associated with poor body image.”125 That study assessed social media behaviors,

including “avoidance of posting selfies, photo investment, photo manipulation, and investment in

others’ selfies” and found that each behavior “was associated with greater likelihood” of suffering

from eating disorders, 126 which can also lead to other health consequences, such as gastrointestinal

illnesses, impacts to the endocrine and cardiovascular systems, bone or gray matter brain loss or

atrophy, and fertility issues.127

        416.     Indeed, as early as 2014, a study entitled “NetTweens: The Internet and Body Image

Concerns in Preteenage Girls” concluded that “[t]ime spent on . . . social networking sites produced

stronger correlations with body image concern than did overall Internet exposure” and that “the

Internet represents a potent sociocultural force among preteenage girls.”128 A 2018 open letter to

Zuckerberg signed by 118 public health advocates cited this study and others in concluding that



123
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7364393/ (last visited Dec. 1, 2023).
124
    Id.
125
    https://onlinelibrary.wiley.com/doi/epdf/10.1002/eat.23256 (last visited Dec. 1, 2023).
126
    Id.
127
    See, e.g., Anorexia Nervosa, Cleveland Clinic
https://my.clevelandclinic.org/health/diseases/9794-anorexia-nervosa#outlook--prognosis; Bulimia Nervosa;
Cleveland Clinic https://my.clevelandclinic.org/health/diseases/9795-bulimia-nervosa#symptoms-and-causes (last
visited Dec. 1, 2023).
128
    https://journals.sagepub.com/doi/epub/10.1177/0272431613501083 (last visited Dec. 1, 2023).

                                                      193
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 198 of 259




“a growing body of research demonstrates that excessive use of digital devices and social media

is harmful to children and teens.”129

        417.     Research has linked excessive social media use with sleep disturbance, which is

particularly a problem among teens and adolescents and can result in “a range of poor health

outcomes,” including adverse effects on “cognitive performance, mood, immune function,

cardiovascular risk, weight, and metabolism.”130 The researchers found “consistent, substantial,

and progressive associations between [social media] use and sleep disturbance” among young

adults, a finding likely equally applicable to teens and adolescents.131

        418.     Statistics from the CDC’s “Youth Risk Behavior Survey” confirm that the rise in

social media use among teenagers and adolescents, including use of Instagram and Facebook,

corresponds with a decline in youth mental health. According to the survey, “[i]n 2021, 42% of

high school students felt so sad or hopeless almost every day for at least two weeks in a row that

they stopped doing their usual activities.” The percentage of female high school students who

reported feeling “persistent feelings of sadness or hopelessness” increased from 36% in 2011 to

57% in 2021. Twenty-nine percent of all respondents and 41% of female respondents reported

experiencing “poor mental health” in the past 30 days. And the survey reported that 30% of female

high school students had “seriously considered attempting suicide” during the past year, an

increase from only 19% 10 years earlier.

        419.     A 2019 study of nearly 7,000 adolescents found that “adolescent social media use

was prospectively associated with increased risk of” adverse mental health characteristics. The


129
    https://fairplayforkids.org/wp-content/uploads/archive/devel-generate/gaw/FBMessengerKids.pdf (last visited
Dec. 1, 2023).
130
    https://www.sciencedirect.com/science/article/abs/pii/S0091743516000025 (last visited Dec. 1, 2023).
131
    Id.

                                                       194
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 199 of 259




study found that “Adolescents who engage in high levels of social media use may experience

poorer quality sleep” and that increased social media use could be associated with an increased

risk of “cyberbullying, which has a strong association with depressive symptoms.” Further, the

study noted “negative body image,” “anxiety” and “depression” as connected to social media

use.132

          420.   The harms described in the Surgeon General’s advisory and the representative

research cited above are not limited to a particular geography. They occur nationwide, including

in New Mexico.

          421.   Moreover, the Surgeon General’s advisory and public research is consistent with

years of internal Meta research chronicling harm to young users arising from the design of Meta’s

platforms, much of which is described in the preceding paragraphs. While Meta promised to

safeguard the health and safety of children on its platforms (and to keep the youngest users offline),

at every turn, it made decisions that put its own profits ahead of their well-being.

      XVII. META MADE MISLEADING AND DECEPTIVE CLAIMS IN PUBLIC
            STATEMENTS THAT ITS PLATFORM WAS SAFE OR THAT IT WAS
            ADDRESSING PROBLEMATIC CONTENT

          422.   As Bejar made clear in his Congressional testimony, “Meta continues to publicly

misrepresent the level and frequency of harm that users, especially children, experience on the

platform.” These misrepresentations were designed to increase usage of Meta’s platforms by

assuring teens and their parents that its platforms were safe and appropriate for children, and failed

to disclose the evidence of serious harms that it knew its young users suffered. Each of these



132
   Kira Riehm et al., Associations between time spent using social media and internalizing and externalizing
problems among US youth, 76(12) JAMA Psychiatry (2019),
https://jamanetwork.com/journals/jamapsychiatry/fullarticle/2749480(last visited Dec. 1, 2023).

                                                       195
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 200 of 259




statements and omissions painted a misleading and untrue picture of the safety of its platforms and

sought to minimize or misstate the volume of objectionable content and dangerous activity on

Meta’s platforms.

        423.     Meta and its executives repeatedly made statements intended to reassure users,

advertisers paying to reach those users, and parents that its platforms are safe and that illegal

content on Meta’s platforms is minimal, or, if it does exist, is subject to prompt and effective action

by Meta’s personnel and automated detection systems, including the following:

                     a. In 2012, a Facebook spokesperson told the Associated Press that Meta

                        “take[s] human trafficking very seriously and a number of measures are in

                        place to counter this activity.”

                     b. Eva Chen, a Meta employee responsible for fashion partnerships, was

                        reported as stating at a CornellTech event in the Spring of 2018 that

                        “[m]aking the community a safer place, a place where people feel good, is a

                        huge priority for Instagram . . . I would say one of the top priorities.”133

                     c. In a June 2019 interview with CBS News, Instagram head Adam Mosseri

                        stated: “We’ve been focused on well being broadly, like I said, it’s our

                        number one priority” and “[w]e will do things that mean people use

                        Instagram less if we think that they keep people safe or generally create a

                        healthier environment.”134




133
   https://qz.com/quartzy/1238074/Instagrams-new-wellbeing-team-will-address-its-effect-on-mental-health.
134
   https://www.cbsnews.com/news/adam-mosseri-Instagram-is-seriously-considering-hiding-likes-apps-head-
reveals/.

                                                     196
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 201 of 259




                    d. On a public earnings call on January 29, 2020, Meta’s then Chief Operating

                       Officer, Sheryl Sandberg, stated: “While we continue to invest in helping

                       businesses, we are equally focused on keeping our platform safe.”

                    e. In an April 2020 public SEC filing, Meta claimed: “We use sophisticated

                       technology and other techniques not only to detect child exploitation imagery

                       and remove it, but also to detect and prevent grooming or potentially

                       inappropriate interactions between a minor and an adult.” Meta further

                       stated: “We deploy technology across all of our platforms to proactively

                       surface as much illegal child exploitative content as we can, including

                       through detection technology, machine learning and artificial intelligence

                       techniques, and open-sourcing photo- and video-matching technology.”135

                    f. In May 2021, Mosseri told reporters that Instagram’s effects on the wellbeing

                       of teenagers and adolescents was “quite small,” according to a September

                       2021 report in the Wall Street Journal.136

                    g. In June 2021, Meta issued a statement to CBS News calculated to portray

                       Meta’s platforms as safe and to convince uses and potential users that Meta

                       actively and effectively polices activity on its Facebook platform:

                Sex trafficking and child exploitation are abhorrent and we don’t allow them
                on Facebook. We have policies and technology to prevent these types of
                abuses and take down any content that violates our rules. We also work with
                safety groups, anti-trafficking organizations and other technology
                companies to address this and we report all apparent instances of child


135
  Meta Proxy Statement (Schedule 14A) at 79.
136
  https://www.wsj.com/articles/facebook-knows-Instagram-is-toxic-for-teen-girls-company-documents-show-
11631620739.

                                                    197
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 202 of 259




                 sexual exploitation to the National Center for Missing and Exploited
                 Children.

                     h. On October 5, 2021, Meta Chief Executive Officer Mark Zuckerberg

                          published a public Facebook post that claimed: “We care deeply about

                          issues like safety, well-being and mental health. It’s difficult to see coverage

                          that misrepresents our work and our motives.” Zuckerberg continued: “At

                          the heart of these accusations is this idea that we prioritize profit over safety

                          and well-being. That’s just not true.” He claimed that “it’s very important

                          to me that everything we build is safe and good for kids.”137

                     i. Instagram’s website contains a blog post dated December 7, 2021 attributed

                          to Mosseri entitled “Raising the Standard for Protecting Teens and

                          Supporting Parents Online.” That post begins with the following statement:

                          “At Instagram, we’ve been working for a long time to keep young people

                          safe on the app.”138 Another blog post from December 15, 2022 is entitled

                          “Continuing to Keep Instagram Safe and Secure,”139 which is intended to

                          deemphasize the prevalence of inappropriate and illicit content and contacts

                          that teens and adolescents face on a near-daily basis.

                     j. Responding to an article in the Guardian, “How Facebook and Instagram

                          became marketplaces for child sex trafficking,” which was published in

                          2023, a Meta spokesperson promised: “The exploitation of children is a



137
    https://www.facebook.com/zuck/posts/10113961365418581.
138
    https://about.Instagram.com/blog/announcements/raising-the-standard-for-protecting-teens-and-supporting-
parents-online.
139
    https://about.Instagram.com/blog/announcements/continuing-to-keep-Instagram-safe-and-secure.

                                                      198
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 203 of 259




                          horrific crime – we don’t allow it and we work aggressively to fight it on

                          and off our platforms. “140

        424.     Meta’s Community Standards for Facebook declare: “We do not allow content or

activity that sexually exploits or endangers children”141 including child nudity, and, with respect

to suicide/self-harm content proclaim: “We remove any content that encourages suicide or self-

injury, including fictional content such as memes or illustrations and any self-injury content which

is graphic, regardless of context.”142 Its Instagram Community Guidelines similarly claim: “We

have zero tolerance when it comes to sharing sexual content involving minors or threatening to

pose intimate images of others.”143 Meta’s Transparency Center promises that the company (in

relevant part) “remove[s] content that facilitates or coordinates . . . human trafficking”, including

“in order to force them to engage in commercial sex . . .” through “deception, force and coercion.”

However, as described above, such content is readily available on Facebook and Instagram and

efforts to remove it are often rejected or unsuccessful.

        425.     Meta’s published “Community Standards” also proclaim that Meta “take[s] our role

seriously in keeping abuse off the service.” But this statement cannot be squared with the numerous

reports above of Meta failing to detect or address a huge volume of sexualized content, allowing

children to access it, or designing its algorithms to recommend it and network it through a web of

predators. Meta claims that such illicit or unlawful content is infrequent and is allowed to remain

only after the company determines that its value outweighs its harm: “In some cases, we allow




140
    https://www.facebook.com/zuck/posts/10113961365418581.
141
    https://transparency.fb.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/
142
    https://transparency.fb.com/policies/community-standards/suicide-self-injury/
143
    https://help.instagram.com/477434105621119

                                                       199
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 204 of 259




content—which would otherwise go against our standards—if it’s newsworthy and in the public

interest. We do this only after weighing the public interest value against the risk of harm, and we

look to international human rights standards to make these judgments.”144

           426.     Meta’s efforts to publicly portray its platforms as safe and largely free of illicit

content extends to quarterly Community Standards Enforcement Reports (“CSER”) which

“provide metrics on how we enforced our policies . . . and estimates on the amount of violating

content (Prevalence) on Facebook and Instagram.” Meta’s May 15, 2018 press release announcing

the formation of these reports made clear that the reports were and are intended to allow the public

to see “how much bad stuff is out there,” and thereby permit the public to “judge our performance

for yourself.” Meta positioned itself as a company invested in eliminating illicit content from its

platforms: “We believe that increased transparency tends to lead to increased accountability and

responsibility over time, and publishing this information will push us to improve more quickly too.

This is the same data we use to measure our progress internally – and you can now see it to judge

our progress for yourselves.”

           427.     Each and every one of these reports underreport the existence of objectionable or

violative conduct on Facebook or Instagram because they all rely on Meta’s flawed “prevalence”

standard. A May 23, 2019 blog post described “prevalence” as “[o]ne of the most significant

metrics we provide in the Community Standards Enforcement Report.” Meta reported that “we

consider prevalence to be a critical metric because it helps us measure how violations impact

people on Facebook. We care most about how often content that violates our standards is actually

seen relative to the total amount of times any content is seen on Facebook.” It compared this metric


144
      https://transparency.fb.com/policies/community-standards/(last visited Dec. 1, 2023).

                                                          200
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 205 of 259




to “measuring concentration of pollutants in the air we breathe” and claimed that “[p]revalence is

the internet’s equivalent – a measurement of what percent of times someone sees something that

is harmful.”145

           428.     Meta’s CSERs consistently reported low prevalence of human trafficking, CSAM,

bullying and other problematic materials. For example:

                    a.      The CSER released in November 2019 claimed that prevalence was an

                    “upper limit [of] 0.04%” of views for content violating Meta’s policies prohibiting

                    “child nudity and sexual exploitation of children, regulated goods, suicide and self-

                    injury, and terrorist propaganda.”

                    b.      The December 2020 CSER claimed that “less than 0.05% of views were of

                    content that violated our standards against Child Nudity and Sexual Exploitation”

                    and that “less than 0.05% of views were of content that violated our standards

                    against Suicide and Self-Injury.”

                    c.      The Q3 2021 CSER reported “that between 0.14% to 0.15% of views were

                    of content that violated our standards against Bullying & Harassment” and that

                    “less than 0.05% of views were of content that violated our standards against

                    Suicide & Self-Injury.”

           429.     Individually and collectively, each of these reports conveyed the impression that

Meta aggressively enforced its Community Standards on both Facebook and Instagram, and that

its efforts were succeeding in keeping the platforms relatively free of harmful content. For

example, a November 13, 2019 news release announcing release of the fourth CSER includes the


145
      https://about.fb.com/news/2019/05/measuring-prevalence/.

                                                        201
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 206 of 259




heading “Progress to Help Keep People Safe.” Meta’s most recent report (released in August 2023)

claims that the purpose of the report is to “demonstrate our continued commitment to making

Facebook and Instagram safe and inclusive.”

       430.   Nowhere do the CSERs explain how much sexualized content remains on the

platforms and accessible to children; the ability of adult strangers to identify, groom, and seek

sexualized content and activity from children; or the widespread sale of CSAM, among other

commercial sexual exploitation of children.

       431.   Moreover, as explained above, the prevalence metric consistently underestimated

the amount of problematic and illicit content displayed on Facebook. The prevalence metric

contradicted the findings of Meta’s own BEEF study, which showed a much greater “prevalence”

of bad experiences involving illicit, questionable or violative conduct on Meta’s platforms. The

chart below demonstrates the discrepancies between the BEEF study (reported instances only over

the prior 7 days) and the corresponding Community Standards Enforcement Report (which reports

“prevalence” over a longer period of time):

 BEEF Study         BEEF Study       Study          CSE Report (3Q CSE Report (3Q
 Metric             Finding          Finding        2021) Metric   2021)“Prevalence”
                    (Overall)        (Ages 13-                     on Instagram
                                     15)
 Witness to         28.3%            27.2%          Bullying and      “between 0.05% to
 bullying (“bully                                   Harassment        0.06% of views”
 witness”)
 Witness to hate    25.3%            26.0%          Hate Speech       “about 0.02% of
 message (“hate                                                       views”
 witness”)
 Nudity             16.3%            19.2%          Adult Nudity &    Displays range of
                                                    Sexual Activity   0.02% to 0.03%




                                              202
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 207 of 259




 BEEF Study             BEEF Study         Study            CSE Report (3Q CSE Report (3Q
 Metric                 Finding            Finding          2021) Metric   2021)“Prevalence”
                        (Overall)          (Ages 13-                       on Instagram
                                           15)
                                                            Child Nudity & Not reported
                                                            Sexual
                                                            Exploitation146
 “Unwanted              11.9%              13.0%            No corresponding category
 Advances”
 Target of              8.1%               10.8%            Bullying &           “between 0.05% to
 bullying (“bully                                           Harassment           0.06% of views”
 target”)

        432.     Meta not only made affirmative misrepresentations, it also made material omissions

in its public statements. For example, a June 8, 2021 blog post entitled “Shedding More Light on

How Instagram Works” represented that Instagram employed “algorithms, classifiers, and

processes” in order “to personalize your experience” to prioritize “what you care about most.”147

But that post did not disclose that those recommendations could, and often did, include recurring

posts containing illegal or harmful content, like that uncovered by the State’s investigation. Nor

did it disclose the existence of “rabbit holes,” “vortices” or “flywheels,” well-known to Meta, that

resulted from the algorithms design and operation. Further, an article in Instagram’s “Help Center”

section represents that Instagram “avoid[s] making recommendations that may be inappropriate

for younger viewers.”148

        433.     Many of Meta’s other public statements materially omitted facts known to Meta

regarding the true nature of its platforms. While portraying its platforms as “safe,” Meta failed to



146
    The CSER states that “Child Nudity & Sexual Exploitation” was “Measured until Q1 2021, and then replaced with
Child Endangerment policy categories).” However, the CSER does not report prevalence for the “Child
Endangerment: Sexual Exploitation” category or for the “Child Endangerment Nudity and Physical Abuse” category.
147
    https://about.Instagram.com/blog/announcements/shedding-more-light-on-how-Instagram-works (last visited
Dec. 1, 2023).
148
    https://help.Instagram.com/313829416281232 (last visited Dec. 1, 2023).

                                                      203
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 208 of 259




disclose the internal studies in its possession—including the numerous internal studies cited

above—identifying and quantifying the harm associated with using its platform, including studies

related to self-image of teens and adolescents, studies related to causing anxiety and depression

among teens and adolescents, and studies related to eating disorders and the prevalence of material

related to eating disorders on Meta’s platforms.

           434.     Even though, as described above, Meta’s algorithms utilize artificial intelligence in

order to “recommend” content or connections to users—including illicit and harmful content—

Meta makes benign claims in documents such as its Instagram Privacy Policy that the data it uses

the data it collects “[t]o promote safety, security and integrity,” “[t]o research and innovate for

social good,” or “[t]o provide measurement, analytics and business services” for individuals who

“rely on our Products to run or promote their businesses.”149 In reality, Meta does not use its

algorithms to identify illicit content. If it did, the results of the Attorney General’s investigation

likely would not have occurred.

           435.     Further, Meta to this day continues to report its “prevalence” metric without

disclosing the BEEF survey demonstrating the statistic materially misrepresented users’

experiences on its platforms.

           436.     All of these misrepresentations and omissions were made for purposes of pursuing

profits over safety, and at the expense of teen and adolescent users of its platforms who suffered

real and lasting harm due to Meta’s design and business choices.




149
      Privacy Policy, https://privacycenter.Instagram.com/policy

                                                          204
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 209 of 259




       XVIII. META MADE MISLEADING AND DECEPTIVE CLAIMS TO ITS
              ADVERTISERS THAT ITS PLATFORM WAS SAFE OR THAT ITS
              CONTROLS AND PROCEDURES WERE SUFFICIENT TO PREVENT
              THEIR ADS FROM BEING DISPLAYED IN CONNECTION WITH
              PROBLEMATIC CONTENT

           437.   Meta’s misrepresentations and material omissions extend to its statements to

businesses placing advertising on its platforms available to New Mexico consumers and selling

products in trade and commerce in and affecting New Mexico.

           438.   Meta claims in its “Business Help Center” section of its website that its policies

“create safe and positive experiences for people and businesses who are advertising, monetizing,

buying, and selling on our platform.” It contends that its “Facebook Community Standards apply

to all content on Facebook and keeps harmful content off our platform.” It represents that Meta

has “policies and processes in place to keep our platform safe from harmful content as well as

content that is considered unsuitable to our advertising partners” and that Meta “meet[s] and/or

exceed[s]” industry brand safety standards “through our enforcement of Community Standards –

this content should not appear on our platforms.”150

           439.   Meta advises prospective advertisers that “[o]n Facebook and Instagram, filters

exclude certain videos and Feed content.” Thus, Meta represents, as a result of those filters, an

advertiser’s ads “should only appear in or next to content that is appropriate for advertising.

Content that’s excessively controversial or offensive, such as full nudity, excessive violence,

terrorist acts, or misinformation identified by third-party fact checkers, is excluded by default.”151

Meta touts the availability of “brand suitability controls” that permit advertisers to further modify




150
      https://www.facebook.com/business/help/4360253257396424?id=1769156093197771
151
      https://www.facebook.com/business/help/3001448133206080?id=1769156093197771

                                                    205
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 210 of 259




content associated with their advertising, but also represents to potential advertisers that such

filters are not necessary to prevent advertisements from appearing in connection with content that

violates the Facebook or Instagram Community Standards: “Remember that we enforce

Community Standards for the content individuals can share on Facebook, Messenger and

Instagram . . . Your ads should never appear on controversial content like nudity or excessive

violence. We also strive to ensure our targeting tools are as effective as possible to help you reach

only your intended audience on Facebook and beyond.”152

           440.   These representations, like Meta’s public statements, are misleading and deceptive.

           441.   Meta’s dealings with two large advertisers provide a window into its deceptive

practices. Upon information and belief, Meta’s misrepresentations affected other companies

whose ads were shown to New Mexico consumers and whose advertised products were offered

and sold in New Mexico. While, in the examples below, the companies only became aware of

these failings recently, Meta’s policies and practices and its misrepresentations would have marked

their prior dealings with these—and other—companies.

           442.   The Match Group (“Match”), which, through a network of companies, holds

popular dating apps like Tinder and Hinge, reached out to Meta in October 2023 to confirm that

Tinder advertising “does not show up in content featuring those under 18 or aimed at those under

18” and to inquire about “[w]hat technology or tools are in place to ensure that ads are not showing

up next to content that is graphic, sexually explicit, pornographic, or otherwise illegal.” Meta

responded to note that the context of advertising varied since every user has “a unique experience

on our platforms as it’s based on their own curated list of followers/engagers. Given this, an ad


152
      https://www.facebook.com/business/help/2116031745379221?id=1769156093197771

                                                    206
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 211 of 259




could show up on a Story about someone’s friends’ kids as an example.” Meta did not disclose

the more jarring content against which Match ads were actually being shown. Match responded

with a request for an audit with a “specific accounting of the types of content our ads have appeared

alongside during this calendar year.”

       443.      In the course of the exchange with Match, Meta described efforts it was making to

identify and remove “bad actors” and ensure that ads are not run against violating content. Meta

promised:

                “We remove account and content that violate our child safety policies. We have
                 long-established teams and systems to do this . . .”;
                “. . . we have vigilant monitoring for accounts exhibiting potentially suspicious
                 behavior, and have made improvements to stop them from connecting with each
                 other (in addition to teens, which we already had in place). If they exhibit
                 suspicious behavior, based on certain signals we monitor, or if they violate our child
                 safety policies we remove those accounts.”
                “While we do not allow children under the age of 13 to have accounts on our
                 platforms, as long as it does not violate our policies, we allow content featuring
                 people of all ages (e.g. people sharing a picture of their newborn, celebrating a
                 birthday, going on a family vacation).”
                “As noted previously, we vigilantly monitor for and remove content that violates
                 our policies and we report on these efforts every quarter in our Community
                 Standards Enforcement Report.”
                “We also have strict policies around Child Sexual Exploitation and Nudity . . . and,
                 as we shared in our conversation . . . the prevalence of this content is extremely
                 low.”

       444.      Meta also explained that it applies standards to ensure advertisers could control the

content around which their ads were run. Meta’s representations regarding its efforts and outcomes

are contradicted by the State’s investigation and the experience reflected in Match’s exchanges

with Meta.

       445.      While Match responded that it welcomed those efforts, it also explained that “it’s

important that our ads are not being shown to accounts that have been flagged as suspicious, even


                                                  207
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 212 of 259




if they have not been removed from your platform. Additionally, we believe that accounts of adult

users that are viewing predominantly content that contains images or videos of minors should be

flagged as suspicious.” Based on feedback from an anti-trafficking non-profit organization, Match

also suggested that Meta treat sexual depictions of children as high risk, not the lower classification

provided by an industry trade group.

       446.    Despite Meta’s representations, Match's advertisements were displayed adjacent to

or in connection with explicit content that violated Meta’s Community Standards. In early

November, Match provided “a description of one of the strings of Reels that we have seen (note

that we have also seen other strings with even more disturbing clips). While some of this content

may have been innocently posted, we believe that some of it is clearly promoting illegal and

exploitative businesses. Additionally, the stringing together of these Reels in highly disturbing . .

.” The six Reels that surrounded an ad for one of the dating apps were all of young girls, including

a “[y]oung girl provocatively dressed, straddling and caressing a Harley Davidson-style

motorcycle” to the soundtrack of Judas Priest’s Turbo Lover with the text “Turbo loving model.”

The email continued: “On top of this, we have also become aware that our ads are showing up on

Facebook next to gruesome content in a group titled: “Only women are slaughtered” showing

films of women being murdered. We are also aware that this account was reported twice and has

not been taken down.” The email conveyed that “[w]e need to quickly figure out how we stop this

from happening on your platforms.”

       447.    Meta responded that it removed some of the accounts flagged by Match, including,

on its third strike, the “Only women are slaughtered” Facebook group, though it did not act on

others, noting it did not have screenshots of the actual content. The company assured Match that


                                                 208
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 213 of 259




the “safety and integrity of the content on our platforms remains a core priority and focus area.

We agree that the content we removed should not have been eligible for monetization,” which

means that it should not have been permitted to support (and be paid for running) ads. It

acknowledged that “violating content may not get caught a small percentage of the time” and said

that, based on third party providers, Meta was 99%+ accurate in ensuring that advertising was

appropriately delivered.

       448.    With Meta having failed to address the concerns raised in its communications, the

CEO of Match reached out directly to Mark Zuckerberg indicating that “Meta is placing ads

adjacent to offensive, obscene – and potentially illegal – content, including sexualization of minors

and gender based violence.” He noted that, given the Match’s commitment to address violent and

predatory behavior, including registered sex offenders, Match, upon learning of the issue,

immediately cut its advertising spending on the platforms and reached out to Meta. The letter

expressed concern that company’s brands were spending millions of dollars “and "our ads are

being serviced to your users viewing violent and predatory content,” noting that the company could

not “turn a blind eye to this” consistent with “the need to create safe spaces for people to meet in

real life.” Zuckerberg has not yet responded to this communication.

       449.    Another large advertiser on Meta’s platforms, Walmart, identified similar

misrepresentations in engaging with Meta regarding the placement of its advertising. On August

10, 2022, the Washington Post published an article entitled “Facebook bans hate speech but still

makes money from white supremacists,” which reported that Facebook “served an advertisement

from a wide range of marketers, including Walmart” in connection with searches for white

supremacist organizations. The article prompted outreach from Walmart inquiring as to the


                                                209
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 214 of 259




placement of the advertisements and how they could be prevented in the future. In particular,

Walmart expressed concerns that the “level of attention/consideration” to brand safety issues “has

disappeared since you’ve flipped to the Meta business plan.”

       450.    In the first six months of 2023, Meta continued to solicit Walmart’s advertising and

encourage it to increase its advertising on Meta’s platforms. For example, in a May 17, 2023 email,

a Meta employee promoted Reels and urged Walmart to create its own Reels to be placed as

advertisements, stating: “Walmart is still a lagger in adopting Reels and incorporating [them] into

the majority of campaigns.”

       451.    On June 7, 2023, the Wall Street Journal published an article entitled “Instagram

Connects Vast Pedophile Network,” which prompted Meta to again reach out to reassure skittish

advertisers, including Walmart. That communication, intended to retain Meta’s advertising

revenue, repeated many of the misrepresentations and misleading statements referenced above and

failed to disclose Meta’s knowledge regarding child exploitation on its platforms: “[W]e want to

reinforce that when it comes to [illicit sexual content], we have heavily invested over the years to

keep it off our platforms and made significant progress in this area. We remove 98% of this

violating content before it’s even reported, and its prevalence – as we shared on the call – is

extremely low.”

       452.    In October 2023, Walmart requested further information from Meta on where its

advertisements were appearing in advance of a meeting on “brand safety.” Meta confirmed that

Walmart advertisements were being displayed on unapproved channels, responding that “there is

some minimal exposure to placements that you’ve not approved.” That same month, Walmart

continued to question why its ads were running next to illicit content. A Meta employee attributed


                                                210
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 215 of 259




it to the Wall Street Journal’s searches and advised that his “gut feeling is that this was really bad

luck.” The Walmart employee, frustrated with the lack of explanation, responded that he needed

updates “and bad luck isn’t going to cut it.”

       453.    Walmart’s frustration extended into November 2023. Given Meta’s inability to

prevent Walmart advertisements from appearing in connection with illicit content, Walmart

requested that Meta customize its “Business Manager” (the tool used to manage the placement of

advertisements) and pay for 90 days of third-party monitoring to ensure appropriate placement of

Walmart advertisements. Meta refused. In response, Walmart questioned the accuracy of Meta’s

representations that its existing tools were sufficient to protect Walmart’s brand safety: “[W]e are

the brand finding these infractions and also being publicly called out. You mention repeatedly that

you have shared accountability here, but to us, it feels like all of the onus and work sits with

Walmart and those activating campaigns. And no matter how perfectly we do that, we run the risk

of running alongside inappropriate content.”

       454.    On November 27, 2023, the Wall Street Journal ran another article entitled

“Instagram’s Algorithm Delivers Toxic Video Mix to Adults Who Follow Children,” which

reported that “[c]ompanies whose ads appeared beside inappropriate content in the Journal’s tests

include Disney, Walmart” and others. The article noted specifically that an ad for Walmart “ran

after a video of a woman exposing her crotch.” Several days later, a marketing representative at

the company sent a scathing email to Meta referencing the parties’ prior discussions and

complaining that Walmart “do[es] not believe our concerns are being adequately addressed.”

Notwithstanding Meta’s prior representations concerning notifying partners about problematic




                                                 211
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 216 of 259




placements, the marketing representative laid bare his disappointment with Meta’s inability to

prevent illicit content on its platforms, despite its representations to the contrary:




        455.    On information and belief, the experiences of Match and Walmart are emblematic

of a larger problem. Having received Meta’s misleading claims concerning its ability to safeguard

its platforms and the ability of Meta’s business controls to protect the display of advertisements in

connection with offensive and/or illicit content, advertisers seeking to sell their goods in New

Mexico have found that Meta’s claims regarding the content of its platforms are false and that its

tools are ineffective.

    XIX. ADDITIONAL ALLEGATIONS RELATING TO MARK ZUCKERBERG

        456.    The documents and decisions described in this Complaint make clear that, on the

decisions that mattered to children and parents in and beyond New Mexico, Mark Zuckerberg

called the shots. Meta executives frequently raised with Zuckerberg issues regarding product

features and design choices for “MZ [Mark Zuckerberg’s] feedback” or decision and, time after

time, despite his professed commitment to protect children, Zuckerberg made decisions that caused


                                                 212
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 217 of 259




children on Meta’s platforms to be less safe. He promised publicly that he directed that Meta

safeguard children, but privately demanded and delivered the opposite. Zuckerberg, personally,

was presented with requests for resources to ensure product integrity and safety, which he denied,

and alarming statistics about the harm being caused by Meta’s products, including specific

features, which he chose to continue or not address. Moreover, Zuckerberg, personally, made

statements that misled the public about Meta’s conduct and its consequences, as laid out in this

complaint.

        457.     From the company’s origin, Zuckerberg developed and defined the architecture of

Facebook, and then Meta. He co-engineered the decisions to design Facebook to “consume as

much . . . time and conscious attention as possible.”153

        458.     Since then, Zuckerberg has knowingly misrepresented both his understanding and

intention that Facebook was constructed to create addiction. Asked in a November 2020

Congressional hearing, “do you believe your product can be addictive,” Zuckerberg responded,

“we certainly do not design the product in that way.”154 Yet, the year before, on April 8, 2019,

Meta’s Vice President of Product, Choice and Competition, David Ginsberg, emailed Zuckerberg

with a request to “address problematic use” on Facebook and Instagram because internal and

external research established that “problematic use” [i.e., addiction (which affected 58% of users),

social comparison (45% of users), and loneliness (43% of users)] were the “three negative drivers



153
    Alex Hern, Never Get High on Your Own Supply—Why Social Media Bosses Don’t Use Social Media, THE
GUARDIAN (Jan. 23, 2018), https://www.theguardian.com/media/2018/jan/23/never-get-high-on-your-own-supply-
why-social-media-bosses-dont-use-social-media.
154
    Breaking the News: Censorship, Suppression, and the 2020 Election: Hearing Before the S. Comm. on the Jud.,
116 Cong. (2020) (Statement of Mark Zuckerberg); see also Facebook CEO Mark Zuckerberg on Whether Products
are Addictive: “We Certainly Do Not Design the Product in that Way[,]” THE RECOUNT, (Nov. 17, 2020),
https://therecount.com/watch/facebook-ceo-mark-zuckerberg-on/2645864077.

                                                     213
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 218 of 259




that occur frequently on [our platform] and impact people’s well-being.” A few months later, on

August 30, 2019, still before his 2020 appearance before Congress, Facebook staff emailed

Zuckerberg to prepare him for a meeting with a “leading researcher on the topic of social media

and its effect on mental health and suicide amongst teens.” While his staff voiced skepticism of

the causal link, they counseled Zuckerberg to acknowledge that “we understand that Facebook can

be used in problematic ways and are proactively investing in research, product improvements, and

campaigns, to address these issues.”

        459.     In testimony to Congress in March 2021, Zuckerberg falsely denied that he made

“money off of creating an addiction to [his] platforms”155 and contended that he did not set “goals

around increasing the amount of time that people spend” on the platform.156 As laid out above,

Meta has developed, implemented, and declined to rein in product features—such as autoplay,

ephemeral content, infinite scroll, and notifications— that were designed to hook users, especially

teenage users, on Facebook and Instagram. Upon information and belief, Meta’s “Teen Mental

Health Deep Dive” research confirmed to Zuckerberg that Meta’s design was working, instilling

in teenagers “an addicts’ narrative about their use” who “wish they could spend less time caring

about it” but they “can’t help themselves.”

        460.     Contrary to his testimony, Meta—and Zuckerberg specifically—have explicitly

aimed to increase the time spent on the platform, especially by teens. In a December 2015 email

to Susan Li, Meta’s Chief Financial Officer, and David Wehner, the Chief Strategy Officer,



155
    Disinformation Nation: Social Media’s Role in Promoting Extremism and Misinformation: Hearings Before the
H. Subcomms. on Commc’n & Tech., Consumer Prot. & Commerce, and Comm. on Energy & Com., 117 Cong. at
107:2491-2497 (2021) (Statement of Mark Zuckerberg), https://www.congress.gov/117/meeting/house/111407/
documents/HHRG-117-IF16-Transcript-20210325.pdf. (last visited Dec. 1, 2023).
156
    Disinformation Nation, supra note 155, at 69:1551-1575

                                                     214
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 219 of 259




Zuckerberg described his goals for 2016, including to see “[t]ime spent increase[] by 12%” within

three years and, for Instagram, by 10% within five years. A Facebook presentation titled “2017

Teens Strategic Focus” described Meta’s goal, consistent with “Mark’s [decision] that the top

priority for the company in 2017 is teens” to “increase U.S. teen time spent” through Instagram

direct and stories.

        461.     Zuckerberg also deceptively portrayed Facebook as a safe space for children,

despite substantial evidence of the harms to children through both the child exploitation and mental

health consequences described in this Complaint. In a message he posted on October 6, 2021,

Zuckerberg sought to reassure that “We care deeply about issues like safety, well-being and mental

health,” at the same time that Zuckerberg was making decisions not to address harmful features on

the platform like cosmetic filter or address findings on addiction, self-harm, and unwanted sexual

advances to teenagers. At the 2021 Congressional hearing, Zuckerberg stated that he did not

believe that Facebook harms children, explaining, “This is something that we study and we care a

lot about; designing products that [sic] peoples’ well-being is very important to us.”157

        462.     Zuckerberg doubled down in follow-up testimony to Congress after Frances

Haugen’s disclosure of Facebook documents, and a post on his Facebook page, assuring consumers

personally that “it’s very important to me that everything we build is safe and good for kids.” He

continued: "when it comes to young people's health or well-being, every negative experience

matters. It is incredibly sad to think of a young person in a moment of distress who, instead of

being comforted, has their experience made worse.”158


157
   Disinformation Nation, supra note 155, at 175: 4166–4175.
158
   Salvador Rodriguez, Zuckerberg Rejects Claims That Facebook Prioritizes Profits Over User Safety, CNBC
(Oct. 5, 2021), https://www.cnbc.com/2021/10/05/zuckerberg-denies-that-facebook-prioritizes-profits-over-user-
safety.html.(last visited Dec. 1, 2023).

                                                      215
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 220 of 259




       463.    In order to maintain this public image, Zuckerberg and his team crafted his public

comments to omit information that revealed Meta’s deficiencies in addressing child sexual

exploitation on its platforms. In a May 20, 2019 email, Derick Mains, a communications staffer,

briefed Zuckerberg in advance of a CSER call and provided a script for his public comments.

While the background provided to Zuckerberg listed “child nudity and sexual exploitation of

children, along with bullying and harassment and adult nudity and sexual activity, as ‘Areas of

regression,’” Zuckerberg’s comments listed only “bullying, harassment and nudity” as issues on

which “we have a ways to go,” omitting the critically important and identified deficiencies

regarding child sexual exploitation.

       464.    Inconsistent with his public representations regarding Meta’s commitment to child

safety, Zuckerberg had been specifically warned that Meta’s policies with regard to teen suicide

and self-harm were inadequate and indefensible. A January 26, 2019 email thread involving Nick

Clegg, Vice President of Global Affairs, and Antigone Davis began with a comment from Chris

Norton:

               As you know, the Sunday Times will tomorrow run a (likely) front-page
               story with 30 families of suicide victims accusing Instagram of killing their
               children. The Government will write to us to tell us we need to do more and
               that this is a watershed moment. In my view it is. The Instagram team have
               been handling and doing their best to communicate why we have the current
               set of policies. I understand that there is an XFN [(cross functional team)]
               that is looking at those policies and trying to get experts to defend us. We
               are defending the status quo when the status quo is clearly unacceptable to
               media, many impacted families, and when revealed in press, will be
               unacceptable to the wider public.

Despite having been warned that Meta’s policies with respect teen self-harm and to age limits and

restrictions for content were “unenforced” and insufficient, Zuckerberg both failed to take

appropriate steps to protect children from harm on the platforms, failed to publicly disclose the

                                               216
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 221 of 259




risks of self-harm and suicide associated with use of Meta’s platforms, and continued to

misrepresent that Meta’s platforms are “safe and good” for kids.

       465.    Contrary to his promised commitment to safeguard children and other users of the

platforms, Zuckerberg over and over again made or approved decisions that put user engagement

and Meta’s revenue ahead of its users’ health and safety. On April 14, 2017, Instagram co-founder

Kevin Systrom emailed Zuckerberg to ask for more staff for “Integrity” at Instagram. Zuckerberg

noted that he had committed to additional staff for integrity and promised to include “IG in this

mix,” but pointed out that Facebook had “more extreme issues . . . with the [Christchurch] murder,

bad activity in private groups, etc” – making clear that Meta still had not addressed critical safety

issues on its legacy platform.

       466.    Fearing that Zuckerberg did not “understand the urgency of working on integrity

related issues at IG,” Systrom reached out to colleagues to collect examples of equally dangerous

issues at Instagram, which included that “46% of [users] surveyed reported experiencing

bullying/harassment on IG” and that “30% [of those users] were harassed 4-10+ times”; “50%

reported receiving unwanted or offensive comments”; “[t]eens delete twice the [percentage] of

comments from unconnected commenters”; “25% of all deleted comments come from repeat

bullies”; and “[m]any of the profiles that are ultimately disabled have not posted anything and

appear to be created expressly to troll comment threads.” The list also noted that there was no

detection system for self-harm and bullying and that: “recently, ‘death group’ hashtags in Russia

encouraged teenagers to commit suicide. We don’t have a systematic way to discover or monitor

these hashtags” except manually. “Shielded accounts” have livestreamed sex acts, but, because of

their status, were “immune” to attempts to take down their posts.


                                                217
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 222 of 259




        467.    With this backdrop, Systrom replied to Zuckerberg on April 21, 2017 to note that

issues were equally bad at Instagram, where “[l]ast weekend a boy shot himself on IG live” and

there were an average of three live videos a week involving “imminent danger from issues ranging

from self harm to child exploitation.” His email also confirmed that celebrities had remedies

available to them that were not available to average teen users. Bullying of some of Instagram’s

top accounts, such as Justin Bieber, Beyonce, and Selena Gomez, got special attention or resulted

in the accounts being deleted. But the typical teen user did not receive similar treatment from

Instagram and, as Meta already knew, could not readily delete their accounts.

        468.    Likewise, Ginsberg’s April 2019 email to Zuckerberg, described above, also noted

the need for additional engineering staff focused on building well-being “tools/products to address

problematic use” on the platform because “[c]urrent research (internal and external) tells us that . . .

there is increasing scientific evidence (particularly in the US. . .) that the average net effect of [our

platforms] on people’s well-being” is “slightly negative.” The email asked for 24 additional staff to

understand problematic use on Instagram and to “to build tools/products to address problematic

use” on Facebook. The email warned that, without the investment, research would proceed at “a

slower pace (and NO product changes).” Particularly at Instagram, Ginsberg warned that there

would be no other staff to devote to the work. CFO Susan Li, presumably communicating

Zuckerberg’s decision on this issue, responded to the email and rejected the requested staffing,

though noting that “both Mark and Sheryl wanted to emphasize they think this is work worth

doing.” Even though Facebook’s revenue was more than $70 billion, an increase of more than $15




                                                  218
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 223 of 259




billion over 2018,159 Li warned that any additional staff would be hard to come by, and Mosseri

responded that Instagram would not fund it either.

        469.    A few months later, in September 2019, the heads of Instagram and Facebook,

Mosseri and Fidji Simo, respectively, emailed regarding how to address users’ well-being. Mosseri

recounted the history:

                Early 2019, Chris Cox was looking into us doing more on [well-being], came
                to David Ginsberg and asked him what it would take to 10x well-being, which
                resulted in a plan that was reviewed with Chris Cox and Sheryl Sanberg and
                then was submitted to Mark as an incremental ask, maybe ̰10 engineering
                and ̰15 XFN. They were told to do this, but self-fund, which ended up punted
                given other ambiguities.

Zuckerberg, in other words, did not make additional staff available to scale up Meta’s work to

improve well-being. In defining the problem, they “100% agree[d]” that “the main problem is that

we need to increase investment.” Mosseri observed that “Well-being is the existential question

we face,“ and contrary to Zuckerberg’s representations, Meta “lack[ed] . . . a roadmap of work that

demonstrates we care about well-being.”

        470.    More than four years after Systrom initially sounded the alarm to Zuckerberg, on

August 21, 2021, members of Instagram’s Well-being Team sent an email to senior executives

laying out the need to add staff to the “currently underinvested” but critical areas of “problematic

use,” as well as “bullying+harassment, connections, [and Suicide and Self-Injury (SSI)]” for teens,

noting that “[t]hese topics are highly aligned with what teens want Facebook and Instagram to

prioritize.” On August 27, 2021, Clegg forwarded the email to Zuckerberg, endorsing the request

and saying it was “increasingly urgent” to address “concerns about the impact of our products on


159
  https://s21.q4cdn.com/399680738/files/doc_news/Facebook-Reports-Fourth-Quarter-and-Full-Year-2019-
Results-2020.pdf

                                                   219
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 224 of 259




young people’s mental health.” Clegg explained that “we need to do more and we are being held

back by a lack of investment on the product side which means that we’re not able to make changes

and innovations at the pace required.” He said the company’s “wellbeing work is both understaffed

and fragmented” and warned that “[w]e are not on track to succeed for our core well-being topics

(problematic use, bullying & harassment, connections, and SSI).”

        471.     Despite Zuckerberg’s statements that he was personally committed to ensuring that

Meta’s products were “safe and good for kids” and the urgency of these issues for both teens’

mental health and Meta’s public image, Zuckerberg did not respond to Clegg’s email. Three

months later, on November 10, 2021, Clegg sent Zuckerberg a follow-up email with a “scaled . . .

back” request on the number of staff, but urged that “this investment is important to ensure we

have the product roadmaps necessary to stand behind our external narrative of well-being on our

apps.” Susan Li again responded for Zuckerberg to note “constrained” staffing.

        472.     Instead of approving the requested staffing needed to meet Meta’s avowed

commitment to teens’ well-being, upon information and belief, Zuckerberg would have been the

one to have approved, if not initiated, the decision in September 2022 to disband Meta’s

Responsible Innovation Team and cut at least 16 members of Instagram’s well-being group and

more than 100 positions related to trust, integrity and responsibility.160




160
   Jeff Horwitz, Facebook Parent Meta Platforms Cuts Responsible Innovation Team, WALL ST. J. (Sept. 8, 2022),
https://www.wsj.com/articles/facebook-parent-meta-platforms-cuts-responsible-innovation-team-11662658423;
Brandon Vigliarolo, Meta Disbands Responsible Innovation Team, Spreads it out Over Facebook and Co, THE
REGISTER (Sept. 9, 0222), https://www.theregister.com/2022/09/09/meta_disbands_responsible_innovation_team/;
Hayden Field, et al., Tech Layoffs Ravage the Teams that Fight Online Misinformation and Hate Speech, CNBC
(May 26, 2023), https://www.cnbc.com/2023/05/26/tech-companies-are-laying-off-their-ethics-and-safety-teams-
.html.

                                                      220
      Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 225 of 259




        473.     In the same spirit of disregard for teen’s mental health and safety, Zuckerberg

decided to retain cosmetic surgery filters despite an internal consensus that these filters harm

teenagers, especially teenage girls, out of concern that this step might decrease engagement on the

platforms. Cosmetic surgery filters allow users to manipulate photos to model the impacts of

cosmetic surgeries or other cosmetic “enhancements” and expose users to photos filtered by

others.161

        474.     As Margaret Gould Stewart, Vice President of Product Design, recounted after a

“PR fire” in October 2019, Meta put in place a temporary ban on cosmetic filters. On November

12, 2019, Gould Stewart emailed Mosseri, Simo, and the Head of Policy for Instagram, Karina

Newton, to seek support to bar “effects that mimic plastic surgery,” including plastic surgery filters

because of the negative “impacts that th[e]se effects were having on mental health and wellbeing,

especially for more vulnerable users (youth, women).” There was broad support for Gould

Stewart’s proposal until Andrew Bosworth, Chief Technology Officer, offered that Zuckerberg

“might want to review before implementing” because Zuckerberg questioned whether these filters

actually “represent[] real harm.”

        475.     Gould Stewart indicated that she was “surprised” by Zuckerberg’s reaction since

“all teams were in support of these guidelines” and provided “academic research and external

engagement that was conducted before forming the policy recommendations” that “outlines some

compelling motivations for formalizing these policies.” Newton also responded to support

removing the filter, which is “overwhelmingly used by teen girls”: “it’s been our strong



161
  Help Center, Apply Filters to Your Post on Instagram, INSTAGRAM, https://help.Instagram.com/
453965678013216 (last visited 11/14/2023)

                                                     221
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 226 of 259




recommendation from comms, marketing, policy, and engagement with nearly 20 outside experts

and academics that we pass this policy.” She continued: “we’re talking about actively

encouraging young girls into body dysmorphia [a mental health condition involving a focus on

perceived flaws in appearance] . . . that can result in serious issues.” Background materials also

noted that Google had invested heavily in research on “camera beautification” and “their

conclusions have been similar to ours.”

         476.   Zuckerberg received a briefing (or “pre-read”) in advance of a meeting set for April

2, 2020 "to decide whether to continue, modify or lift the temp[orary] ban on Cosmetic Surgery

ARR that [they] instituted in October 2019." The pre-read repeated the consensus of nearly two

dozen independent experts consulted by Meta that “these effects are cause for concern for mental

health and wellbeing, especially amongst vulnerable populations (females, youth, those with a

history of mental health concerns, etc.)” and that, especially for children, “[t]hese extreme

cosmetic surgery effects can have severe impacts on both the individuals using the effects and

those viewing the images.” The meeting was abruptly cancelled and Zuckerberg instead emailed

his desire to find “a way to relax or lift the ban on cosmetic effects,” which Zuckerberg then

formalized. The pre-read briefing clearly stated that this option “still [had] notable wellbeing risk

(since recs [were] a marginal source of virality).” Saying, despite the pre-read’s detailed summary

of the evidence, that he had seen “no data” that filters were harmful, Zuckerberg cited “clear[]

demand” for the filters.

         477.   Gould Stewart warned Zuckerberg: “I don’t think it’s the right call given the risks.

... I just hope that years from now we will look back and feel good about the decision we made

here.”


                                                222
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 227 of 259




       478.    In an April 2020 email, Zuckerberg provided his personal views, which

contradicted much of the internal evidence Meta had gathered. Notwithstanding Meta’s

“engagement with nearly 20 outside experts,” Zuckerberg remained skeptical: “It has always felt

paternalistic to me that we’ve limited people’s ability to present themselves in these ways,

especially when there’s no data I’ve seen that suggests doing so is helpful or not doing so is

harmful, and that there’s clearly demand for this type of expression. I’m generally supportive of

finding a way to relax or lift these bans.” Zuckerberg ultimately supporting “lifting restrictions”

on the cosmetic surgery filters “but not promoting on IG.” He made this recommendation even

though the supporting documentation noted that “[r]eversing this decision undermines Instagram’s

well-being commitment and jeopardizes any future efforts to work with policymakers and mental

health experts on these issues.”

       479.    Similarly, on April 22, 2020, “MZ Feedback” was shared with the Integrity XFN.

Zuckerberg’s feedback addressed recommendations of the Soft Actions Task Force, which was

tagged to provide “Big ideas to reduce prevalence of bad content in News Feed.” The Task Force

noted that, in addition to removing violating content (a hard action), Facebook could take soft

actions, short of removal, such as demoting the placement of content or users in the platforms’

feeds, that would “reduce the prevalence of bad content,” such as hate, graphic violence and,

relevant here, nudity or pornography (or “N&P”), effectively burying this content so that users

were less likely to encounter it. The Task Force estimated that Meta could remove roughly 17%

of N&P (with a margin of +/- 10%) and could reduce the prevalence of N&P by another roughly

17%--doubling its efficacy--by demoting content that was probably violating nudity and

pornography standards, and another 17% by demoting Probable Violating Accounts. The Task


                                               223
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 228 of 259




Force expected that these demotions would not result in a “decrease in likes,” interactions, or

sessions. However, Zuckerberg would only support demoting Probable Violating Content as a

“break the glass measure” and was “[n]ot supporting of account-level demotion, so we will NOT

be launching this.” When an employee comment in an internal message board asked whether this

applied also to terrorism, drug sales, and human trafficking, the response was “Generally yes.”

Because of the risk that some content might be wrongly flagged, Zuckerberg, dangerously and

contrary to his public assurances, chose the path that made Facebook less “safe” and less “good”

for kids--and everyone else.162

           480.    Zuckerberg is also personally responsible for his failure to take action to address,

and Facebook’s repeated misrepresentations regarding, users’ negative experiences on Facebook

and Instagram. On October 5, 2021, Bejar emailed Zuckerberg and other senior executives

regarding a “critical gap” between Meta’s public statements regarding the prevalence of harmful

content on its platform and the actual experiences of users. Bejar summarized and attached the

results of the BEEF survey that provided “ground-level truth” regarding the impact that Facebook

and Instagram were having on its users, especially young users. This should have been a five-alarm

call to Zuckerberg, but he—once again—failed to respond.

           481.    The email provided a dark picture of the platform’s success in addressing harmful

content: 51% of Instagram users said “yes” to having had a bad or harmful experience in the last

7 days. Nearly 22% of 13-15 year olds were the targets of bullying on the platforms and 39% of

13-15 year olds experienced negative comparisons, Bejar reported. Most shocking, “24.4% of 13-

15year old[s] . . . said they received unwanted advances.”


162
      https://s3.documentcloud.org/documents/23596616/tier3_force_ro_0420.pdf

                                                       224
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 229 of 259




       482.    Bejar asked Zuckerberg: “what if policy based solutions,” grounded in publicly

reported prevalence data, “only cover a single digit percentage of what is harming people?” Bejar

urged Zuckerberg to prioritize and fund initiatives that would identify the content that is causing

bad experiences for users, especially the most intense bad experiences, and to determine how much

of that content violates Meta’s current policies – which is what drives (and, thus, what limits) the

identification, removal, and reporting of illegal, negative, and dangerous content and ensures that

it is not amplified through Meta’s algorithms. Zuckerberg, who Bejar stated typically responded

to his emails, did not respond to him. Two years later, Meta and Zuckerberg continue to publicly

disclose and rely on the prevalence of policy-violating content to promote the success of its efforts

to address activity that degrades teens’ mental health and sexually exploits children, rather than

devoting more (or even maintaining current) resources to understand and address this content.

       483.    Deposed during attorneys general’s investigation of Meta, Bejar testified that he

believed that Zuckerberg and other company leaders focused on a prevalence measure “because it

created a distorted picture about the safety of Meta’s platforms.” When asked if he thought “Mr.

Zuckerberg’s public statements about prevalence created a misleading picture of the harmfulness of

Meta’s platforms,” Bejar testified, “I do.” Bejar made this point during his testimony to attorneys

general, saying that each time prevalence statistics are used publicly, “they’re minimizing the

harms that people are experiencing in the product.” Creating both an image and strategy built on

the falsehood that children and teens were devotedly and fully protected on the platforms,

Zuckerberg not only deceived the public but undermined Meta’s ability to obtain accurate

information that would have better enabled it to identify, remove, and avoid amplifying features and

content that harm children and teens.


                                                225
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 230 of 259




       484.    Zuckerberg failed to ensure that Meta corrected its algorithms for recommending

users and content, despite the company’s knowledge that the algorithms were providing “egregious

content” to young users. Meta did not adopt design changes it tested, even though they produced

“a meaningful drop in exposure,” because such changes “came with a clear engagement cost.”

       485.    In the same vein, in 2018, Zuckerberg also made clear that the number of users on

Facebook (“DAP,” or daily average persons) would take priority over any changes to Meta’s

policies to reduce notifications. As one employee noted: “Fundamentally, I believe that we have

abused the notifications channel as a company.” Cox agreed and offered that Meta should not

back off from doing what was “better for people” because usage metrics were down. Zuckerberg

disagreed. “US DAP is a bigger concern for Mark right now than user experience.” The email

continued: “I understand that NF/Notifications serve many interests, but we got a very clear and

strong message from Mark that DAP (and specifically US DAP) is extremely important and we

must change the trajectory from the negative one it’s on now.”

       486.    Zuckerberg also personally made decisions on whether posts or content should be

removed as violating Meta policy and, by implication, made decisions on whether posts or content

would remain on Meta’s platforms. Internal documents provided by Haugen acknowledged that

“Facebook routinely makes decisions about algorithms based on input from Public Policy.” Unlike

the team devoted to Content Integrity, Public Policy “typically are interested in the impact on

politicians and political media, and they commonly veto launches [product changes] which have

significant negative impacts on politically sensitive actors.” Further, “Final calls about content

policy are routinely made by senior executives,” and “In multiple cases the final judgment about

whether a prominent post violates a certain written policy are made by senior executives,


                                               226
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 231 of 259




sometimes Mark Zuckerberg.” The author(s) then questioned: If our decisions are intended to be

an application of a written policy then it’s unclear why executives would be consulted.”

        487.    Upon information and belief, given that public attention to Meta’s well-being and

child safety initiatives would have elevated the importance of the issues and Zuckerberg’s

involvement in other similar decisions, Zuckerberg was responsible for making, or declining to

reverse, numerous other decisions to drop or limit proposals that would have decreased teens’

addiction or mental health harms and protected children from child sex exploitation and abuse.

These included deploying an ineffective “time spent” tool that fails to help teenagers limit their

use of the platforms, rejecting a default setting to hide “likes,” and refusing to turn off notifications

to teenagers at night. Zuckerberg also would have been the decision-maker for the termination of

research and surveys that revealed negative information and for directing Meta employees to not

document critical findings and proposals to address these findings, along with drastic cuts to the

number of human investigators and other safety, well-being, and integrity personnel.

        488.    The fact that Zuckerberg acted within the broad scope of his position as Meta’s

founder, chair, and CEO, is not a defense to his liability; it is, instead, an indictment of his failures.

However, it is because of the role that Zuckerberg, individually, played in directing, carrying out,

ratifying, and refusing to acknowledge or address Meta’s unlawful, unfair and deceptive conduct

that Zuckerberg is individually liable for the violations of law described in this Complaint.




                                                  227
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 232 of 259




    XX.      CAUSES OF ACTION

                                      COUNT I
                 VIOLATION OF NEW MEXICO UNFAIR PRACTICES ACT
                     (UNFAIR OR DECEPTIVE TRADE PRACTICES)
                              NMSA 1978, § 57-12-1 to -26
                               (Against All Defendants)

          489.   The State re-alleges all prior paragraphs of this Complaint as if fully set forth

herein.

          490.   The Unfair Practices Act (“UPA”) prohibits “[u]nfair or deceptive trade practices

and unconscionable trade practices in the conduct of any trade or commerce.” NMSA 1978, § 57-

12-3 (1971).

          491.   Defendants are engaged in “trade” or “commerce” as defined by the UPA, which

“includes the advertising, offering for sale or distribution of any services and any property and any

other article, commodity or thing of value, including any trade or commerce directly or indirectly

affecting the people of this state.” NMSA 1978, § 57-12-2(C) (2019). Defendants advertise, offer

and distribute their internet platforms within New Mexico and to New Mexico residents.

          492.   The UPA defines an “unfair or deceptive trade practice” as “a false or misleading

oral or written statement, visual description, or other representation of any kind knowingly made

in connection with the sale . . . of goods and services . . . in the regular course of the person’s trade

or commerce, that may, tends to or does deceive or mislead any person.” Section 57-12-2(D).

          493.   The UPA provides an inclusive rather than exhaustive list of examples of unfair or

deceptive trade practices. These include the following: “representing that goods or services are of

a particular standard, quality or grade . . . if they are of another[;]” “making false or misleading

statements of fact concerning the price of goods or services[;]” and “using exaggeration, innuendo


                                                  228
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 233 of 259




or ambiguity as to a material fact or failing to state a material fact if doing so deceives or tends to

deceive[.]” Section 57-12-2(D).

       494.    Meta does not require a monetary exchange from New Mexican consumers in order

for them to use Meta platforms, but Meta made representations about its platforms in connection

with the sale of goods and services. Specifically, Meta sells advertising, and Meta increases its ad

revenue by requiring consumers to agree to the use of their private data for targeted advertising.

Meta collects its users’ data and then uses it to generate revenue.

       495.    In addition to offering, advertising, and distributing its social media platforms in

New Mexico, Meta thus receives revenue both for showing ads to New Mexico consumers and

also for harvesting New Mexico consumers’ personal data, including information about their

activities and interests, to target advertising and thereby increase its revenue from selling ads.

Meta’s platforms also facilitate the sale of goods and services, both through advertisements that

Meta directs to New Mexico residents and within New Mexico in exchange for a fee, and by

providing space for users to offer, buy and sell merchandise (“Facebook Marketplace”). Meta

charges and collects a fee when items are sold on its Marketplace, including in New Mexico. Meta

enables users to monetize their accounts in order to sell subscriptions or permit advertisements to

be placed on their platforms. Additionally, users may receive “stars” that other users purchase from

Meta and those “stars” can be monetized by the user as well.

       496.    At all times relevant herein, the Defendants violated the UPA, NMSA 1978, §§ 57-

12-1 to -26 (1967, as amended through 2019), by committing repeated and willful unfair or

deceptive acts or practices in the conduct of commerce, both of which are violations of the UPA.




                                                 229
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 234 of 259




       497.    The Attorney General is authorized to bring an action in the name of the State to

remedy violations of the UPA. NMSA 1978, §§ 57-12-8(A) (1978), 57-12-15 (1967). This action

is proper in this Court because Defendants are using, have used, and continue to use practices that

are unlawful under the UPA. Section 57-12-8(A).

       498.    Defendants’ conduct, as alleged in the foregoing paragraphs, violated the UPA

because Defendants knowingly made numerous false or misleading oral or written statements,

visual descriptions, or other representations in connection with the sale of goods and services that

had the capacity or tendency, or actually did, deceive or mislead any person.

       499.    In numerous instances, Defendants’ public statements and communications

knowingly misrepresented, directly or indirectly, expressly or by implication, that their platforms

were not addictive, that they prioritized young users’ well-being over profits, and that their

platforms were safe, while concealing and/or misrepresenting their internal knowledge that the

frequency of harms and harmful material or conduct encountered by young users on their platforms

was far more pervasive than Defendants’ public statements revealed.

       500.    Specifically, Defendants have willfully, knowingly, and repeatedly violated the

Unfair Practices Act by engaging in multiple deceptive acts and practices that duped young users,

their families, its own advertisers, and the public regarding the safety of their platforms and Meta’s

efforts in prioritizing well-being. Defendants engaged in misrepresentations, omissions, and/or

active concealment to advertisers, news media and the general public, including New Mexico

children, that falsely and misleadingly asserted, inter alia, that:

                   a. Users of Defendants’ social media platforms did not encounter significant

                       levels of harmful content, including content related to CSAM and human


                                                 230
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 235 of 259




              trafficking, including by relying on a misleading prevalence metric that

              Defendants had reason to know did not accurately reflect the levels of

              harmful content appearing on their platforms;

           b. Defendants would take actions to enhance the safety of their platform even

              at the expense of profits or losing users when, in fact, Defendants would

              subordinate safety decisions to other factors, including profits or

              competitive advantage;

           c. Defendants dedicated sufficient and adequate resources to policing its social

              media platforms (including removal of banned content) when, in fact,

              internal documents confirmed that Defendants’ resources were admittedly

              inadequate to address the vast amounts of harmful, illicit, and inappropriate

              content appearing on its platforms;

           d. Defendants reported all illicit CSAM material on their platforms to the

              proper authorities, including to the NCMEC, when, in fact, significant

              numbers of illicit CSAM material on Defendants’ platforms were not

              reported;

           e. Defendants’ social media platforms, including Facebook and Instagram, are

              not designed to be addictive when they are so designed;

           f. Defendants prioritized young users’ well-being, when in fact Defendants

              repeatedly chose not to invest in well-being initiatives and deliberately

              decided not to implement measures they knew could reduce harms to youth;




                                       231
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 236 of 259




           g. Defendants’ research regarding the effect of removing or hiding public

              “like” counts on its content (Project Daisy) was inconclusive, when in fact

              the research demonstrated that such an action would have significantly

              improved users’ well-being;

           h. Defendants’ algorithms are designed to “tailor” an experience to a user,

              when in fact the algorithms are designed to increase usage and engagement

              on the Meta’s platforms;

           i. Defendants collect data for benign purposes, such as “to research and

              innovate for social good,” or “to provide measurement, analytics and

              business services” for third parties, or for individuals who “rely on our

              Products to run or promote their businesses,” when in fact Defendants

              collect data in order to ensure users remain on their platform and in order to

              increase engagement with Meta’s platforms at all costs;

           j. Defendants’ social media platforms, including Instagram, are safe for young

              users while concealing their internal research showing the high frequency

              at which young users experienced harms from their use of the platforms or

              viewed content or encountered activities on its platforms that Defendants

              had identified as harmful;

           k. Defendants’ protocols for preventing use of their platforms by children

              under the age of 13 were adequate when, in fact, Defendants internally

              admitted their measures were little more than pretext and that children




                                       232
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 237 of 259




                       readily lied about their age in order to gain access to certain features of the

                       platforms;

                   l. Defendants’ tools and controls available to advertisers were sufficient to

                       permit those advertisers to control and adjust the placement of their

                       advertising in order to avoid placement of their advertisements in

                       connection with inappropriate, offensive or sexually explicit content, when,

                       in fact, those tools did not consistently prevent such placements;

                   m. Defendants would notify advertisers of instances wherein their

                       advertisements were displayed in connection with inappropriate, offensive

                       or sexually explicit content, when, in fact, they did not make such

                       notifications; and

                   n. Defendants’ enforcement of its Community Standards meant that

                       advertisers’ advertisements would not appear in connection with

                       inappropriate, offensive or sexually explicit content, when, in fact,

                       advertisements were placed adjacent to or following such content on

                       multiple occasions.

       501.    Defendants failed to disclose the harmful effects, content, and activities on its

platforms, including as laid out below, which was misleading particularly in light of affirmative

statements regarding the safety of their platforms:

                a. Failed to disclose the incidence and risk of addiction, depression, anxiety,

                    sleep deprivation, eating disorders, suicide, negative self-image and




                                                233
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 238 of 259




            dysmorphia, and other self-harms associated with use of its platforms by young

            users;

         b. Failed to disclose the incidence and risk of exposure to CSAM, sexually

            explicit and other inappropriate activity and content by young users, and the

            grooming, solicitation, and sexual advances of young users of its platforms;

         c. Failed to disclose that Defendants failed to adequately address the existence of

            sexually explicit conduct and activity and other self-harm or harmful content

            on its platforms and connected young users to such dangerous content and

            users through its algorithms;

         d. Failed to disclose that is algorithms were designed to leverage young users’

            dopamine responses and create an addictive cycle of engagement;

         e. Failed to disclose that its algorithms collect data in order to fuel young users’

            compulsive use of Meta’s platforms;

         f. Failed to disclose that its algorithms will deliver harmful content to a user who

            clicks on such content, and failed to disclose the existence of “flywheels” or

            “rabbit holes” frequently caused by Meta’s algorithms;

         g. Failed to disclose its knowledge that the use of its prevalence data

            misrepresented the scope and severity of harms to young users of its platforms;

         h. Failed to disclose its knowledge that certain features of its platforms,

            including, but not limited to, its algorithms, the presence of public “like”

            counts, the use of “infinite” or “ephemeral” content and its inclusion of image

            filters, had detrimental effects on the well-being of young users;


                                        234
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 239 of 259




                i. Failed to disclose that Meta did not remove all banned content it encountered

                     on its platforms;

                j. Failed to disclose that Meta knew it had, and continued to establish, user

                     accounts for children under 13 years of age, failed to screen those accounts

                     from inappropriate and unlawful activity and conduct, and collected and used

                     data from those children;

                k.   Failed to disclose that Meta continued features, such as likes, notifications,

                     recommended posts, groups, and accounts, and filters, despite knowledge of

                     the harms these features posed to young users; and

                l. Failed to disclose that Meta’s procedures and tools were ineffective to prevent

                     advertisements from being shown in connection with content that violated

                     Meta’s Community Standards.

       502.    Specifically, and incorporating the allegations above, Zuckerberg personally made

statements or omissions that misrepresented: (i) the safety of Meta’s platforms for children; (ii)

Meta’s knowledge of the harms to children from using its platforms, including addiction, suicide,

and other self-harm and mental health consequences; (iii) his and Meta’s decision-making to

design Meta’s platforms to be addictive and to increase users’ time on the platforms; (iv) the

frequency with which children experienced harms on Meta’s platforms, and Meta’s knowledge

regarding the scope and severity of these harms; (v) his and Meta’s commitment to make decisions

to ensure the safety of children on Meta’s platforms, when Zuckerberg and the company acted to

disregard their safety and mental health, and (vi) the adequacy and efficacy of Meta’s efforts to




                                                 235
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 240 of 259




address CSEC on its platforms and its knowledge that predatory content and activities continued

to proliferate.

        503.      These statements and omissions were made to falsely reassure young users, their

parents, and the public that Meta’s platforms were safe so that Meta could continue to attract,

retain, and engage young users and thereby increase Meta’s revenues, and have prevented

consumers in New Mexico from taking steps to protect their health and well-being.

        504.      These statements and omissions were deceptive and misleading in that they, inter

alia, conveyed a false impression that Meta’s platforms had characteristics and benefits that they

did not; represented that Meta’s platforms were of a particular standard, quality or grade that they

were not; and exaggerated, omitted, and created ambiguity as to facts that Meta recognized were

material and that deceived or tended to deceive consumers.

        505.      Each deceptive act or practice engaged in by Defendants as recited above and

throughout this Complaint constitutes a separate violation of the Unfair Practices Act.

        506.      New Mexico consumers and youth are suffering, have suffered, and will continue

to suffer unjustified substantial injury as a result of Defendants’ violations of New Mexico laws.

Absent injunctive relief by this Court, Defendants are likely to continue to injure consumers and

harm the public interest.

        507.      Plaintiff, State of New Mexico, seeks all legal and equitable relief as allowed by

law, including inter alia injunctive relief, disgorgement of profits, all recoverable penalties under

Section 57-12-11 including a civil penalty of $5,000 per each violation per each Defendant named

in this Count, attorney fees and costs, and pre- and post-judgment interest.




                                                 236
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 241 of 259




                                     COUNT II
                 VIOLATION OF NEW MEXICO UNFAIR PRACTICES ACT
                           (UNFAIR TRADE PRACTICES)
                             NMSA 1978, § 57-12-1 to -26
                               (Against All Defendants)

          508.   The State re-alleges all prior paragraphs of this Complaint as if fully set forth

herein.

          509.   The UPA prohibits “[u]nfair or deceptive trade practices and unconscionable trade

practices in the conduct of any trade or commerce.” NMSA 1978, § 57-12-3 (1971).

          510.   Defendants are engaged in “trade” or “commerce” as defined by the UPA, which

“includes the advertising, offering for sale or distribution of any services and any property and any

other article, commodity or thing of value, including any trade or commerce directly or indirectly

affecting the people of this state.” NMSA 1978, § 57-12-2(C) (2019). Defendants advertise, offer

and distribute their internet platforms within New Mexico and to New Mexico residents.

          511.   In addition to offering, advertising, and distributing its social media platforms in

New Mexico, Meta receives revenue both for showing ads to New Mexico consumers and also for

harvesting New Mexican consumers’ personal data, including information about their activities

and interests, to target advertising, thereby increasing its revenue from selling ads. Meta’s

platforms also facilitate the sale of goods and services, both through advertisements that Meta

directs to New Mexico residents and within New Mexico in exchange for a fee, and by providing

space for users to offer, buy and sell merchandise (“Facebook Marketplace”). Meta charges and

collects a fee when items are sold on its Marketplace, including in New Mexico. Meta enables

users to monetize their accounts in order to sell subscriptions or permit advertisements to be placed




                                                 237
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 242 of 259




on their platforms. Additionally, users may receive “stars” that other users purchase from Meta

and those “stars” can be monetized by the user as well.

       512.    At all times relevant herein, the Defendants violated the UPA, NMSA 1978, §§ 57-

12-1 to -26 (1967, as amended through 2019), by committing repeated and willful unfair or

deceptive acts or practices in the conduct of commerce, both of which are violations of the Act.

       513.    The Attorney General is authorized to bring an action in the name of the State to

remedy violations of the UPA. NMSA 1978, §§ 57-12-8(A) (1978), -15 (1967). This action is

proper in this Court because Defendants are using, have used, and continue to use practices that

are unlawful under the UPA. Section 57-12-8(A).

       514.    Defendants’ conduct, as alleged in the foregoing paragraphs, constitutes

unconscionable trade practices because their acts and practices: (1) take advantage of the lack of

knowledge, ability, experience or capacity of New Mexico consumers—especially children—to a

grossly unfair degree; and (2) results in a gross disparity between the value received by the

consumer and the price paid. Moreover, Defendants engaged in unfair acts and/or practices within

the meaning of the UPA because their acts and practices are: (1) offensive to public policy as

reflected in common-law, statutory, or other established expression of public policy; (2) immoral,

unethical, oppressive, unscrupulous, and unconscionable; and/or (3) have caused unjustified,

substantial injury to consumers that consumers themselves could not reasonably have avoided.

       515.    Defendants’ conduct as described above constitutes unfair acts and/or practices

within the meaning of the Unfair Practices Act because, as explained above, Defendants’ acts and

practices are coercive, exploitative, abusive, deceptive, and/or predatory. The conduct described

above involves the intentional manipulation of youth behavior and the knowing disregard of illicit


                                               238
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 243 of 259




material distributed to and involving youths on Meta’s platforms. Additionally, Defendants’ acts

and practices tend to negatively affect competitive conditions by foreclosing or impairing the

opportunities of market participants, limiting consumer choice and harming consumers.

        516.    Defendants’ acts and practices, including (i) Defendants’ repeated failure to act

upon, inhibit, remove, or otherwise restrict access to illicit and/or illegal content constituting

human trafficking and/or distribution or solicitation of CSAM, (ii) Defendants’ failure to design

the platforms to restrict such content, and (iii) Defendants’ failure to properly ensure that

advertisers’ advertisements are not placed in connection with offending material are offensive to

public policy, as defined by statute and common law.

        517.    Moreover, Defendants’ design of their platforms to re-distribute and amplify

CSAM and to facilitate connecting and monetizing networks of predators soliciting or distributing

or seeking to distribute CSAM and/or engage in human trafficking are directly contrary to public

policy that prohibit this trade.

        518.    The protection of minors and other New Mexico residents from the dangers of

human trafficking and the associated mental and physical harm is a well-established objective

underlying public policy. See, e.g., NMSA 1978, § 30-52-1 (2008) (prohibiting human trafficking).

The protection of minors and other New Mexico residents from the dangers of distribution or

solicitation of CSAM and the associated mental and physical harm is a well-established objective

underlying public policy. See, e.g., NMSA 1978, §§ 30-6A-3(C) (2016) (prohibiting the

distribution of CSAM), 30-37-3.2 (2007) (prohibiting “[c]hild solicitation by electronic

communication device”); NMSA 1978, § 30-37-3.2 (2007) (prohibiting “soliciting a child under

sixteen years of age, by means of an electronic communication device, to engage in sexual


                                               239
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 244 of 259




intercourse, sexual contact or in a sexual or obscene performance . . .”). Defendants’ acts and

practices alleged herein—including Defendants’ failure to address illicit and illegal content and

the users who distribute such content—therefore offend public policy.

       519.    Because Meta lacks and historically lacked effective age verification, Meta has

obtained data from children under 13-years old in violation of public policy, because Meta failed

to provide notice and seek consent from parents before it collected or used personal information

from children. This constitutes an unfair practice under the UPA because the protection of children

under the age of 13 from online abuse and the collection of their personal information is a well-

established objective underlying public policy nationally and in New Mexico. To avoid any doubt,

the State does not assert a claim pursuant to its authority to enforce the Children’s Online Privacy

Protection Act (“COPPA”), but asserts instead that Meta’s practices in violation of COPPA

constitute unfair practices under New Mexico law.

       520.    Specifically, and incorporating the allegations above, Zuckerberg’s role in making

and approving decisions to: (i) design and maintain Facebook as addictive and to maximize the

time users, including children and teenagers, spend on the platform; (ii) fail to address age limits

and restrictions on content for the young users of Meta’s platforms; (iii) not to address, or even

respond to, data regarding the bad experiences of teenager users on Meta’s platforms, including,

but not limited to, sexual advances, suicide, bullying and harassment, depression, and body image

issues; (iv) make dramatic cuts to the safety and moderation teams and failure to increase the size

of those teams in response to executives’ requests, despite information that Meta already failed to

identify, report, and address CSAM and trafficking on its platforms; (v) not take action to address

Meta’s algorithm, despite knowledge that they amplified “egregious content” on the platform, such


                                                240
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 245 of 259




as CSAM, because of the “engagement cost” of such changes; (vi) rejecting a decision to hide like

counts on posts in default settings and to maintain a ban on cosmetic surgery filters, and refusing

to turn off notifications despite knowledge of the impact that these features had on teenage users’

mental health; (vii) deploying an ineffective “time spent” tool that fails to help teenagers limit their

use of the platforms; (viii) remove or maintain certain posts and content on Meta’s platforms; and

(ix) terminating research and surveys that turned up negative information and for directing Meta

employees to not document critical findings and proposals to address these findings.

           521.     Defendants’ unfair and/or unconscionable practices are the results of design

features of its platforms, such as the operation of its algorithms in recommending users, groups

and posts, the absence of effective age verification, the lack of separation between adults and

minors, and the failure to detect, remove, and report CSAM.

           522.     Defendants’ unfair and/or unconscionable practices include, but extend beyond,

developing an illegal market for inherently unlawful activity involved in obtaining and selling

CSAM and the commercial sexual exploitation of children. This includes creating professional

sites and allowing users engaged in illicit activities to sell advertising.163 Defendants’ acts and

practices to induce young users’ addictive and problematic use of their social media platforms are

also immoral, unethical, oppressive, unscrupulous, and unconscionable. As described in detail in

the foregoing paragraphs, Defendants, at all relevant times, based on their own internal research,

had knowledge of the severe harms suffered by young users as a result of human trafficking,

CSAM, the addictive use of their platforms and the role their platforms played in exacerbating

those harms. Instead of taking meaningful measures to mitigate these damaging effects,


163
      https://www.facebook.com/creators/tools/mta#check-eligibility.

                                                         241
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 246 of 259




Defendants knowingly, deliberately, and recklessly disregarded and turned a blind eye to them in

pursuit of profit. Further, Defendants’ willful design and use of platform tools and features to

target, prey on, exploit, and manipulate highly vulnerable young users is unconscionable.

Defendants’ failure to warn of the dangers of their design choices and platform tools and features

is unconscionable.

       523.    Defendants’ acts and practices alleged herein also have caused and continue to

cause unjustified substantial injury to consumers that could not be reasonably avoided. Namely,

young users throughout New Mexico are suffering severe negative effects from addictive use of

Defendants’ platforms, including negative effects on sleep and school performance, emotional and

behavioral challenges, poor mental health outcomes such as depression and anxiety, and negatively

altered brain chemistry. Young users also could not have reasonably avoided the injuries resulting

from Defendants’ acts and practices, including because Defendants misrepresented and failed to

disclose the dangerous nature of their social media platforms, and because Defendants utilized

psychologically manipulative engagement-inducing features, knowing that young users are

especially vulnerable to those psychologically manipulative tactics due to their lack of knowledge,

ability, experience, or capacity.

       524.    The public health and safety risks and harm resulting from use Defendants’ social

media platforms are not outweighed by any countervailing benefit to consumers or competition.

       525.    But for these unfair and unconscionable practices, New Mexico consumers would

not have incurred millions of dollars in damages, including without limitation the costs of

treatment for mental and emotional trauma resulting from Defendants’ actions and/or inaction,




                                               242
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 247 of 259




damages related to suicide and self-harm inflicted by youth and adolescents in New Mexico, and

the societal costs attendant to human trafficking and solicitation/distribution of CSAM.

          526.   As a direct and proximate cause of the Defendants’ unfair and/or unconscionable

trade practices, New Mexico and New Mexico consumers have been injured in an amount to be

determined at trial.

          527.   Defendants’ unfair and/or unconscionable trade practices are willful and subject to

a $5,000 civil penalty for each and every violation per each Defendant. NMSA 1978, § 57-12-11

(1970).

          528.   Each unfair act by Defendants and/or each exposure of a New Mexico resident to

illicit, illegal, or harmful content on Defendants’ platforms resulting from the aforementioned

conduct of each and all Defendants constitutes a separate violation of the Unfair Trade Practices

Act.

          529.   New Mexico consumers and youth are suffering, have suffered, and will continue

to suffer unjustified substantial injury as a result of Defendants’ violations of New Mexico laws.

Absent injunctive relief by this Court, Defendants are likely to continue to injure consumers and

harm the public interest.

          530.   Plaintiff, State of New Mexico, seeks all legal and equitable relief as allowed by

law, including inter alia injunctive relief, disgorgement of unjust profits, damages as allowed by

law, all recoverable penalties under Section 57-12-11 including a civil penalty of $5,000 per each

violation per each Defendant named in this Count, attorney fees and costs, and pre- and post-

judgment interest.




                                                243
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 248 of 259




                                     COUNT III
                 VIOLATION OF NEW MEXICO UNFAIR PRACTICES ACT
                      (UNCONSCIONABLE TRADE PRACTICES)
                             NMSA 1978, § 57-12-1 to -26
                               (Against All Defendants)

          531.   The State re-alleges all prior paragraphs of this Complaint as if fully set forth

herein.

          532.   The UPA prohibits “[u]nfair or deceptive trade practices and unconscionable trade

practices in the conduct of any trade or commerce.” NMSA 1978 § 57-12-3 (1971).

          533.   Defendants are engaged in “trade” or “commerce” as defined by the UPA, which

“includes the advertising, offering for sale or distribution of any services and any property and any

other article, commodity or thing of value, including any trade or commerce directly or indirectly

affecting the people of this state.” NMSA 1978, § 57-12-2(C) (2019). Defendants advertise, offer

and distribute their internet platforms within New Mexico and to New Mexico residents.

          534.   In addition to offering, advertising, and distributing its social media platforms in

New Mexico, Meta receives revenue both for showing ads to New Mexico consumers and also for

harvesting New Mexican consumers’ personal data, including information about their activities

and interests, to target advertising, thereby increasing its revenue from selling ads. Meta’s

platforms also facilitate the sale of goods and services, both through advertisements that Meta

directs to New Mexico residents and within New Mexico in exchange for a fee, and by providing

space for users to offer, buy and sell merchandise (“Facebook Marketplace”). Meta charges and

collects a fee when items are sold on its Marketplace, including in New Mexico. Meta enables

users to monetize their accounts in order to sell subscriptions or permit advertisements to be placed




                                                 244
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 249 of 259




on their platforms. Additionally, users may receive “stars” that other users purchase from Meta

and those “stars” can be monetized by the user as well.

       535.     At all times relevant herein, the Defendants violated the UPA, NMSA 1978, §§ 57-

12-1 to -26 (1967, as amended through 2019), by engaging in acts or practices in connection with

the sale … of any goods … that to a person’s detriment, (1) takes advantage of the lack of

knowledge, ability, experience or capacity of a person to a grossly unfair degree; or (2) results in

a gross disparity between the value received by a person and the price paid.” NMSA 1978 § 57-

12-2E (2019).

       536.     The Attorney General is authorized to bring an action in the name of the State to

remedy violations of the UPA. NMSA 1978, §§ 57-12-8(A) (1978), 57-12-15 (1967). This action

is proper in this Court because Defendants are using, have used, and continue to use practices that

are unlawful under the UPA. Section 57-12-8(A).

       537.     Defendants’ conduct, as alleged in the foregoing paragraphs, constitute

unconscionable trade practices within the meaning of the Unfair Practices Act, including because

Defendants made material statements, representations, omissions, and/or concealed information in

a way that had the capacity or tendency to mislead consumers.

       538.     By engaging in the affirmative misrepresentations and omissions described above,

Defendants took advantage of advertisers’, children’s and parents’ lack of knowledge, ability,

experience or capacity in deciding when, whether, how, and how often to use Meta’s platforms.

Without accurate information about the consequences to young users of using its platforms, New

Mexico children, in particular, as well as their parents, could not make informed decisions about

opening accounts on Instagram, Facebook, and WhatsApp, setting up account features, supervising


                                                245
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 250 of 259




or being supervised on the use of the platforms, and participating in groups or accepting friend

requests, among other choices. The imbalance in information, experience, ability, and capacity

between Meta, a multi-billion global corporation which extensively researched the activity on and

effects of its platforms, and children using its platforms, was grossly unfair, and took advantage

of their inferior knowledge of Meta’s products. Nor do children have the ability to assess Meta’s

terms of services or features or to negotiate different terms of participation.

       539.    By agreeing to allow Meta to collect and use their data and to receive advertising,

for which Meta was paid billions of dollars, Meta’s users paid a price for access to its services. In

addition, Meta sold goods and services in New Mexico not only by providing access to its

platforms to millions of New Mexico consumers, but by selling paid advertising that was shown

to New Mexico consumers who used its platforms and offering a marketplace for selling

subscription content, listing jobs, or providing other goods and services (legal and illegal). By

providing a product that subjected users, particularly young users, to the human trafficking,

CSAM, solicitation, and other sexually explicit content, and to the compulsive use, depression,

anxiety, eating disorders, negative self-worth, sleep disturbance, suicide, and other harms, the

products that Meta delivered had a grossly disparate value.

       540.    Absent Meta’s unfair, deceptive, and unconscionable conduct, many New Mexico

consumers would not have used Meta’s platforms and served as the targeted audience that allowed

Meta to reap windfall profits.

       541.    Each unconscionable trade practice engaged in by Defendants as recited above and

throughout this Complaint constitutes a separate violation of the Unfair Practices Act.




                                                 246
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 251 of 259




          542.   New Mexico consumers and youth are suffering, have suffered, and will continue

to suffer unjustified substantial injury as a result of Defendants’ violations of New Mexico laws.

Absent injunctive relief by this Court, Defendants are likely to continue to injure consumers and

harm the public interest.

          543.   Plaintiff, State of New Mexico, seeks all legal and equitable relief as allowed by

law, including inter alia injunctive relief, disgorgement of profits, all recoverable penalties under

Section 57-12-11 including a civil penalty of $5,000 per each violation per each Defendant named

in this Count, attorney fees and costs, and pre- and post-judgment interest.

                                     COUNT IV
                                 PUBLIC NUISANCE
                        NMSA 1978, § 30-8-81 and common law
   (Against Defendants Meta Platforms, Inc., Instagram, LLC, Meta Payments, Inc. and
                          Meta Platforms Technologies, LLC)

          544.   The State re-alleges all prior paragraphs of this Complaint as if fully set forth

herein.

          545.   The Attorney General may bring an action to abate a public nuisance in the name

of the State. NMSA 1978, § 30-8-8(B) (1963).

          546.   Through the unreasonable and unlawful conduct described above, particularly in

Counts 1 and II, Defendants, individually and in concert with each other, have contributed to,

and/or assisted in creating and maintaining a condition that is harmful to the health and safety of

thousands of New Mexico residents and interfered with the enjoyment of life in violation of New

Mexico law.

          547.   In addition, Defendants’ conduct contributing to the public nuisance was

unreasonable in that it breached the duty Defendants assumed when they offered, marketed, and


                                                247
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 252 of 259




maintained their platforms without reasonable care and with defects that Defendants knew

rendered them unsafe for children and assured and failed to warn children, their parents, and the

public generally that their platforms were safe and that the CSAM, other CSEC and other harmful

content on the platforms were extremely rare, and that children did not experience addiction or

other mental health harms associated with their use of the platforms.

       548.    Internet-facilitated human trafficking, distribution of CSAM and other illicit

material over the internet, and social media addiction and its impact on the social and mental well-

being of New Mexico teens and adolescents are a public nuisance in New Mexico, which remains

unabated. The unlawful and unreasonable conduct by the Defendants has created and/or facilitated

these hazards to public health and safety.

       549.    The health and safety of New Mexico’s children and others who use Meta’s

platforms, as well as those impacted or affected by Meta’s platforms—i.e., teens or children

suffering from the harmful effects of platform usage, is a matter of great public interest and of

legitimate concern to the State’s citizens and residents.

       550.    The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit.

       551.    Defendants knew, or should have known, that the design and function of their

internet platforms, including, but not limited to, the operation of their algorithms in promoting and

encouraging illicit content related to human trafficking, CSAM, suicide, eating disorders, bullying

or other topics known to cause harm to teens or adolescents, would create a public nuisance.




                                                248
       Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 253 of 259




         552.   Defendants are liable for a public nuisance because they acted without lawful

authority in knowingly creating and maintaining their platforms and their features, including, but

not limited to, the algorithms that recommend content in such volumes to such a degree as to create

an epidemic, which clearly affects a number of citizens, is injurious to public health, safety, morals

and welfare, and interferes with the exercise and enjoyment of public rights. NMSA 1978, § 30-8-

8-1.

         553.   Each Defendant is liable for public nuisance because their conduct at issue has

caused an unreasonable interference with a right common to the general public. City of

Albuquerque v. State ex rel. Village of Los Ranchos de Albuquerque, 1991-NMCA-015, ¶ 17, 111

N.M. 608 (“A public nuisance is a wrong that arises by virtue of an unreasonable interference with

a right common to the general public.”) (citing Restatement (Second) of Torts § 821B(1). The

Defendants’ conduct described herein significantly interferes with public health, safety, peace,

comfort, and convenience.

         554.   Defendants’ actions were, at the least, a substantial factor (i) enabling human

trafficking to occur within New Mexico and affecting New Mexico residents, (ii) enabling the

solicitation, distribution and creation of illicit sexual material involving children or child abuse,

(iii) harming the well-being of numerous New Mexico teens and adolescents; (iv) causing

addiction to social media; and/or (v) contributing to an increase in suicide, eating disorders,

depression, bullying and other forms of harm among New Mexico teens and adolescents. Without

Defendants’ actions, all of these harms resulting from use and abuse of Meta’s platforms would

not have become so widespread, and the enormous public health hazard of social media addiction,

including addiction to Meta’s platforms, human trafficking enabled by Meta’s platforms,


                                                 249
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 254 of 259




distribution of child pornography enabled by Meta’s platforms, and increases in eating disorders,

bullying and suicide among New Mexico teens enabled by Meta’s platform that now exists would

have been averted.

       555.    In addition to the foregoing, Defendants’ conduct invades a legally protected

interest. Defendants’ conduct constitutes an unreasonable interference because inter alia each

Defendant has violated public policies intended to stem the tide of sexual exploitation of children

and human trafficking. See, e.g., NMSA § 30-52-1 (prohibiting human trafficking); NMSA § 30-

37-3.2 (prohibiting “soliciting a child under sixteen years of age, by means of an electronic

communication device, to engage in sexual intercourse, sexual contact or in a sexual or obscene

performance . . .”).

       556.    Because Defendants have maintained their social media platforms contrary to law,

and because Defendants’ conduct has unreasonably interfered with a right common to the general

public, Defendants are liable for public nuisance per se. See Espinosa v. Roswell Tower, Inc.,

1996-NMCA-006, ¶ 10, 121 N.M. 306, 910 P.2d 940 (“An activity conducted or maintained

contrary to law may be a public nuisance per se when the activity unreasonably interferes with a

right common to the general public.”).

       557.    Defendants’ unreasonable interference with a right common to the public is of a

continuing nature.

       558.    Defendants are aware of the unreasonable interference that their conduct has caused

in the State of New Mexico. Internal documents described above demonstrate the Defendants’

knowledge of the harms their conduct was causing to society at large, including to teens and

adolescents in New Mexico. Defendants were aware of and actively monitored scores of news


                                               250
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 255 of 259




reports providing evidence of their users suffering harm as the result of the design of their

platforms.

        559.    The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. Incidents of human trafficking, distribution or solicitation of

CSAM and human trafficking, and youth suicide, eating disorders, bullying, and depression are

widespread throughout New Mexico and have caused harm to the entire community that includes,

but is not limited to:

                 a. Increase in the rate of suicides, depression, eating disorders, and other mental

                     health issues among young people in New Mexico attributable to social media

                     addiction and misuse;

                 b. Increased incidences of human trafficking occurring in New Mexico or

                     affecting New Mexico residents facilitated by Defendants’ platforms;

                 c. Increase in the decline of physical and mental well-being among young people

                     in New Mexico attributable to social media addiction and misuse, and the

                     attendant societal and economic costs associated therewith;

                 d. Increase in creation and distribution of, and exposure to CSAM by teens and

                     adolescents, and the attendant societal and economic costs associated

                     therewith;

                 e. Decline in educational attainment by teens and adolescents due to loss of sleep

                     or other effects from overuse or misuse of Defendants’ platforms;




                                                251
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 256 of 259




                 f. Long-term effects from eating disorders and body dysmorphia, including

                     dermatological effects to the nails and hair, gastrointestinal illnesses, fertility

                     issues, and impacts to the endocrine system, nervous system and skeletal

                     system; and

                 g. Increase in harms resulting from the overuse and abuse of Defendants’

                     platforms, including dissociative behavior, withdrawal symptoms, social

                     isolation, damage to body image and self-worth, increased risky behavior,

                     exposure to predators, sexual exploitation, and other profound mental health

                     issues.

       560.     Plaintiff, the State of New Mexico, seeks all legal and equitable relief as allowed

by law, including inter alia injunctive relief, abatement of the public nuisance, payment to the State

of monies to abate the public nuisance, attorney fees and costs, and pre- and post-judgment interest.

   XXI. PRAYER FOR RELIEF

       WHEREFORE, the State of New Mexico, by and through its Attorney General,

respectfully prays that this Court grant the following relief:

       1.     Entering judgment in favor of the State in a final order against Defendants;

       2.     Declaring that each act, statement and/or omission of Defendants described in this

              Complaint constitute separate and willful violations of the UPA;

       3.     Declaring that Defendants’ unreasonable and unlawful conduct created a public

              nuisance;

       4.     Imposing civil penalties on each Defendant of up to $5,000 for each violation of the

              UPA;


                                                 252
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 257 of 259




       5.   Permanently enjoining Meta and its employees, officers, directors, agents, assigns,

            successors, subsidiaries, and other persons acting in concert or participation with it,

            from engaging in unfair, unconscionable, or deceptive practices in violation of New

            Mexico law and ordering a permanent injunction;

       6.   An order that Meta abate the public nuisance caused by Meta’s unreasonable and/or

            unlawful conduct;

       7.   Disgorgement of profits and data that were unjustly obtained;

       8.   The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

       9.   Pre-judgment and post-judgment interest; and

       10. All other relief as provided by law and/or as the Court deems appropriate and just.

Plaintiff asserts claims herein in excess of the minimum jurisdictional requirements of this Court.

            RESPECTFULLY SUBMITTED this 9th day of January 2024.

                                             RAÚL TORREZ
                                             ATTORNEY GENERAL OF NEW MEXICO

                                             By counsel,

                                             /s/ Linda Singer
                                             LINDA SINGER (Pro Hac Vice)
                                             DAVID I. ACKERMAN (Pro Hac Vice)
                                             MOTLEY RICE LLC
                                             401 9th St. N.W., Suite 630
                                             Washington, D.C. 20004
                                             Phone: (202) 232-5504
                                             Email: lsinger@motleyrice.com
                                             Email: dackerman@motleyrice.com

                                             JAMES W. GRAYSON
                                             CHIEF DEPUTY ATTORNEY GENERAL
                                             New Mexico Attorney General’s Office
                                             P.O. Drawer 1508
                                             Santa Fe, NM 87504-1508

                                               253
Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 258 of 259




                                Phone: (505) 218-0850
                                Email: jgrayson@nmag.gov

                                SERENA R. WHEATON
                                ASSISTANT ATTORNEY GENERAL
                                New Mexico Attorney General’s Office
                                Consumer & Environmental Protection Division
                                201 Third St. N.W., Suite 300
                                Albuquerque, NM 87102
                                Phone: (505) 490-4846
                                Email: swheaton@nmag.gov




                                 254
    Case 1:23-cv-01115-MIS-KK Document 37-1 Filed 01/22/24 Page 259 of 259




                                 CERTIFICATE OF SERVICE

       I certify that on January 9, 2024, I filed the foregoing electronically with the Clerk of Court

using the CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

John C. Anderson
Olga M. Serafimova
Holland & Hart LLP
110 North Guadalupe, Suite 1
Santa Fe, NM 87501
jcanderson@hollandhart.com
omserafimova@hollandhart.com

Nathan E. Shafroth
Covington & Burling LLP
Salesforth Tower
415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
nshafroth@cov.com

Timothy C. Hester
Covington & Burling LLP
One City Center
850 Tenth Street, NW
Washington, DC 20002-4956
thester@cov.com

Counsel for Defendants Meta Platforms, Inc.;
Instagram, LLC; Meta Payments, Inc.;
Meta Platforms Technologies, LLC;
and Mark Zuckerberg


                                             /s/ Linda Singer
                                             Linda Singer




                                                255
